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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


 UNITED STATES OF AMERICA                               Crim. No. 1:19-CR-253

                v.
                                                        The Honorable T.S. Ellis, III
 KRISTOPHER LEE DALLMANN,
                                                        Trial: January 11, 2022
 DOUGLAS M. COURSON,

 FELIPE GARCIA,

 JARED EDWARD JAUREQUI,
   a/k/a Jared Edwards,

 PETER H. HUBER,

 YOANY VAILLANT,
   a/k/a Yoany Vaillant Fajardo,

                                Defendants.


                         GOVERNMENT’S SECOND TRIAL BRIEF

       For years, Defendant Kristopher Dallmann and his co-defendants ran an online streaming

service known as Jetflicks that amassed an enormous catalog of pirated television series and, for

a fee, made those works available for streaming and, at times, downloading to thousands of

subscribers around the United States. Dallmann and five of his co-conspirators will be tried on

January 11, 2022, on various criminal offenses arising from their agreement to reproduce

television episodes without permission from the copyright owners. The United States, in an

effort to simplify and shorten the trial, filed a combined trial brief and motions in limine on

March 26, 2021. The Court has committed to rendering as many pretrial rulings on the
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admissibility of the government’s exhibits as possible, and has directed the government to file a

second trial brief to aid that effort. Accordingly, we file this second trial brief.1

I.      Elements of the Charged Offenses

        Each of the six defendants who are proceeding to trial have been charged by indictment

with one count of conspiracy to commit criminal copyright infringement, in violation of 18

U.S.C. § 371 (Count One). In addition, Dallmann has been charged with two counts of

misdemeanor criminal copyright infringement by distribution or aiding and abetting, in violation

of 17 U.S.C. §§ 506(a)(1)(A), 106(1), and 106(3) and 18 U.S.C. §§ 2319(b)(3) and 2; two counts

of misdemeanor criminal copyright infringement by public performance or aiding and abetting,

in violation of 17 U.S.C. §§ 506(a)(1)(A) and 106(4) and 18 U.S.C. §§ 2319(b)(3) and 2; three

counts of money laundering by promotion or concealment, or aiding and abetting, in violation of

18 U.S.C. §§ 1956(a)(1)(A)(i), (B)(i), and 2; and one count of money laundering by promotion or

concealment, or aiding and abetting, in violation of 18 U.S.C. §§ 1956(a)(3)(A), (B), and 2.

        We briefly summarize below the elements applicable to each of these offenses, beginning

with the substantive criminal copyright infringement offenses.

        A.      Criminal Copyright Infringement

        To convict Dallmann of the misdemeanor counts of criminal copyright infringement, we

must prove three elements. It is our burden to establish that a particular work was copyrighted,

that Dallmann willfully infringed that copyright, and Dallmann did so for the purpose of

commercial advantage or private financial gain. 17 U.S.C. § 506(a)(1)(A); 18 U.S.C.

§ 2319(b)(3).




        1
       This brief exceeds the page limits set forth in the Local Rules. On August 13, 2021, we
moved orally in open court to file an oversized brief, and the Court granted that request.


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       Proving that any given work was copyrighted is a straightforward endeavor. This is

because any original work with some minimal degree of creativity becomes copyrighted the

moment it is fixed in a tangible medium of expression. 17 U.S.C. § 102(a); Feist Publications,

Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991). Indeed, the Copyright Act specially

protects audiovisual works like television episodes, 17 U.S.C. § 102(a)(6). In addition, if a

copyright owner registers a work with the U.S. Copyright Office before or within five years after

publication of the work, then the resulting certification of registration provides additional prima

facie evidence that the work is protected by a copyright. Id. §§ 410(c) & 411

       Equally straightforward is establishing infringement of a copyrighted work for purposes

of commercial advantage or private financial gain. The Copyright Act gives owners of

copyrighted works six exclusive rights, including reproduction, distribution, and public

performance.2 Id. § 106(1) (reproduction), (3) (distribution), & (4) (public performance).

Infringement, accordingly, occurs when someone violates an exclusive right of a copyright

owner, such as by making an unauthorized copy of a copyrighted work or distributing or

streaming a copyrighted work without authorization. Id. Further, we can show that the

infringement was for commercial advantage or private financial gain without proving that the

infringement resulted in an actual financial benefit. That is, it is sufficient to show the

infringement was done in hopes of making a profit. United States v. Cross, 816 F.2d 297, 301

(7th Cir. 1987); United States v. Shabazz, 724 F.2d 1536, 1540 (11th Cir. 1984).




       2
         Streaming a copyrighted work implicates the public performance right. 17 U.S.C. §
101; see also, e.g., American Broadcasting Companies, Inc. v. Aereo, 573 U.S. 431, 451 (2014);
Spanski Enterprises, Inc. v. Telewizja Polska, S.A., 883 F.3d 904, 910-13 (D.C. Cir. 2018); Video
Pipeline, Inc. v. Buena Vista Home Ent., Inc., 192 F. Supp. 2d 321, 332 (D.N.J. 2002), aff’d, 342
F.3d 191 (3d Cir. 2003), as amended (Sept. 19, 2003).



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       As for the willfulness element, we have adopted the Ninth Circuit’s formulation of the

applicable mens rea and are prepared to prove a “voluntary, intentional violation of a known

legal duty.” United States v. Anderson, 741 F.3d 938, 948-49 (9th Cir. 2013); United States v.

Liu, 731 F.3d 982, 989-90 (9th Cir. 2013); see also United States v. Moran, 757 F. Supp. 1046,

1050–51 (D. Neb. 1991). The upshot is that we must prove an intent to infringe on copyrighted

works knowing that such conduct was against the law. We do not have to prove, however,

knowledge of a specific provision of law. See Anderson, 741 F.3d at 948 (stating that the

applicable mens rea standard is that the defendant generally knew that he was violating a legal

duty, not that he specifically knew that his actions constituted “copyright infringement”); cf.

United States v. Reichert, 747 F.3d 445, 451 (6th Cir. 2014) (declining to define the “reach” of

the willfulness requirement for the Digital Millennium Copyright Act, 17 U.S.C. § 1204(a), but

observing that the parties’ agreement that the government had to prove a voluntary and

intentional violation of a known legal duty was consistent with the principle that “a defendant

need not be aware of the specific provision of law that his conduct violates, as long as he is

aware that his act is illegal.” (citing Bryan v. United States, 524 U.S. 184, 196 (1998))).

       Alternatively, we can establish willfulness by proving deliberate ignorance. To do so, we

must prove awareness of a high probability that copyrighted works were being infringed upon in

violation of the law and deliberate disregard of that probability. See United States v. Hale, 857

F.3d 158, 171 (4th Cir. 2017); United States v. Vinson, 852 F.3d 333, 357 (4th Cir. 2017); United

States v. Suado Mohamed Ali, 735 F.3d 176, 187-88 (4th Cir. 2013). Establishing willful

blindness instead of actual knowledge is particularly appropriate where warning signs of

illegality are ignored. Otherwise, “[t]o allow the most clever, inventive, and sophisticated

wrongdoers to hide behind a constant and conscious purpose of avoiding knowledge of criminal




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misconduct would be an injustice in its own right.” United States v. Jinwright, 683 F.3d 471,

478 (4th Cir. 2012).

       B.      Conspiracy to Commit Criminal Copyright Infringement

       To obtain convictions for conspiring to commit copyright infringement, we must prove

three elements beyond a reasonable doubt. Specifically, it is our burden to “establish an

agreement to commit an offense, willing participation by the defendant, and an overt act in

furtherance of the conspiracy.” United States v. Tucker, 376 F.3d 236, 238 (4th Cir. 2004).

       With respect to the agreement element, we must prove a “‘tacit or mutual understanding’

between conspirators” to commit the object of the conspiracy. United States v. Ellis, 121 F.3d

908, 922 (4th Cir. 1997) (quoting United States v. Chorman, 910 F.2d 102, 109 (4th Cir. 1990)).

“[A]ctual achievement of the object is not required,” however, “because the essence of a

conspiracy is the agreement to commit a crime or crimes.” United States v. Johnson, 149 F.

Supp. 3d 678, 684 (E.D. Va. 2016) (Brinkema, J.); see also United States v. Gitarts, 341 F.

App’x 935, 941 (4th Cir. 2009) (per curiam) (explaining in the context of a criminal copyright

conspiracy prosecution that “the Government need not prove ‘that the object of the conspiracy

was achieved or could have been achieved, only that the parties agreed to achieve it.’” (quoting

United States v. Tucker, 376 F.3d 236, 238 (4th Cir. 2004))). The agreement element also

requires proof beyond a reasonable doubt that each charged co-conspirator entered into the

conspiracy “‘with knowledge of the criminal purpose of the scheme and with the specific intent

to aid in the accomplishment of those unlawful ends.’” Id. (quoting United States v. Svoboda,

347 F.3d 471, 477 (2d Cir. 2003)).

       The Indictment alleges that the object of the charged conspiracy was to infringe

copyrighted works by reproduction or distribution. We, however, have advised the Court and the




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defendants that we will seek to prove at trial only that the defendants conspired to infringe

copyrighted works by reproduction. (Gov’t Proposed Voir Dire Questions at 2, Dkt. 603.) The

upshot of our decision to focus on reproduction rather than distribution for the conspiracy count

is that we must establish beyond a reasonable doubt that each defendant agreed with at least one

other person to willfully download or copy works that were copyrighted for the purposes of

commercial advantage or private financial gain. See United States v. Robinson, 627 F.3d 941,

958 (4th Cir. 2010) (stating that “when the Government charges in the conjunctive, and the

statute is worded in the disjunctive, the district court can instruct the jury in the disjunctive.”).

        We also must quantify at trial the number of infringed television episodes reasonably

foreseeable to each co-conspirator as a necessary or natural consequence of the unlawful

agreement. United States v. Collins, 415 F.3d 304, 314 (4th Cir. 2005). This is because

conspiring to commit criminal copyright infringement constitutes a felony offense if the object of

the conspiracy was to reproduce during any 180-day period at least 10 copies of 1 or more

copyrighted works having a total retail value of more than $2,500. 18 U.S.C. § 2319(b)(1).

Retail value in this context “refers to the value of copies of the copyrighted material at the time

the defendant committed the violation . . . .” United States v. Armstead, 524 F.3d 442, 443 (4th

Cir. 2008) (citing 18 U.S.C. § 2311). Moreover, “retail value is determined by taking the highest

of the ‘face value,’ ‘par value,’ or ‘market value’ of copies of the copyrighted material in a retail

context.” Id.

        C.      Elements of Money Laundering Under § 1956(a)(1)

        Dallmann also is charged with three counts of money laundering in violation of 18 U.S.C.

§§ 1956(a)(1)(A)(i) and (a)(1)(B)(i). Sections 1956(a)(1)(A)(i) and (a)(1)(B)(i) share three




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common elements. To convict Dallmann of either or both statutory provisions, the government

must prove each of the following beyond a reasonable doubt:

       a.      Dallmann conducted or attempted to conduct a financial transaction
               having at least a minimal effect on interstate commerce or involving
               the use of a financial institution which is engaged in, or the activities
               of which have at least a minimal effect on, interstate or foreign
               commerce;

       b.      The property that was the subject of the transaction involved the
               proceeds of the alleged specified unlawful activity; and

       c.      Dallmann knew that the property involved represented the proceeds
               of some form of unlawful activity

For purposes of § 1956(a)(1)(A)(i), we also must prove a fourth element: Dallmann engaged in

the charged financial transactions with the intent to promote the carrying on of the conspiracy to

commit criminal copyright infringement.3 United States v. Wilkinson, 137 F.3d 214, 220 (4th

Cir. 1998). Whereas, for purposes of § 1956(a)(1)(B)(i), the fourth element we must prove is

that Dallmann knew the transaction was designed in whole or in part to conceal or disguise the

nature, the location, the source, the ownership, or the control of the proceeds of the alleged

specified unlawful activity. Id. at 221.

       D.      Elements of Money Laundering Under § 1956(a)(3)

       The Indictment also alleges that Dallmann unlawfully laundered monetary instruments in

violation of 18 U.S.C. §§ 1956(a)(3)(A) or (a)(3)(B). Again, each provision constitutes an

independent basis on which Dallmann can be convicted of money laundering.

       Sections 1956(a)(3)(A) and (a)(3)(B) share one common element. To convict Dallmann

of either or both of these statutory provisions, we must prove beyond a reasonable doubt that


       3
         Although the government must prove that the illegal proceeds were spent in furtherance
of the specified unlawful activity, the government is not required to trace the proceeds to a
particular illegal transaction. United States v. Stewart, 256 F.3d 231, 249 (4th Cir. 2001).


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Dallmann conducted or attempted to conduct a financial transaction involving property

represented to be the proceeds of specified unlawful activity, or property used to conduct or

facilitate specified unlawful activity. Section 1956(a)(3)(A) also requires us to prove beyond a

reasonable doubt that Dallmann conducted or attempted to conduct the financial transaction with

intent to promote the carrying on of the alleged specified unlawful activity. And § 1956(a)(3)(B)

obligates us to establish that Dallmann conducted or attempted to conduct the financial

transaction with intent to conceal or disguise the nature, the location, the source, the ownership,

or the control of property believed to be the proceeds of the alleged specified unlawful activity.

       E.      Elements of Aiding and Abetting

       Another theory of liability alleged for the substantive counts of the Indictment is that

Dallmann aided and abetted the commission of those offenses. Section 2(a) of Title 18 of the

U.S. Code provides that a person who aids, abets, counsels, commands, induces, or procures the

commission of a federal crime is punishable as a principal, and § 2(b) provides that a person who

willfully causes an act to be done, which if directly performed by him or another would be a

federal crime, is punishable as a principal. The law, in other words, recognizes that ordinarily

anything a person can do for himself may also be accomplished by him through direction of

another person as his agent, or by acting in concert with, or under the direction of another person.

United States v. Chorman, 910 F.2d 102, 108-15 & n.9 (4th Cir. 1990). Consequently, Dallmann

can be convicted of the substantive offenses alleged against him in the Indictment either as a

principal or as an aider and abettor.

       To establish Dallmann’s guilt under either §§ 2(a) or 2(b), we must prove beyond a

reasonable doubt each element of the corresponding offense. In addition, for purposes of § 2(a),

we must prove beyond a reasonable doubt that Dallmann knowingly and voluntarily aided,




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abetted, counseled, commanded, induced, or procured the commission of the charged offenses.

Similarly, for purposes of § 2(b), we must prove beyond a reasonable doubt that Dallmann

willfully caused an act to be done which if directly performed by him or another would constitute

an offense against the United States, namely the crimes charged in the Indictment.

II.    Summary of Facts Expected to Be Proved at Trial Relating to Exhibits at Issue

       We expect to prove at trial that Dallmann and his co-conspirators engaged in massive

online piracy for commercial advantage or private financial gain, and did so despite knowing

such conduct was illegal. As explained below, the evidence introduced at trial will show that

Dallmann and his co-conspirators used sophisticated computer scripts and software to scour

pirate websites for television episodes, including episodes that had recently aired or were about

to air, and download as much content as possible to servers that Dallmann and his co-

conspirators controlled. The evidence also will show that Dallmann and his co-conspirators

subsequently processed and uploaded the stolen content to jetflicks.mobi, and permitted paid

subscribers located in this District and elsewhere to stream and sometimes download the pirated

episodes. Further, we will prove that Dallmann and his co-conspirators used the illicit proceeds

they generated to enrich themselves and to promote their piracy operation.4

       A.      The Failure of Jetflicks the Aviation Services Company, the Pivot to Piracy,
               and the Birth of a Cover Story

       We will establish at trial the origins of the unlawful agreement to commit digital piracy,

and we will show how Dallmann and his co-conspirators used an idea for an aviation-services

business to disguise their illegal streaming operation. As explained below, Dallmann initially

pitched Jetflicks to owners of private aircraft as a service for digitizing personal DVD collections


       4
          Part II is merely a summary of the primary facts we expect to prove at trial. We reserve
the right to establish additional facts at trial.



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but there was little interest in such a service. For clarity, we will refer to that business here as

“Jetflicks the Aviation Services Company” or “JASC.”

       In spite of lack of interest from potential clients, JASC was not a complete failure.

Dallmann realized a lot of money could be made by stealing television episodes and streaming

them for a fee, and JASC provided a suitable cover story for recruiting conspirators and staving

off scrutiny from payment processors, banks, or even law enforcement.

       The jury will learn about the pivot to piracy from the testimony of FBI Supervisory

Special Agent (SSA) Tim Lynch. In November 2017, Dallmann agreed to be interviewed by

SSA Lynch during the course of the FBI’s execution of search warrants at Dallmann’s two

homes in Las Vegas, Nevada. SSA Lynch’s anticipated testimony will include the fact that

Dallmann initially minimized his involvement in piracy and claimed JASC was his primary

source of income. Yet, SSA Lynch also is expected to testify that Dallmann admitted, among

other things, that in 2007, he created JASC and turned to piracy because JASC was not profitable

and illegal streaming provided a stream of income to grow JASC. SSA Lynch further will testify

that, beginning in 2007, Dallmann started streaming television episodes for a fee via

jetflicks.mobi, and from 2007 to 2008, Dallmann worked with at least one unindicted co-

conspirator he had known since 2004 to download television episodes from torrent sites.5

       SSA Tim Lynch also is expected to testify that he confronted Dallmann with emails from

two of Jetflicks’s payment processors: PayPal and Stripe. The PayPal email accused Jetflicks of

copyright violations and requested proof that jetflicks.mobi was not being used to sell infringing


       5
         SSA Lynch is expected to testify that, while Dallmann did not specify the dates that this
individual helped download content from torrent sites, it can be inferred that this conduct
occurred in 2007 or 2008 given that Dallmann indicated he sourced content from torrent sites for
about a year and that the individual agreed to help Dallmann download content from torrent sites
so that Dallmann could focus on other things.



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items,6 and Stripe requested access to jetflicks.com, which was the website that Dallmann gave

Stripe when he created an account for Jetflicks.7 We anticipate SSA Lynch will testify that

Dallmann admitted he responded to PayPal by providing documentation showing that Jetflicks

was an aviation services company.8 SSA Lynch also is expected to testify that Dallmann

admitted he sent an email to Stripe describing Jetflicks as an in-flight entertainment company,9

which Dallmann admitted was a lie.

       B.       The Use of Criminal Proceeds to Support the Streaming Conspiracy

       We will show at trial that, consistent with Dallmann’s later statements to the FBI, the

streaming conspiracy predominated. Indeed, FBI Special Agent (SA) Clay Chase will testify

that, unlike JSAC, thousands of people signed up to stream stolen television episodes through

jetflicks.mobi. SA Chase, for instance, will highlight a chat between Dallmann and Defendant

Luis Villarino, who has already pled guilty to conspiring with Dallmann and Defendant Jared

Jaurequi to commit criminal copyright infringement, in which Dallmann estimated that, in 2017,

Jetflicks had 30,000 customers and had made $1,600,000 between 2014 and 2016.10 We,




       6
           See Government’s Exhibit (GX) 126 (Oct. 24, 2016 Email) at 1-2.
       7
           See GX 134 (Nov. 9, 2016 Email) at 2-3.
       8
           This effort to dupe PayPal did not work. SA Chase will testify about GX 126A, which
is an email from PayPal dated October 27, 2016. The email indicates that Dallmann had
contacted PayPal about the limitation on his account, but PayPal wanted access to jetflicks.mobi
so that it could verify the legality of the sales through the site and “valid licensure or proof of
authorisation from the relevant parties and owners of the movies that states you have permission
to offer their movies on www.jetflicks.mobi.”
       9
           See GX 134 at 1-2.
       10
            GX 161 (Mar. 12, 2017 Google Chat) at 1.



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moreover, expect to call at trial three former subscribers of Jetflicks.11 This testimony will

establish that there were individuals located in the Eastern District of Virginia who were making

subscription payments to Jetflicks and streaming stolen content to this District since at least

2011.

         We also will prove at trial how Dallmann and his co-conspirators used JASC’s corporate

facade to facilitate the transfer of money from individuals who subscribed to Jetflicks. In this

regard, we will focus on four legitimate businesses on which Jetflicks relied to acquire and move

criminally derived proceeds: PayPal, Bank of America, Stripe, and Wells Fargo. FBI SA Jeff

Schurott will testify that Dallmann used a PayPal account to receive Jetflicks subscriber

payments, which he then funneled to his Bank of America account. After PayPal froze

Dallmann’s account as discussed above, Dallmann switched from PayPal to Stripe and moved

from Bank of America to Wells Fargo.

         SA Schurott and SA Chase will show that Dallmann sought to use JSAC to deceive all

four companies. According to PayPal records, in opening or maintaining a PayPal account,

Dallmann did not mention jetflicks.mobi or his illegal streaming business.12 Nor did he do so in

opening or maintaining a Bank of America account.13 With respect to Stripe, SA Schurott and

SA Chase will note that the Stripe account for Jetflicks lists the applicable domain as

“jetflicks.com,” and Dallmann described the business as providing in-flight entertainment


         11
         The identities of these individuals and all other potential civilian witnesses mentioned
herein have been disclosed to the defendants as part of the discovery produced to date.
         12
              GX 413 (setting forth subscriber information for the Jetflicks PayPal account ending in
1360).
         13
              GX 418 (setting forth account opening information for an account ending in 4488).




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services.14 Similarly, as for Wells Fargo, SA Schurott and SA Chase will testify that, even

though Jetflicks was a subscription-based streaming service offering access to popular television

episodes, Dallmann described Jetflicks in his Wells Fargo application quite differently. He

stated that Jetflicks offered “In Flight Entertainment for Private Jets.”15

       We anticipate calling at trial a witness from Stripe who will explain that Stripe relied on

Dallmann’s misrepresentations. This witness is expected to testify that Stripe has anti-money

laundering initiatives designed to ensure clients are engaged in legitimate business. This

witness, moreover, will testify that if Dallmann had told Stripe the true nature of Jetflicks, then

Stripe would have closed the account and denied Dallmann access to the financial services that

were critical to the execution of his criminal scheme. Of course, Dallmann concealed the true

nature of Jetflicks and the true source of the money that was to flow through Stripe precisely so

he could use Stripe to launder the proceeds of his criminal conduct.

       Furthermore, we will prove that, once Dallmann was in possession of the proceeds of his

criminal copyright scheme, he kept a portion of the money for himself and used a portion of the

money to conduct financial transactions to promote the carrying on of the criminal copyright

scheme. SA Schurott, for example, will testify about the following business records from Stripe,

Wells Fargo, PayPal, and Bank of America:

                Purchases that Dallmann made with money in his Wells Fargo
                 account from approximately October 2016 to April 2017,16 which
                 establish a payment to DNS Made Easy on January 11, 2017,


       14
            GX 407A (setting forth account opening information for a Stripe account).
       15
            GX 409 (setting forth account opening information for a Wells Fargo account).
       16
         Wells Fargo is an FDIC insured financial institution. Accordingly, transactions
involving Wells Fargo affect interstate commerce. United States v. Peay, 972 F.2d 71, 75 (4th
Cir. 1992).


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                  relating to Jetflicks’s web servers,17 a payment to Villarino on
                  January 27, 2017, for computer programming and coding services
                  to Jetflicks, and a payment to OVH in Canada on February 9, 2017,
                  relating to the rental of servers for Jetflicks.18

                 Payments made from Jetflicks subscribers to PayPal from about
                  June 2016 to August 2016, which establish that shortly before the
                  money laundering transaction alleged in Count Fifteen in the
                  Indictment, the undercover agent in this District transferred money
                  to PayPal to pay for a Jetflicks subscription.19

                 Transfers of funds (including funds collected from Jetflicks
                  subscribers in this District) from PayPal to the Jetflicks Bank of
                  America account from approximately June 2016 to August 2016,
                  which establish PayPal made payments to Jetflicks that coincided
                  with the charged money laundering transactions.20

                 Purchases that Dallmann made with money in his Bank of America
                  account from about August 2016 to October 2016, which establish
                  a payment to CenturyLink on October 3, 2016, for the lease of an IP
                  address for use with Jetflicks.21

                 Payments made from Jetflicks subscribers to Stripe from
                  approximately November 2016 to February 2018, showing that,
                  shortly before each of the money laundering transactions charged in

         17
        GX 151 (Dec. 30, 2016 Texts) at 1 (Dallmann informs Villarino that he has “activated
dnsmadeeasy.com” and that he would “like to setup vanity nameservers”).
         18
              GX 410 (Wells Fargo account statements for October 31, 2016, to March 31, 2017).
         19
         GX 414A (PayPal records of payments received between June 29, 2016, and August
21, 2016). The undercover operation is discussed infra.
         20
              GX 414B (PayPal records of withdrawals between June 29, 2016, and August 20,
2016).
         21
          GX 420 (Bank of America account statements between August and October 2016). SA
Chase, in addition, will discuss GX 123 and GX 918. The former are text messages between
Dallmann and Vaillant dated October 13, 2016, in which Dallmann tells Vaillant that
CenturyLink is providing a “static IP.” The latter is a note found on Dallmann’s Apple iPhone,
the seizure and examination of which is discussed infra, that states the static IP provided by
CenturyLink is 67.77.106.136.



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                  Counts Twelve to Fourteen of the Indictment, subscribers located in
                  this District transferred money to Stripe to pay for their Jetflicks
                  subscriptions.22

                 Transfers of funds (including funds collected from Jetflicks
                  subscribers in this District) from Stripe to Dallmann’s Wells Fargo
                  account between about November 2016 and February 2018, which
                  establish that Stripe made payments to Jetflicks that coincided with
                  the charged money laundering transactions.23

        Collectively, these records and the testimony accompanying them will show that

streaming subscription money flowed from this District and elsewhere into Dallmann’s pockets.

Dallmann then used those illicit funds to promote the conspiracy to commit criminal copyright

infringement. For instance, he paid co-conspirators for their services to the conspiracy, and he

paid to access pirate websites and bought servers to store the content downloaded from such

sites.24 In addition, the aforementioned records prove that the transactions Dallmann made were

designed, at least in part, to conceal the nature, location, source, ownership, or control of those

proceeds given that Dallmann used accounts he had created without disclosing the true nature of

Jetflicks.




        22
             GX 407B (Stripe records of payments received).
        23
             GX 407C (Stripe records of transfers to Dallmann).
        24
           See, e.g., GX 414C at 1 (PayPal records of payments sent between July 1, 2016, and
August 20, 2016, to various services, including multiple Usenet sites); GX 919 (May 12, 2017
Google Chat) at 1-3 (Dallmann informs Villarino that he wants Villarino to program the “office
server” to house “unpopular shows” and plans to purchase new computers to “handle processing
in the office” of new content). See also GX 1301 (Apr. 22, 2014 Email) at 2 (Dallmann emails a
company being paid to promote Jetflicks, and describes Jetflicks as “an international company
that only has approximately 70 customers in the entire state of Nevada.”).



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       C.        The Theft of Content as a Competitive Advantage

       At trial, we expect to establish that Dallmann and his co-conspirators strived to amass a

huge library of television episodes. One reason for this is that Dallmann and his co-conspirators

sought to position Jetflicks as a competitor to legitimate streaming services such as Netflix and

Hulu. For instance, SA Chase will testify about text messages between Dallmann and Defendant

Felipe Garcia in October 2013 in which Dallmann shared a message from an individual who had

subscribed to Jetflicks since 2010. The customer termed Jetflicks “hands down THE best

streaming TV provider in the world,” and complimented Jetflicks for posting television episodes

to its website faster than Netflix.25 Likewise, SA Chase will testify about a text message

exchange in December 2016 during which Jaurequi bragged to a friend that Jetflicks was

“basically internet TV like HULU or NETFLIX, but we have WAY more content and are much

much cheaper.”26 SA Chase, moreover, will point out that Jaurequi bragged that Jetflicks not

only had “all primetime TV and the major cable network shows,” but also “netflix stuff.”27

       We will show at trial that Dallmann and his co-conspirators were able to compete with

the likes of Netflix for two reasons. First, unlike legitimate streaming services, Dallmann and his

co-conspirators did not pay copyright holders for the right to reproduce, distribute, or stream

their works. To this end, we anticipate calling at trial representatives from NBCUniversal,

WarnerMedia, ViacomCBS, and Netflix. These witnesses will identify thousands of copyrighted

television episodes listed in Sick Beard and SickRage printouts recovered from Dallmann’s

houses; those records showing the co-conspirators seeking to download and downloading


       25
            GX 012 (Oct. 16, 2013 Texts) at 1.
       26
            GX 152 (Dec. 30, 2016 Texts) at 2.
       27
            GX 154 (Dec. 30, 2016 Text) at 1.



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infringing episodes from pirate sites. The witnesses will also confirm copyrights in television

series and episodes observed and/or recorded by an FBI agent while the agent was using Jetflicks

during an undercover operation. These copyright owners will also testify that neither Jetflicks

nor any of the defendants had paid royalties, or otherwise obtained permission, to reproduce,

distribute, or stream those copyrighted works.28

       Second, Dallmann and his co-conspirators automated the process for downloading,

processing, and making content available to their paid subscribers. FBI SA Michael Poston and

SA Chase will establish that the conspiracy used scripts and specialized software programs (such




       28
            See, e.g., GX 008 (Forty-four-page printout of jetflicks.mobi from September 5, 2013
that lists television series available on the website in alphabetical order); GX 018 (Fifteen-page
printout from Sick Beard that is dated April 7, 2014, lists numerous television episodes that had
recently aired and that the co-conspirators were attempting to download through Sick Beard, and
states that the co-conspirators had downloaded 424 of the 71,011 television episodes for which
Sick Beard was searching); GX 027 (Forty-six-page printout from Sick Beard that is dated June
19, 2014, and lists thousands of television episodes for which Sick Beard was searching);
GX 030 (Twenty-nine-page printout from Sick Beard that is dated June 27, 2014, and states that
the co-conspirators had downloaded 6 of the 74,657 television episodes for which Sick Beard
was searching); GX 056 (Sixteen-page printout from Sick Beard that is dated April 27, 2015, and
lists several television episodes for which Sick Beard was searching); GX 060 (Fifty-six-page
printout from jetflicks.mobi that is dated October 19, 2015, and lists television series available on
the website in alphabetical order); GX 061 (Twenty-two-page printout from SickRage that is
dated October 19, 2015, lists television series for which SickRage was searching, and states that
the co-conspirators had downloaded over 58,000 episodes); GX 078 (Twenty-three-page printout
from SickRage that is dated August 5, 2016, lists television series for which SickRage was
searching, and states that the co-conspirators were seeking 788 shows and had downloaded over
56,000 episodes); GX 102 (Nine-page printout from SickRage that is dated August 25, 2016,
lists television series for which SickRage was searching, and states that the co-conspirators were
seeking 251 shows and had downloaded over 500 episodes); GX 103 (One-page printout from
SickRage that is dated August 26, 2016, and lists television series for which SickRage was
searching); GX 171 (Forty-eight-page printout from SickRage that is dated October 1, 2017, lists
television series for which SickRage was searching, and states that the co-conspirators were
seeking 1,696 shows and had downloaded 130,642 episodes).



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as SickRage, Sick Beard, and SABnzbd),29 which were “constantly running.”30 These programs,

SA Poston will explain, were designed to locate and use hard-to-access websites dedicated to the

distribution of stolen media (such as torrent sites and Usenet NZB sites) to download particular

television episodes. SA Poston also will testify that, in reviewing certain evidence recovered

from Dallmann’s homes, he has concluded that the co-conspirators used Sick Beard and

SickRage to search for, and download, tens of thousands of television episodes between 2013

and 2017.31 SA Poston further will testify that, after downloading television episodes, co-

conspirators used software and computer code to convert the files into multiple video formats.

       We also will prove that the content Dallmann and his co-conspirators downloaded was

obviously pirated. For instance, SA Chase will testify about a screenshot found on Dallmann’s

iPhone that depicts a list of media files that had been downloaded, and SA Poston will testify that

the file names include references to the following: (1) the piracy groups who had stolen and

uploaded the works to the internet (e.g., “CROOKS,” “KILLERS,” or “LOL); (2) how the works

were stolen (e.g., “WEBRip”); and (3) the piracy site from which the works were downloaded

(e.g., RARBG, TorrentDay, or Torrenting.com).32

       The co-conspirators, however, disregarded these red flags. SA Chase, for example, will

testify about a text exchange in August 2016 in which Dallmann observed that episodes of


       29
            GX 054 (Note from Dallmann’s Apple iPhone) at 1-2.
       30
            GX 122 (Oct. 12, 2016 Text) at 1.
       31
          See, e.g., GX 018, 027, 030, 056, 318, 319, 061, 078, 102, 171, 018, 027, 030, 056,
061, 078, 102, 171, 318, and 319.
       32
          See, e.g., GX 172 (Image from Dallmann’s Apple iPhone) at 1; GX 318 (One-page
printout of television episodes with handwritten notation that the “system should convert
tonight”); GX 319 (One-page printout of television episodes with handwritten notation that if the
episodes are not “in the system” then need to “redownload”).



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Outlander had not downloaded properly, noting that “[t]here’s one line that says ‘ENCRYPTED

/ Outlander.S02E04” and “[a]nything with ENCRYPTED before it, usually has an issue.”33

Dallmann did not express concern about the legality of these files; instead, he directed another

individual to “fix” them.34

       D.         Efforts by Copyright Owners in 2011 and 2012 to Stop the Conspiracy

       We will prove that copyright owners tried to deter the streaming conspiracy by sending

cease-and-desist (C&D) letters to Dallmann. For example, we will elicit testimony from SA

Chase about a C&D letter found in Dallmann’s residence during the November 2017 searches.35

The letter, which was from HBO (now owned by WarnerMedia) and was dated July 22, 2011,

advised, in relevant part, that Jetflicks was “hosting and facilitating the streaming and/or

downloading of” HBO programs and provided several examples of infringement, including

Game of Thrones.36 The evidence will show that, despite the letter, Jetflicks was still offering

Game of Thrones in 2017.37

       Likewise, we expect to call at trial Jan van Voorn, the head of global content protection

for the Motion Picture Association (MPA) (formerly the Motion Picture Association of

America), who will testify about a C&D letter that the MPAA sent to Dallmann in 2012 on




       33
            GX 084 (Aug. 9, 2016 Texts) at 3.
       34
            Id.
       35
            GX 001 (July 22, 2011 C&D Letter from HBO).
       36
            Id. at 1.
       37
           GX 503A (recording by undercover agent of Games of Thrones episodes available on
Jetflicks as of April 24, 2017).



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behalf of its members.38 The letter, which SA Chase will testify was seized from one of

Dallmann’s Las Vegas houses in 2017,39 demanded that Jetflicks stop using jetflicks.mobi and an

associated Android smartphone application to infringe the copyrights of MPAA’s members. The

letter, moreover, listed several examples of copyrighted television episodes that Jetflicks was

infringing, including one from 2 Broke Girls.40

       The evidence will show that the MPAA’s letter was ignored, too. SA Chase will testify

that, based on his undercover work (which is discussed below) and his review of download

reports and show lists recovered from Dallmann’s residences, he determined that Jetflicks

continued to acquire and stream MPAA members’ shows and other television shows without

authorization. For example, SA Chase is expected to note that all 12 of the shows listed in the

MPAA’s Exhibit A to the C&D letter are within a list of shows that was recovered from

Dallmann’s house in November 2017 and had been printed out from jetflicks.mobi on September

5, 2013.41

       E.        Operation of the Conspiracy from 2011 to 2013

       We will establish that, by 2013, Dallmann had brought into the conspiracy at least

Defendant Darryl Polo,42 Defendant Peter Huber, Defendant Douglas Courson, and Garcia. For



       38
             GX 002 (Nov. 16, 2012 C&D Letter from MPAA).
       39
          We also anticipate calling Roy Guill as a witness at trial. He is expected to testify that
the MPAA hired him to serve the C&D letter, and he is expected to identify Dallmann as the
person to whom he hand-delivered the letter.
       40
             GX 002 (Nov. 16, 2012 C&D Letter from MPAA) at 1, 4.
       41
             GX 008.
       42
          Polo previously pled guilty to various copyright and money laundering charges,
including conspiring with Dallmann, Courson, Garcia, and Huber to commit criminal copyright
infringement.

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instance, SSA Lynch is expected to testify that Dallmann admitted during his November 2017

interview that from summer 2011 to summer 2013 or 2014, Dallmann paid Polo approximately

$8,000 per month to source television episodes from the internet. Dallmann explained that Polo

taught him how to download content from NZB networks, and allowed Dallmann to download

television episodes from smackdownonyou.com, an NZB indexer that Polo had created.43

       Likewise, SA Chase will testify that he interviewed Huber in May 2018. Among other

things, Huber admitted that he worked as a programmer for Jetflicks from about May 2012

through late 2015 or early 2016. SA Chase is expected to testify that, according to Huber, he

was hired to work on JASC, but he soon found that the majority of Jetflicks’s revenue came from

streaming content. It is anticipated that SA Chase will testify that Huber denied acquiring

content for Jetflicks, but at the same time admitted knowing a lot about the process by which

content was acquired. For instance, Huber knew that Jetflicks obtained content from NZB sites

and Sick Beard, knew how and where the downloaded television shows were stored, knew how

the content was processed for purposes of streaming, and always kind of knew the content on

Jetflicks was pirated. Moreover, Huber admitted that Polo’s creation of a process for automating

the acquisition and posting of television episodes made Huber obsolete, although Huber did not

explain why his position would have become obsolete if he truly was not involved in content

acquisition.

       We also expect to show that Garcia and Courson, who both had an intimate relationship

with Dallmann,44 were integral members of the Jetflicks conspiracy, too. In this regard, SA


       43
         SSA Lynch also is expected to testify that, according to Dallmann, Polo started a rival
streaming service called iStreamItAll. When SSA Lynch asked Dallmann if iStreamItAll was
engaged in copyright infringement, Dallmann responded, “Well, yeah.”
       44
         We have offered to stipulate with the defense to the fact that Dallmann, Courson, and
Garcia had intimate relationships with each other. In the absence of such a stipulation, we will


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Chase is expected to testify that, on August 19 and 20, 2013, Garcia exchanged texts with

another individual about downloading and adding particular television episodes to Jetflicks that

had just aired or were about to air.45 SA Chase also is expected to testify that, on November 18,

2013, Dallmann and Garcia exchanged texts about an update to Sick Beard causing shows to not

launch properly for two days and how this failure was partially to blame on Courson and

Huber.46

       As a result of their collective efforts, as early as 2013, Dallmann and his co-conspirators

were offering subscribers access to a massive catalog of stolen content. In this regard, SA Chase

will testify about a 44-page printout from jetflicks.mobi that was found at Dallmann’s house and

is dated September 5, 2013, and that lists television series available on the website, including 2

Broke Girls.47 He also will testify about a six-page printout from an internal tool hosted on



seek to introduce GX 004D, 005, 015, 019, 031, and 038 to prove the existence of such
relationships. See GX 004D (July 18, 2013 Texts) at 1 (Garcia and Dallmann exchange texts
during which Garcia writes, “Ok don’t get frustrated with me baby . . . .”); GX 005 (Aug. 11,
2013 Texts) at 1 (Dallmann and Garcia exchange texts during which Garcia complains about
being “in a controlled relationship,” and Dallmann responds, “You’re in a dependably [sic]
relationship because you don’t have a source of income other than Jetflicks.”); GX 015 (Jan. 20,
2014 Texts) at 1-2 (Garcia and Courson discuss having sex after Huber completes a project);
GX 019 at 1 (Apr. 26, 2014 Texts) (Garcia and Courson discuss having sex and Garcia suggests
Courson could have sex with Dallmann and Garcia); GX 031 at 1 (July 3, 2014 Texts)
(Dallmann and Garcia exchange texts in which they discuss “break[ing] up”); GX 038 at 1-2
(Aug. 26, 2014 Texts) (Garcia and Courson exchange texts about having sex, and Garcia
indicates Courson can have sex with Garcia and Dallmann).
       45
           GX 911 (May 27, 2013 Texts) at 1 (Garcia advises an individual that a particular
episode of The Apprentice would not play); GX 006 (Aug. 19, 2013 Texts) at 1 (Garcia asks an
individual to “add basketball season 5 episode 1,” adding that “it aired today”); GX 007 (Aug.
20, 2013 Texts) (Garcia receives messages from an individual stating that he could not “find any
downloadable episodes of marrying the game on the networks,” that “News room and Donovan
are all current,” and that “7 & 9 are next weeks shows.”)
       46
            GX 013 (Nov. 18, 2013 Texts) at 1-2.
       47
            GX 008.



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jetflicks.com that was found at Dallmann’s house and is dated September 24, 2013, and states

that Jetflicks had over 16,000 customers and was offering access to over 4,300 seasons of

television shows.48

       Markedly, the evidence will show that, as early as 2013, the co-conspirators used JASC

to hide the true nature of their unlawful activities. Forensic Examiner Laura Peterson and SA

Chase are expected to testify about GX 406, which is a draft letter to PayPal that was recovered

from an Apple tower that SA Curtis Cox seized from Dallmann’s house in November 2017 and

that subsequently was denoted as 1B76. Forensic Examiner Peterson will testify that GX 406

was found within a folder on 1B76 marked as an Apple iCloud archive, which is the same folder

in which messages attributable to Garcia were located.49 The metadata for GX 406 indicates that

the letter was drafted in December 2013.50 The letter, which seeks to convince PayPal that

Jetflicks has a plan to reduce chargebacks, describes Jetflicks as a service that “provide[s]

aircraft entertainment systems and services to the private aviation market.”51

       F.        Operation of the Conspiracy in 2014

       We expect to show at trial that, in 2014, Dallmann, Courson, Garcia, and Huber

continued to work closely together to further their conspiratorial agreement. SA Chase, for

instance, will testify about GX 025. These are text messages among Dallmann, Courson, and

Garcia from June 2014 in which Courson asks Dallmann to “teach” him more about the


       48
         GX 010. This printout also listed the 20 most viewed seasons, stating that season three
of The Walking Dead had been viewed 199,390 times and season two of 2 Broke Girls had been
viewed 92,384 times. Id. at 5.
       49
            We discuss the attribution of the Garcia text messages below at Part III.A.
       50
            GX 406A (Metadata for GX 406) at 1.
       51
            GX 406 at 1.



                                                  23
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“automatic system” they are using to download television episodes. Courson explains that he

has “to request dozns [sic] of shows every week and [he] need[s] to learn how to set the

parameters so that they get captured.” SA Chase will point out Dallmann’s response: “Doug this

is kris… There is nothing I can teach you if the system can’t pick up a show it has to be done

manually.”

       Jetflicks, in fact, had become central to the lives of at least Dallmann, Courson, and

Garcia in 2014. SA Chase will testify that Dallmann stated in a July 3, 2014 text message to

Garcia that “Jetflicks pays for everything in our life [and] you can’t say ‘fuck you’ to it and

expect to live here.”52 Likewise, SA Chase will highlight texts between Garcia and Courson in

which Garcia remarked that they “eat[,] breath[e,] and shit Jetflicks.”53

       It also is anticipated that SA Chase will testify that, in 2014, the co-conspirators

continued to use Sick Beard to download content from online networks and then stored the

works they downloaded on servers that they controlled. For instance, SA Chase is expected to

establish the following facts:

                In January 2014, Courson emailed Dallmann that they had an
                 episode of Shameless that had not yet aired,54 and informed
                 Dallmann by email that he would move two episodes of The Haves
                 and the Have Nots to the correct server and that he would reupload
                 an episode of Black Sails that was missing and would “forward to
                 Peter to look into what might have happened to it.”55




       52
            GX 031 (July 3, 2014 Texts) at 1.
       53
            GX 042 (Sept. 10, 2014 Texts) at 2.
       54
            GX 014 (Jan. 7, 2014 Email) at 1.
       55
            GX 016 (Jan. 22, 2014 Email) at 1.



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               In April 2014, Sick Beard had been programmed to download
                thousands of television episodes, including episode nine of season
                two of The Haves and the Have Nots.56

               From May to December 2014, Dallmann, Garcia, and Courson
                exchanged communications about downloading television episodes
                from Sick Beard, processing those episodes to make them suitable
                for streaming to customers, and updating subscribers on the status
                of television episodes that they had requested.57

SA Chase, moreover, will highlight instances in which the co-conspirators discussed acquiring

television episodes that were about to air or were going to soon air.58

       We will show that these numerous communications about downloading television

episodes were made at and around the time that Sick Beard and SickRage inventories were



       56
            GX 018 (Apr. 7, 2014 Sick Beard Download List) at 14.
       57
           GX 020 (May 8, 2014 Email) at 1 (Courson informs Dallmann of the various television
shows for which he had “made the necessary requests to sickbeard”); GX 022 (May 29, 2014
Texts) at 1 (Garcia and Courson discuss downloading particular television shows, the speed by
which they would be available to subscribers for streaming, and updating subscribers on the
status of those shows); GX 024 (June 10, 2014 Texts) (similar); GX 028 (June 21, 2014 Texts) at
1 (Garcia and Courson discussing their inability to upload an episode of Salem that “kris said he
downloaded and converted,” which results in Courson concluding the issue “has something to do
with the new NZB site.”); GX 029 (June 23, 2014 Texts)at 1-3 (Garcia and Courson discussing
the acquisition of particular television episodes that subscribers had requested and fixing issues
with episodes already available to subscribers).
       58
          GX 034 (July 23, 2014 Texts) at 1 (Garcia and Courson discuss whether Jetflicks was
missing any episodes of Bad Girls Club, and Courson advises that he “looked everywhere” and
the “[n]ext episode of bad girls club airs in the 29th”); GX 035 (Aug. 7, 2014 Texts) at 1-2
(Garcia and Courson discuss subscriber requests for particular television episodes, and Courson
notes that an episode of So You Think You Can Dance just became “available 3 hours ago” and
he would request it because their “system ha[d]n’t requested it yet”); GX 040 (Sept. 2, 2014
Texts) at 1 (Garcia asks Courson to “add ink masters,” which “airs tonight at 10,” to which
Courson responds, “Already have it.”); GX 045 (Sept. 18, 2014 Email) at 1 (Courson informs
Dallmann and Garcia of more than 20 television shows he had “added to the system” and were
“waiting [for the] premiere”); GX 046 (Oct. 30, 2014 Email) at 1 (Garcia relays subscriber
requests for particular television episodes, and Courson responds as to whether the requested
content is available for download or is unavailable because it has not yet aired); GX 047 (Dec. 4,
2014 Email) (similar).


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generated and subsequently maintained at Dallmann’s homes. For example, SA Chase and

Poston may testify that the records recovered during the November 2017 searches show that on

April 7, 2014, the co-conspirators used Sick Beard to search for 71,011 different television

episodes,59 and on June 27, 2014, they used Sick Beard to search for 74,657 different television

episodes.60

       We also expect SA Chase to testify that co-conspirator communications establish Huber’s

centrality to the conspiracy in 2014. For example, SA Chase will highlight texts exchanged

between Garcia and Courson in August 2014 regarding Jetflicks servers going down.61 These

texts show that Garcia asked Courson to “call Peter,” and Courson later advised that Huber is

“out to dinner and will get here ASAP.”62 Similarly, SA Chase will testify about GX 037, which

are texts between Garcia and Courson regarding an episode of The Honorable Woman that would

not “load.”63 Courson indicates that Huber would be needed to solve the problem, writing that

he would “have to deal with Peter in the morning.”64 SA Chase also will highlight GX 044,

which is an exchange of text messages between Garcia and Courson in September 2014 during

which Courson states that an episode of Bad Girls Club will not “load for some reason” and he

would “have to have peter look at the problem in the morning.”65


       59
            GX 018.
       60
            GX 030.
       61
            GX 036 (Aug. 14, 2014 Texts).
       62
            Id. at 2.
       63
            GX 037 (Aug. 14, 2014 iMessages) at 1.
       64
            Id.
       65
            GX 044 (Sept. 13, 2014 iMessages) at 1.



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       Moreover, we will prove that, by September 2014, Dallmann, Courson, Garcia, and

Huber were concerned about preventing others from stealing the very content they had stolen.

Specifically, SA Chase will testify that text communications show the co-conspirators learned

around that time that Polo was using Jetflicks customer accounts to access and “copy [their]

stuff.”66 SA Chase will show that Courson responded by advising Dallmann that Huber would

“write a program to block [Polo],” and both Courson and Garcia expressed the view that Polo

was “a thief.”67 These reactions are revealing of the co-conspirators’ understanding that their

scheme to download and sell access to thousands of television shows was illegal inasmuch as

they thought it was theft for someone to download without permission the content that they had

acquired.

       G.        Operation of the Conspiracy in 2015

       We expect to show at trial that, in 2015, Dallmann and his co-conspirators persisted with

their conspiracy. To this end, it is anticipated that SA Chase will establish that the co-

conspirators continued to use Sick Beard to download content,68 and continued to troubleshoot

problems with the content that the co-conspirators had downloaded from pirate sites.69 And, we


       66
            GX 041 (Sept. 8, 2014 Texts) at 1.
       67
            Id. at 1-2.
       68
           GX 1304 (Jan. 17, 2015 Email) at 1 (Courson informs Garica that he goes “to
Sickbeard Backlog” and “pull[s] . . . shows at least once a day until they come in”); GX 049
(Jan. 23, 2015 Email) at 1 (in response to a subscriber’s complaint about particular television
episodes not being available on Jetflicks within 24 hours of airing, Courson emails Garcia that,
“[a]s soon as [he] see[s] a show hasn’t updated on Sickbeard (first thing every morning) [he]
update[s] if the files are available,” and adds “[a]s a rule, no show files sit waiting for updates
once they are ready.”)
       69
           GX 050 (Feb. 9, 2015 Email) at 1 (Courson emails Dallmann about “[s]how problems”
and notes that an episode of Marriage Boot Camp: Reality Stars is on “kickass,” “but [I] cant’
get it to upload”); GX 051 (Feb. 12, 2015 Email) at 1 (Courson emails Garcia and Dallmann to
provide a “heads up” that “there was some sort of problem with the system yesterday” that


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will show that these communications about downloading television episodes correspond to hard-

copy documents recovered from Dallmann’s homes in November 2017 that detail the massive

library of stolen content being amassed.70

       SA Chase also will establish the ways in which Dallmann and his co-conspirators

changed their operations in 2015. For example, SA Chase will discuss GX 054, which is a note

found on Dallmann’s iPhone.71 The note, which is titled “SickRage Servers,” lists user

credentials for several NZB networks and Usenet sites.72 SA Chase also will highlight GX 061,

which is a 22-page printout from SickRage dated October 19, 2015 that shows the co-

conspirators had programmed SickRage to search for 757 television shows. SA Chase will note

that GX 061 shows that, as of October 2015, the co-conspirators had used SickRage to download

3,000 episodes and “snatch” (i.e., partially download) another 2,210 episodes, which was only

about five percent of the 58,169 individual episodes that they were seeking to download.




resulted in Courson having to “go[] through all the shows and re-request[] them.”); GX 057 (July
5, 2015 Email) at 1 (Courson informs Dallmann that he is getting an error message indicating
that there is insufficient free space “upon placing the file into ‘Torrents’ in the ‘Downloads’
folder.”); GX 058 (Sept. 4, 2015 Email) at 1 (Courson emails Huber and Dallmann that he is
“trying to upload shows and nothing is happening,” provides episode 22 of season 1 of
America’s Got Talent as an example, and asks Huber to “take a look at this” because Courson
“need[s] to get shows uploaded.”); GX 059 (Sept. 17, 2015 Email) at 1 (Courson emails Huber
and Dallmann about seasons of The Exes, which Courson states “does not work anymore” even
after he “reloaded them,” and asks Huber to “take a look at this” because Courson “want[s] to
avoid customer complaints.”).
       70
           GX 056 (Sixteen-page printout from Sick Beard that is dated April 27, 2015, and lists
several television episodes for which Sick Beard was searching); GX 060 (Fifty-six-page
printout from jetflicks.mobi that is dated October 19, 2015, and lists television shows available
on the website in alphabetical order, including America’s Got Talent and The Exes).
       71
            GX 054 (Nov. 16, 2015 iPhone Note) at 1.
       72
            Id. at 1-2.



                                                28
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       Moreover, SA Chase will testify about GX 048, which is a January 7, 2015 email from

Courson to Dallmann regarding the storage of show content. SA Chase is expected to draw two

conclusions from GX 048. First, the email shows that the co-conspirators had downloaded so

many television episodes that they were using servers in Las Vegas and in Canada and were

concerned about bandwidth problems. Second, the email contradicts statements that Huber made

to SA Chase during an interview. Second, the email contradicts statements that Huber made to

SA Chase during an interview. Huber claimed that Dallmann had told him that it was legal for

Jetflicks to stream television episodes between the time a show aired and the time it became

available for purchase on DVD, yet GX 048 establishes that Huber was consulted in January

2015 about storing “current seasons [of television shows] on . . . servers in Canada, and moving

the previous [seasons] to some new servers in the office” given that “previous seasons aren’t

accessed as much.” Courson’s email states that Huber is concerned about this proposal, but the

specified concern regards “band width problems.” Courson provides no indication that Huber

expressed any concern about how this proposed division of Jetflicks content squared with the

notion that Jetflicks was operating legally so long as it took down television episodes once they

were available to purchase on DVD.

       In addition, SA Chase will establish that, at the same time Dallmann was leading the

Jetflicks conspiracy, he was concerned about being prosecuted for copyright infringement.

Specifically, SA Chase will testify about records provided by Google that show Dallmann used

Google to search the internet for the phrase “Jetflicks congress.”73 The evidence will show that

this search returned a link to regulations.gov of a 2012 letter from the MPAA and others to the




       73
            GX 062A (Dallmann’s Google Search History for Nov. 4, 2015) at 1.



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U.S. Intellectual Property Enforcement Coordinator (IPEC).74 The letter included a paragraph

about Jetflicks’ illegal streaming of television shows, and the FBI recovered a hard copy of this

letter in one of Dallmann’s houses in Las Vegas. Significantly, the copy that the FBI found has

brown stains on the front and a red Post-It flag on the page regarding Jetflicks.75 The evidence

will show that, after clicking on the regulations.gov link, Dallmann inputted to Google’s search

engine the following search terms: “jetflicks indicted” and “jetflicks indictment.”76

       H.       Operation of the Conspiracy in 2016

       We will prove that, by July 2016, the conspiracy’s membership had changed slightly. SA

Chase is expected to explain that Courson’s involvement apparently lessened somewhat.77 SA

Chase also will testify that, by July 2016, Garcia no longer was helping with the scheme nor was

in a relationship with Dallmann. SA Chase is expected to note that Jaurequi effectively took




       74
            Id.; GX 062B (MPAA Letter to IPEC Dated Aug. 10, 2012).
       75
            GX 062C (MPAA Letter to IPEC Found in Dallmann’s House) at 15.
       76
            GX 062A at 2-3.
       77
           GX 065 (July 18, 2016 Text) at 1 (Dallmann informs Jaurequi that “because of the
financial issues that Doug had lately, I gave him a little bit of work” that entailed having Courson
“look[] over the three printed lists I had over the years of what content Jetflicks had.”).


                                                30
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Garcia’s place,78 both in terms of aid rendered to the conspiracy and intimacy with Dallmann and

Courson.79

       SA Chase also will testify that Dallmann and his co-conspirators had become reliant on

SickRage by July 2016. He will explain that Dallmann taught his co-conspirators how to operate

SickRage, too. To this end, SA Chase will testify about GX 066, 067, and 083, which are text

messages between Dallmann and another individual. Dallmann instructs this person on “the

process” for downloading television episodes and then processing them for distribution to

subscribers, explaining that “sick rage . . . finds and snatches the info for the [desired television]

episode[,] then… sab [SABnzbd] and/or utorrent . . . download the episodes . . . [t]hen the




       78
             See, e.g., GX 116 (Sept. 30, 2016 Note from Jaurequi Apple iPhone) at 1, 9 (draft of
potential responses to customer questions, such as touting Jetflicks “plans to keep expanding” its
library of shows while “some companies like Netflix have reduced their catalogs,” discouraging
cancellations because Jetflicks has “over 340,000 episodes of the hottest shows TV has to offer
and . . . it would take 5 online subscriptions to various other streaming companies to try and
match what Jetflicks! offers,” bragging that Jetflicks is posting episodes “that just aired,” and
boasting that “the main difference between Jetflicks! and other similar companies is that the
content we offer really has no limit.”).
       79
          See GX 082 (Aug. 9, 2016 Texts) at 2 (Dallmann informs another individual that he
should “handle minor errors…and re-request shows as a first line of defense” and “send an email
to Doug saying you re-requested X shows… and for him to check the system and verify they
DID reconvert, upload, and are playing properly,” and adding that “[i]f for any reason, you can’t
do support for a day… OR you are away from your computer… your fallback to get the job done
is to communicate with Jared and have him do it for you.”); GX 169 (July 11, 2017 Texts) at 1
(Dallmann inviting Courson to have sex with Jaurequi and himself); GX 173 (Nov. 10, 2017
Texts) at 1-4 (Dallmann inviting Courson to have sex with Jaurequi and himself); GX 1108 (Oct.
27, 2016 Texts) at 4-5 (Jaurequi invites Courson to have sex with Dallmann and him amid a
conversation about PayPal locking Jetflicks’s account due to copyright infringement concerns).

        As noted previously, we have offered to stipulate to Dallmann, Jaurequi, and Courson
having an intimate relationship. The defense, to date, has not indicated whether they would enter
into such a stipulation.


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conversion script takes over…and converts and uploads.”80 Dallmann also explains the formats

for downloading television episodes and how the resolution of the files can affect the speed by

which the episodes can be converted for streaming to subscribers.81

       SA Chase further will testify that, in August 2016, Dallmann hired Vaillant as a computer

programmer for Jetflicks. Within days of hiring Vaillant,82 Dallmann trained Vaillant on “the

process . . . for doing shows.”83 SA Chase will testify that Dallmann explained that process as

follows:

                [F]irst.. in the admin, you add a show by clicking ‘add show
                (sickrage)’ . . . then you get the show ID number off of the
                TVDB.com and put that number in, and select a server you want
                the show to load on. . . . [T]hen it adds all the information for
                the show into the sickrage program . . . . [F]rom there… nothing
                shows up in the admin until we download, convert, and upload an
                episode, using the sickrage interface[.] [T]hen… scripting on the
                conversion machine runs, and uploads the files, and launches the
                episodes using the scripts I was telling you about earlier…84

SA Chase also will testify that, by at least August 14, 2016, Vaillant knew the content for

Jetflicks was being sourced from NZB sites given an exchange with Dallmann in which




       80
        SA Poston is expected to testify that uTorrent is software that enables a user to
download or share torrent files.
       81
            GX 083 (Aug. 9, 2016 Texts) at 1-2.
       82
        GX 068 (July 29, 2016 Texts) (Vaillant confirms he sent his resume to Dallmann);
GX 069 (July 30, 2016 Email) (Vaillant sends his resume by email to Dallmann).
       83
            GX 077 (Aug. 5, 2016 Texts) at 1.
       84
            GX 086 (Aug. 12, 2016 Texts) at 1.



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Dallmann asked Vaillant to remove Polo’s access to customer accounts but wait to cutoff Polo’s

access to user accounts “until we are 100% independent from his NZB server.”85

       We expect to establish that Vaillant, over time, became more enmeshed in the Jetflicks

conspiracy. SA Chase is expected to highlight various texts exchanges between Dallmann and

Vaillant that prove the following:

               Vaillant knew that Dallmann was using OVH servers to host content
                that was “currently airing,” two servers in Las Vegas to host “ended
                shows,” and only one of server for the “aircraft” side of Jetflicks.86
               Dallmann primarily wanted Vaillant to have “program” and he
                would have “lower paid people . . . add shows”87 But, for Vaillant’s
                coding tasks, he needed full access to Jetflicks’ servers, SickRage
                application, and PayPal account, so Dallmann provided Vaillant
                with the relevant login credentials.88

               At times, Vaillant worked with Dallmann to find, download, and
                manage television episodes.89


       85
            GX 088 (Aug. 14, 2016 Texts) at 1.
       86
           GX 079 (Aug. 7, 2016 Texts) at 1. SA Chase will note that GX 079 is another example
of a text exchange contradicting statements Vaillant made to the FBI during an interview. As SA
Chase will explain, Vaillant likened Jetflicks during an interview to “Netflix for planes” and
claimed he had been told that Jetflicks would soon be deployable to aircraft. Yet, GX 079 shows
that, within days of joining the Jetflicks conspiracy, Vaillant was aware that minimal resources
were being put toward JASC. Indeed, SA Chase will highlight GX 1006, which is an exchange
of texts between Dallmann and Vaillant on August 14, 2016, and will note that when Dallmann
referenced the “aircraft side” of Jetflicks, Vaillant had to ask Dallmann to explain what he
meant.
       87
            GX 092 (Aug. 22, 2016 Texts) at 1.
       88
          GX 090 (Aug. 15, 2016 Texts) at 1-3 (Dallmann and Vaillant discuss adding a
password to a server relating to SickRage); GX 107 (Sept. 5, 2016 Texts) at 1 (Dallmann emails
to Vaillant the “keys” to SickRage); GX 115 (Sept. 29, 2016 Email) at 1 (Dallmann emails login
credentials to Vaillant for PayPal).
       89
         GX 093 (Aug. 22, 2016 Texts) at 1-2 (Vaillant informing Dallmann that he had
“successfully” added American Horror Story to SickRage and “check[ed] video quality”);
GX 117 (Oct. 4, 2016 Texts) at 1 (Dallmann listing particular television shows on certain servers
and advising that he planned to “delete any show that has s1004 on it… because you’re going to


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              Vaillant knew the conspiracy was using SickRage to search for
               television episodes on a daily basis.90

              Vaillant was highly familiar with SickRage’s integration into
               Jetflicks, and he came to pride himself on ensuring SickRage
               operated as intended.91

SA Chase will juxtapose these text exchanges with his interview of Vaillant in May 2018. SA

Chase will testify that Vaillant admitted to working for about three months as a programmer at

Jetflicks in 2016 and receiving between $5,000 and $10,000 in compensation, admitted that he

thought something was strange about how content for Jetflicks was sourced, and admitted that he

was not surprised if Jetflicks was in legal trouble. Yet, SA Chase also will testify that Vaillant

claimed Jetflicks acquired its content by copying DVDs that had been purchased or rented; a

claim that is plainly inconsistent with the aforementioned exhibits.




re-add[] when you add the server”); GX 118 (Oct. 4, 2016 Texts) at 1 (Vaillant advising that he
could not “find ‘law and order special victims unit’ on sickrage”); GX124 (Oct. 13, 2016 Texts)
at 1 (Vaillant adding The Walking Dead at Dallmann’s request); GX 133 (Nov. 12, 2016 Texts)
at 1 (Vaillant keeping track of episodes missing from Jetflicks’ databases).
       90
          GX 097 (Aug. 23, 2016 Texts) at 1 (Vaillant agrees to figure out why SickRage’s
“daily search isn’t running”); GX 122 (Oct. 12, 2016 Text) at 1 (Dallmann informing Vaillant
that “SickRage is constantly running”)
       91
           GX 100 (Aug. 25, 2016 Texts) at 1 (Vaillant responds to an issue with Jetflicks servers
not connecting properly to SickRage by telling Dallmann he would “fix this problem” by
“search[ing] inside the code,” and later updates Dallmann that he had “found the problem” that
was causing the site to “go very very slow.”); GX 112 (Sept. 21, 2016 Texts) at 1-2 (Vaillant
bragging that he is “the best programmer” and assuring Dallmann that “if sickrage can download
the file don’t worry I can handle.”); GX 114 (Sept. 21, 2016 Texts) at 1 (Dallmann asks Vaillant
for help in creating “an updated list of . . . shows in the admin” because Dallmann wants to give
another person “the ability to manage SickRage from the Admin, requesting shows, re-requesting
shows that don’t work, and be able to add new Shows, etc.”); GX 139 (Nov. 16, 2016 Texts) at 1
(Dallmann asking Vaillant to “try and fix something with SickRage and the post-processing
scripting” that was preventing “failed downloads” from being “automatically. . . recognized”).


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       And, we will show that the co-conspirators’ communications about downloading and

processing television episodes were made at and around the times the inventories that Dallmann

and Jaurequi maintained.92

       I.      Threats in 2016 to the Continued Operation of the Jetflicks Conspiracy

       We expect to prove that the Jetflicks conspiracy faced several challenges to its continued

operation in 2016. Ironically, one threat that Dallmann and his co-conspirators perceived could

disrupt their conspiracy was Polo’s theft of the content that the Jetflicks conspiracy had amassed.

SA Chase will testify that Dallmann repeatedly complained to Vaillant about Polo stealing from

Jetflicks and implored Vaillant to prevent Polo from doing so.93 Moreover, SA Chase will

highlight GX 1104, which is a text message exchange between Jaurequi and Courson. Jaurequi

states that the “crap with Darryl is getting out of hand” and he plans “to pursue legal action for



       92
           GX 078 (Twenty-three-page printout from SickRage that is dated August 5, 2016, lists
television series for which SickRage was searching, and states that the co-conspirators were
seeking 788 shows and had downloaded over 56,000 episodes); GX 102 (Nine-page printout
from SickRage that is dated August 25, 2016, lists television series for which SickRage was
searching, and states that the co-conspirators were seeking 251 shows and had downloaded over
500 episodes); GX 103 (One-page printout from SickRage that is dated August 26, 2016, and
lists television series for which SickRage was searching); GX 121 (Oct. 14, 2016 Note from
Jaurequi iPhone) at 1 (One-page list of television episodes and notes as to whether they are
missing from Jetflicks); GX 149 (Dec. 22, 2016 Note from Jaurequi Apple iPhone) at 1-6 (Six-
page list of television shows, including notations about missing episodes).
       93
          GX 079 (Aug. 7, 2016 Texts) at 1 (Dallmann telling Vaillant that he “really want[s] to
make sure Darryl isn’t stealing our content anymore . . . .”); GX 080 (Aug. 8, 2016 Texts at 1
(Dallmann complaining to Vaillant that he had “found out that Darryl [was] basically using an
exact duplicate of [Jetflicks’] database in what he stole from [them],” and said that, as a result,
“pretty much the entire site, front end, back end, database, and security needs to be changed.”);
GX 091 (Aug. 15, 2016 Texts) at 1 (Vaillant remarking that Polo’s website design for
iStreamItAll was like Jetflicks’ sites, and Dallmann responding that he was unsurprised because
Polo “steals everything” and does not “have an original idea in his body.”); GX 098 (Aug. 24,
2016 Texts) at 1 (Dallmann complaining that Polo’s “site [was] basically mirroring Jetflicks,”
lamenting that he was “sick and tired of [Polo] benefiting from stealing from us,” and asking
Vaillant to “get some security in place so [Polo] can’t get the files.”).


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his breach of contract and his theft of customer information and a bunch of other stuff.”

Courson, markedly, discourages such action, writing that “as [he] explained to Kris before, since

Jetflicks is questionable with respect to it being a legal enterprise (because no royalties are paid

for the use of the material) . . . the legal system may invoke the theory of dirty hands and

therefore refuse to take any action on either side.”

       Another problem for Dallmann and his co-conspirators in 2016 was that outside entities

started to question Jetflicks. Special Agent Chase will testify about GX 126, which is an email

from PayPal dated October 24, 2016. PayPal’s email advised Dallmann that PayPal had

“limited” Dallmann’s account after “determin[ing] that [he] [was] in violation of PayPal’s

Acceptable Use Policy regarding [his] sales or offers on www.jetflicks.mobi.” PayPal explained

that Dallmann was prohibited from using PayPal to “send or receive payments for items that

infringe or violate any copyright, trademark, right of publicity or privacy, or any other

proprietary right under the laws of any jurisdiction.” PayPal explained that, in order to unfreeze

the account, Dallmann had to provide “a valid licensure or proof of authorization to operate [his]

business or to conduct the sales on www.jetflicks.mobi.”

       SA Schurott and SA Chase are expected to explain that Dallmann and his co-conspirators

started scheming a response to PayPal. Through these witnesses, we will prove the following:

                On October 25, 2016, Jaurequi and Courson exchanged texts in which
                 Jaurequi asked Courson if he knows the location of “that paper from
                 2007 that the lawyer typed up saying that [Dallmann’s] business is
                 legal.” Courson responded that he “never saw anything like that” and
                 does “not believe [K]ris ever told [him] about something like that.”94

                On October 26, 2016, Dallmann and Courson exchanged texts about
                 PayPal limiting the Jetflicks account. Dallmann stated that he was
                 “completely broke” and needed to find a legal memorandum “that says

       94
            GX 1105 (Oct. 26, 2016 Texts) at 1.



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                 what we can and cannot do” because “PayPal has locked our account
                 indefinitely until we can provide them with documentation that allows
                 us to conduct business with copyrighted material.” Dallmann added
                 that he had “never had to use it before” and that “[i]t’s nothing[,] [b]ut
                 it’s our only shot.”95

                On October 27, 2016, Dallmann used Google to conduct the
                 following searches: “kristopher dallmann warrant,” “wire fraud
                 punishment,” “wire fraud jetflicks,” and “fraud jetflicks.”96 That same
                 day, Jaurequi and Courson exchanged texts in which Jaurequi stated
                 that “Kris has been obsessing over the thought of wire fraud and
                 fraud.”97

                Also on October 27, 2016, Dallmann and Courson exchanged texts
                 in which Dallmann stated that “we are getting a different merchant”
                 and will “continu[e] with Jetflicks as normal,” but also proposed to
                 “start moving forward with the real jetflicks model, storing people’s
                 dvds, charging monthly for it” and to “mov[e] away from the ‘grey’
                 area.”98

                On October 28, 2016, Jaurequi forwarded the PayPal email to
                 Courson and asked Courson to give Dallmann a “pep talk.”99

                On October 29, 2016, Jaurequi drafted for Dallmann a proposed
                 response to PayPal in which he falsely described Jetflicks as a
                 company that “provides inflight entertainment for the private and
                 executive aviation industry.” Jaurequi accused PayPal of asking

       95
          GX 1106 (Oct. 26, 2016 Texts) at 1-4. Markedly, the FBI recovered a legal
memorandum from Dallmann’s house that was six-pages long and concerned a “Mobile Movie
Service.” GX 1101 (Jan. 4, 2008 Legal Mem.). The memorandum warned copying movies from
DVDs may violate U.S. copyright law. Id. at 1, 5-6. Dallmann disregarded this advice,
however. In this regard, SA Chase may testify about GX 1305, which are text messages
Dallmann sent in August 2016 in which Dallmann states that Jaurequi’s “main job is going to be
to convert shows from DVD for any missing seasons and shows that we can’t download.”
       96
            GX 182 (Oct. 27, 2016 Google Searches) at 1.
       97
            GX 1108 (Oct. 27, 2016 Texts) at 1-6.
       98
            GX 1107 (Oct. 27, 2016 Texts) at 1-4.
       99
            GX 127 (Oct. 28, 2016 Texts) at 1-2.



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                    them to “break the law,” adding that PayPal could not have “free
                    access to the copyrighted content on” Jetflicks because “we would
                    be liable for providing you with free access to view copyrighted
                    material with no royalties having been paid.”100

By November 2016, Dallmann had decided to move to a new payment processor for Jetflicks

subscriptions. In this regard, SA Schurott and SA Clay will establish the following:

                   On November 3, Dallmann submitted an application to Stripe, a
                    payment processor located in California, for purposes of opening an
                    account for Jetflicks. However, the application stated that the
                    website for Jetflicks was jetflicks.com instead of jetflicks.mobi, and
                    falsely described Jetflicks as follows: “Private and Corporate
                    aviation entertainment system sales, service, and subscription
                    services. We invited the first entertainment system for private
                    aviation that is classified as carry-on equipment.”101

                   On November 6, 2016, Dallmann exchanged texts with Vaillant
                    about Stripe’s policies regarding processing payments and
                    transferring them to the account holder’s bank account. Dallmann
                    wrote, “And don’t forget it has to go through jetflicks.com…”102
                    Vaillant then responded, “I had forgotten that all payments have to
                    be made through jetflicks.com.”103

 SA Chase, moreover, will highlight text messages that prove Vaillant knew his work with Jetflicks

 was for jetflicks.mobi and not jetflicks.com.104




        100
              GX 128 (Oct. 29, 2016 Text) at 1.
        101
              GX 407A (Stripe Application) at 1.
        102
              GX 131 (Nov. 6, 2016 Texts) at 1.
        103
              Id.
        104
           See, e.g., GX 099 (Aug. 25, 2016 Texts) at 1 (Dallmann and Vaillant troubleshooting
an issue with jetflicks.mobi); GX 1009 (Oct. 10, 2016 Texts) at 1-2 (Dallmann and Vaillant
discussing accessibility of jetflicks.mobi); GX 132 (Nov. 12, 2016 Email) at 1 (Dallmann emails
Vaillant and Jaurequi the “Mobi Episode Design Update” and details a “New Design for Jetflicks


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        It is anticipated that a Stripe representative will testify that, shortly after receiving

 Dallmann’s application, Stripe began its due diligence process and attempted to view the

 Jetflicks website. Yet, as reflected in GX 134, to which SA Schurott and SA Chase will testify,

 Stripe could not access jetflicks.com. Accordingly, on November 9, 2016, Stripe sent an email

 to Dallmann requesting access. Stripe explained that the site appeared to be “password

 protected,” and explained that it “need[ed] to be able to see the actual contents of [the] site

 before resuming transfers to [Dallmann’s] bank account.”105

        We expect SA Schurott and SA Chase also will testify as to what happened next. They

 are expected to establish that on November 13 and 14, 2016, Dallmann sent a series of emails

 and text messages to Vaillant regarding how he wanted Vaillant to construct jetflicks.com. The

 upshot of these messages was that Dallmann and Vaillant designed jetflicks.com to display

 information relating only to JASC. Dallmann, moreover, urged Vaillant to complete

 jetflicks.com as soon as possible so that Stripe would release the funds it had frozen.106

        SA Schurott and SA Chase also will testify about GX 134, which was Dallmann’s

response to Stripe on November 15, 2016. In that response, Dallmann doubled down on the

false representation of Jetflicks’ business, describing Jetflicks as “a hardware/software based

solution” for “private, corporate, and executive aircraft” that “allows [airplane] passengers to

use their mobile devices to control IFE [in-flight entertainment], order drinks from the in-flight




Shows.”); GX 180 (Nov. 14, 2016 Texts) at 1 (Vaillant advising Dallmann that, in creating
jetflicks.com, he is “not using anything that is related to jetflicks.mobi”).
        105
              GX 134 (Nov. 9, 2016 Email) at 2.
        106
          GX 135 (Nov. 13, 2016 Email) at 1; GX 136 (Nov. 13, 2016 Email) at 1; GX 137
(Nov. 14, 2016 Email) at 1; GX 179 (Nov. 14, 2016 Texts) at 1-2; GX 180 (Nov. 14, 2016 Texts)
at 1-2.


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staff, communicate with the pilots, and even check flight status and statistics instantly.”

Dallmann claimed that Jetflicks had “3,500 active customers” and described jetflicks.com as a

site that was still under construction. He offered to create an account on jetflicks.com for Stripe

and provided “mock-up[s] of what will be available on jetflicks.com” within the next day.

Because Dallmann’s email omitted any reference to Jetflicks’ streaming service, Stripe was left

with the false impression that the funds Stripe would process were customer payments for an

“aircraft” business.

       SA Schurott and SA Chase also will prove that Dallmann forwarded GX 134 to Vaillant

the same day that Dallmann sent it to Stripe. They also will show that Dallmann followed up by

text message, writing that he understood Vaillant was working hard but he was frustrated with

Vaillant’s progress on jetflicks.com.107 Dallmann added that he understood Vaillant wanted to

get paid, and noted that “if we don’t get this shit figured out” soon, then there were “pretty

severe consequences that will happen in less than a week.”108 Dallmann explained that this is

“why [he] made the decision to email Stripe prematutly [sic]” and “why [he] explained the shit

out of what products we’re offering, and why the site isn’t completely online yet.”109 Vaillant

then confirmed that he was translating the email that Dallmann had sent to Stripe, but expressed

no objection to Dallmann’s description of Jetflicks’ business.110

       SA Schurott and SA Chase further will establish that Dallmann thereafter continued to

press Vaillant to complete jetflicks.com. For instance, on November 15, 2016, Dallmann told


       107
             GX 181 (Nov. 15, 2016 Texts) at 1.
       108
             Id.
       109
             Id.
       110
             Id. at 1-2.



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Vaillant that he would not be paid until “a merchant approves sending us money.” 111 Dallmann

stated that he had “$13,000 sitting out there in payments on PayPal and Stripe,” adding, “I

mean, you do know we are not kidding when we say that the site on jetflicks.com being

complete is the key to getting paid.”112 When Vaillant told Dallmann to tell Stripe that

“jetflicks.com is working,” Dallmann responded: “you do realize that they have to verify that

we are ‘selling’ what we say we’re selling… and test the functionality of the site…”113

Dallmann then set out the specific features he needed to be displayed on jetflicks.com, and

pointedly stated, “You do realize that every single aspect of how I’ve designed jetflicks.com has

been thought through, and has been tied in together with the overall objective for us to get our

account approved, and for us to get paid.”114

       Dallmann went on to explain his view of why he “ma[d]e over $750,000” through

Jetflicks.115 Dallmann bragged that he had built Jetflicks “from nothing” because he had “a

very good understanding” of the “established systems set forth by other companies, and what’s

necessary to get past those systems so [Jetflicks] can thrive.”116 Dallmann added that he had an

upcoming meeting at Wells Fargo regarding a merchant account and planned to “look put

together, driv[e] up in a $200,000 car,” and “technically” lie about “already having an




       111
             GX 140 (Nov. 15, 2016 Texts) at 1.
       112
             Id.
       113
             Id. at 2.
       114
             Id.
       115
             GX 141 (Nov. 15, 2016 Texts) at 1.
       116
             Id.



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established merchant processor.”117 Then, on November 16, 2016, Dallmann sent Vaillant

another message that Dallmann had sent to Stripe.118 The message, in relevant part, stated that

Dallmann had “applied and been approved for 2 other merchant accounts,” and Dallmann

threatened to “refund[] all transactions made through Stripe” if Stripe did not release Jetflicks’

funds “by tomorrow.”119 Vaillant responded, “[N]ice you are a professional.”120

       SA Schurott and SA Chase also will testify that, a few days later, on November 19,

2016, Dallmann and Vaillant discussed Jetflicks’ revenue.121 Dallmann stated that, “[b]efore

we had our issue with PayPal, we were making 20,000 to 30,000 per month” but Jetflicks was

now generating “less than $10,000 . . . each month.”122 When Vaillant again complained to

Dallmann about not being paid, Dallmann chided Vaillant for “throw[ing] that in [his face]”

because Vaillant “kn[e]w the reasons why things went the way they did and [Vaillant] decided

to stick with [Jetflicks] through those issues.”123 Then, on November 20, 2016, Dallmann sent a

lengthy email to Vaillant about the status of several projects.124 Dallmann complained that

there were problems with billing, television shows were not displaying correctly, “[t]he video

file security we developed for weeks[] still [did not] work, and [was not] being used at all to



       117
             Id.
       118
             GX 142 (Nov. 16, 2016 Texts) at 1.
       119
             Id.
       120
             Id.
       121
             GX 144 (Nov. 20, 2016 Texts) at 1.
       122
             Id.
       123
             Id.
       124
             GX 145 (Nov. 20, 2016 Email) at 1.



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protect [Jetflicks’] content,” and Jetflicks.com still was not “completely online,” which could

“raise questions with our merchant[] and may jeopardize us receiving funds.”125 Vaillant

responded the next day with an update on the status of these items.126

       Finally, to remove any doubt that Jetflicks.com was a front, we will show at trial an

April 2017 conversation between Dallmann and a friend that made clear that the site was a

sham. SA Chase will testify that Dallmann wrote to a friend, asking for feedback on a business

idea and provided the following background:

                   We had an issue a while back where PayPal wanted info that we
                   couldn’t give to them… so they cut off our account… and we moved
                   to another payment processor[.] Well, to avoid any issues… I
                   created a ‘fake’ website for Jetflicks… jetflicks.com[.] And
                   made it seem like Jetflicks provided older aircraft with a
                   software/hardware solution that integrated with older aircraft flight
                   services systems… and allowed passengers to access them via their
                   personal devices using their web browser[.] [B]ut… Here’s the
                   funny thing… I think this might be a viable product… and I wanted
                   to run it by you[.]127

       J.          Operation of the Conspiracy in Late 2016 and 2017

       We will establish that the conspiracy’s membership and roles changed again in late 2016.

SA Chase will testify that, by mid-December 2016, Dallmann brought into the conspiracy a new

programmer, Villarino. And, as with his other co-conspirators, Dallmann expressed concern to

Villarino about people “steal[ing] our content, especially Darryl [Polo]” and asked Villarino to




       125
             Id.
       126
             Id.
       127
             GX 164 (Apr. 21, 2017 Texts) at 1-2 (emphasis added).



                                                    43
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“change and enhance the security” of the site.128 For example, in May 2017, Dallmann discussed

with Villarino the need for a “license server” to secure the shows that Jetflicks was offering.129

Dallmann remarked, during this conversation, that Microsoft’s license server PlayReady was not

“an option” because “let’s just say… the requirements are not aligned with [Jetflicks’] business

model…         ”130

       In addition, SA Chase is expected to testify that Jaurequi, who previously had been

helping answer customer emails, began taking a greater role in the conspiracy. Jaurequi

described himself in January 2017 as Jetflicks’ “direct[or] of programming/ operations and

service.” 131 A few months later, Jaurequi stated that he was in charge of “programming, billing,

and general [sic] everything.”132 SA Chase will explain that this was not puffery. A review of

Jaurequi’s cellphone reveals that he had bookmarked the Jetflicks servers on which SickRage

and SABnzb were running.133

       Unchanged in 2017, however, were the efforts to misdirect outsiders on the true nature of

Jetflicks. SA Chase will testify about GX 162, which was an email Dallmann and Jaurequi sent

to BMW in March 2017 in an effort to stave off repossession of their BMW 650i. Dallmann

provided, among other things, a screenshot from Dallmann’s PayPal account that indicated the


       128
             GX 160 (Feb. 18, 2017 Google Chat) at 1.
       129
             GX 167 (May 5, 2017 Google Chat) at 1.
       130
          Id. at 1-2. SA Chase is expected to testify that PlayReady is a digital rights
 management technology developed by Microsoft and is intended to prevent the unauthorized
 copying of media files.
       131
             GX 156 (Jan. 24, 2017 Texts) at 1.
       132
             GX 166 (Apr. 28, 2017 Texts) at 1.
       133
             GX 176 (Web Bookmarks from Jaurequi’s Apple iPhone) at 1-2.



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account had over $6,500 in funds but “account access [was] limited.” Dallmann claimed

PayPal’s hold “was placed on 10-24-16 to cover any disputed charges made by our

customers . . . because the payment processor is the one liable for all monies exchanged.” SA

Chase, however, will testify that, as the above emails and text messages show, this was a lie.

        K.      The FBI’s Investigation in 2016 and 2017

        In 2016, the FBI launched an undercover operation with respect to Jetflicks. SA Chase is

 expected to testify that, using an undercover account, he used a computer located in this District

 to obtain a paid subscription to Jetflicks and to access and explore the site.134 SA Chase also

 streamed and downloaded numerous television shows.135 SA Chase is further expected to testify

 that he observed numerous television shows available on Jetflicks.

        SA Chase used an application to screen capture his undercover activity on Jetflicks. As a

 result, he is expected to testify about the following exhibits:

               GX 502, 503, 504, and 505, which are undercover recordings of
                Jetflicks.

               GX 503A, which is an undercover recording of Jetflicks from April
                2017, that depicts the streaming of a Game of Thrones episode.

               GX 505A, which is an undercover recording of Jetflicks from April
                2017, that depicts the streaming of an NCIS: Los Angeles episode.


        134
           GX 501 (screenshot of Jetflicks.mobi landing page); GX 507 (screenshot of television
shows available for viewing on Jetflicks, including 2 Broke Girls); GX 508 (screenshot of
television shows available for viewing on Jetflicks, including Game of Thrones); GX 512
(screenshot of television shows available for viewing on Jetflicks, including Ray Donovan).
        135
         GX 509 (undercover recording of 12 Monkeys episodes “Blood Washed Away” and
“Memory of Tomorrow” being streamed in this District); GX 510A (copy of 12 Monkeys episode
“Blood Washed Away” downloaded into this District); GX 510B (copy of 12 Monkeys episode
“Memory of Tomorrow” downloaded into this District”); GX 511 (undercover recording of The
OA episode “Paradise” being streamed into this District); GX 511A (copy of The OA
episode“Paradise” downloaded into this District).



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              GX 505B, which is an undercover recording of Jetflicks from April
               2017, that depicts the availability of Ray Donovan.

              GX 513, which is an undercover recording of Jetflicks from April
               2017, that depicts the landing page for Jetflicks.mobi and the process
               for logging into the site.

              GX 514, which is an undercover recording of Jetflicks from April
               2017, that depicts the availability of 18 seasons of Law & Order:
               Special Victims Unit and shows the streaming of an episode in which
               a watermark for NBC 4 New York is visible.

 And, through the testimony of van Voorn, we expect to prove that the retail value of each

 television episode that Dallmann and his co-conspirators downloaded during the course of the

 conspiracy could not have been less than $2.00 and was in fact significantly more.

        As stated previously, we will prove that, in November 2017, the FBI executed search

 warrants in Las Vegas at two homes owned by Dallmann. We may introduce through SA Cox

 the photographs taken by the FBI and the sketches made during those searches.136 And, we will

 highlight SA Brown’s interview of Jaurequi, who, like Dallmann, initially claimed Jetflicks was

 an aviation-services business. SA Brown will testify that Jaurequi subsequently admitted that

 Jetflicks was violating the law. Jaurequi stated that the conspiracy utilized SickRage to

 download content (which he likened to Napster), and conceded that Jetflicks had started out

 innocent but greed had come into play.

III.    Admissibility of Certain Exhibits

        As this Court knows, the admissibility of evidence requires the application of several

evidentiary rules. The proponent of evidence consequently must clear “a series of hurdles.”


        136
          See GX 201A; 201B; 201F; 201H; 201J; 201L; 201N; 201O; 201R; 201T; 201V;
201W; 201X; 201Y; 201Z; GX 201AA; GX 202; GX 203A; 203C; 203E; 203G to 203K; 203M
to 203P; 203R to 203U; 203W; and GX 204.


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Lorraine v. Markel Am. Ins. Co., 241 F.R.D. 534, 538 (D. Md. 2007). For instance, the proffered

evidence must be relevant pursuant to Rule 401 of the Federal Rules of Evidence and must be

self-authenticating or otherwise authentic. See Fed. R. Evid. 901 et seq. and 902 et seq. In

addition, if offered for its substantive truth, the proponent of the evidence must show the item

does not contain hearsay or falls within an exclusion from or exception to the hearsay rule. See

Fed. R. Evid. 801 et seq. We endeavor in Part III, accordingly, to detail the admissibility of

discrete categories of exhibits.137

       A.      Attribution of Electronic Communications to Particular Defendants

       We will establish that electronic communications were sent to or from the defendants

proceeding to trial in several ways. This section, accordingly, provides an overview of how we

will do so.

       First, the evidence shows that Dallmann, Jaurequi, and Courson sent and received the

text messages found within the Apple iPhones for which Dallmann and Jaurequi provided

passcodes to the FBI (designated by the FBI as 1B65 and 1B87). This is evident in several ways,

including based on the following: GX 070 (device information for 1B65 showing the Apple ID

for the device was kristoph@jetflicks.com); GX 188 (a text from Dallmann to Jaurequi in which

he refers to himself as “Kris” and includes the very phone number that he told SSA Lynch was

his); GX 189 (a selfie-style photograph of Dallmann from 1B65); GX 190 (selfie-style

photographs of Jaurequi from 1B87); GX 920 (a selfie-style photograph of Dallmann and Garcia

from 1B65); GX 914 (device information for 1B87 showing the Apple ID for the device was




       137
          To streamline our discussion of the admissibility of exhibits, we have grouped exhibits
within Part III based on their primary relevance. Some exhibits, as indicated by Part II, have
multiple purposes, and we reserve the right to admit and use such exhibits for more than one
purpose.


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jaredjedwards@gmail.com); GX 916 (contacts found within 1B65 for Courson, Garcia, and

Jaurequi); GX 917 (contacts found within 1B87 for Courson and Dallmann).138 Moreover, SSA

Lynch and SA Alexis Brown interviewed Dallmann, Jaurequi, and Courson, who each identified

their telephone numbers and those telephone numbers match the telephone numbers associated

with the relevant text messages that we plan to introduce at trial.

       Second, the evidence shows that Garcia sent or received the messages found within two

files recovered from an iCloud Drive that had been backed up to a computer tower seized from

Dallmann’s house. The proof of this fact includes:139

                Text messages that show Dallmann and Garcia had a close, personal
                 relationship, such as those in GX 004D.140



       138
           For purposes of authenticating these exhibits, we will elicit testimony from SSA
Lynch, Forensic Examiner John Kern, and Forensic Examiner Dan Ogden. We expect the sum
and substance of this testimony will be that the FBI found 1B65 and 1B87 in Dallmann’s
residence during the execution of the November 2017 search warrants, Dallmann provided
passwords for 1B65 and 1B87, Forensic Examiner Kern extracted data from 1B65 and 1B87, and
Forensic Examiner Ogden later processed the extracted data and identified the 1B65-related
exhibits discussed herein. At trial, we will mark but not seek to admit GX 207.
       139
            We expect to call SA Curtis Cox and Forensic Examiner Peterson to establish the
authenticity of the exhibits bulleted below. Specifically, SA Cox will testify that he seized an
Apple tower, which the FBI designated as 1B76, and Forensic Examiner Peterson will testify that
she later forensically examined 1B76 and located, among other things, an Apple iCloud archive
with spreadsheets containing the text messages that comprise the bulleted exhibits.

       The metadata associated with these messages is depicted within GX 004F, and also will
be authenticated by Forensic Examiner Peterson. The metadata does not constitute hearsay
because it is computer-generated. United States v. Channon, 881 F.3d 806, 811 (10th Cir. 2018)
(spreadsheets reflecting point-of-sale data were machine-generated records falling outside of the
hearsay rule); United States v. Washington, 498 F.3d 225, 230-31 (4th Cir. 2007) (printed result
of computer-based test was not the statement of a person and thus would not be excluded as
hearsay); United States v. Hamilton, 413 F.3d 1138, 1142-43 (10th Cir. 2005) (computer-
generated header information was not hearsay as “there was neither a ‘statement’ nor a
‘declarant’ involved here within the meaning of Rule 801”).
       140
             The relevant communications are set forth above at Footnote 44.



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                GX 004A, which is a short code message sent on March 23, 2013,
                 that states, in relevant part, “Great news, Felipe Garcia! Your federal
                 return was accepted by the IRS.”

                GX 004B, which are texts to and from a telephone number ending
                 in 0629. This telephone number is associated with a contact titled
                 “Kris Dallmann,” and is the same telephone number Dallmann told
                 SA Lynch was his telephone number. And, one of the messages sent
                 to Dallmann states: “Send it to Felipe82garcia@ yahoo.”

                GX 004C, which are a series of texts in which the sender labeled as
                 “me” states that his email address is “Felipe82garcia@icloud.com.”

                GX 004D, which are texts to and from the telephone number ending
                 in 0629 that Dallmann told SSA Lynch was his. The upshot of these
                 communications is that Dallmann and Garcia discuss making a hotel
                 reservation and Dallmann states that his email is kris@jetflicks.com.

                GX 004E, which are a series of texts to and from Dallmann’s
                 telephone number. One of the messages Dallmann sent states:
                 “Relax Garcia!!”

                GX 062D, which are Google searches conducted by
                 kristopher.dallmann@gmail.com in June 2015. The search terms
                 include “felipe garcia, nevada 1982” and “felipe garcia, nevada 33,”
                 which can be used to infer felipe82garcia@icloud.com contains not
                 only Garcia’s name but also his birth year.

                GX 019, which are a series of intimate texts between Courson and
                 Garcia in which Courson writes, “Good morning Filiepe.”

Garcia frequently communicated with Courson, which is evident by, among other things, texts

like those within GX 025 that were exchanged with a telephone number ending in 3656, which is

the telephone number that Courson told SA Brown was his telephone number.141 We further will

establish that Garcia controlled fgarcia@jetflicks.com through GX 047 and 050 and eliciting

testimony from Forensic Examiner Peterson and SA Chase that the display name for the account




       141
             GX 025 can be authenticated in the manner set forth above in Footnote 139.



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is Felipe Garcia, the messages concern Jetflicks, there was only one Felipe Garcia who worked at

Jetflicks, and Courson refers to Garcia by his first name in GX 051.142

       Third, the evidence proves that Dallmann used 1B65 to text with Vaillant. SA Chase

interviewed Vaillant, who identified as his telephone number the one Dallmann texted with and

denoted within his iPhone as belonging to Vaillant. In addition, GX 068 are texts between

Dallmann and Vaillant in which Dallmann asks Vaillant to send his resume to

kristoph@jetflicks.com,143 GX 081 are texts between Dallmann and Vaillant in which Vaillant

states that he has created yvaillant@jetflicks.com as an email and made “copxerkiller” his

password, GX 069 is an email from copxer@gmail.com that was provided by Google,144 and GX

108 are texts between Dallmann and Vaillant in which Vaillant provides his full name and

mailing address.

       Fourth, the evidence shows that Dallmann sent and received emails from

kristopher.dallmann@icloud.com, kristopher.dallmann@gmail.com, kris@jetflicks.com, and

kristoph@jetflicks.com. For example, Dallmann admitted to SSA Lynch that

kristopher.dallmann@icloud.com is his email address. We also will introduce subscriber records

obtained from Google (GX 702), which show kristopher.dallmann@gmail.com was registered to

“Kristopher Dallmann” and the recovery email address was kristopher.dallmann@icloud.com.

Likewise, GX 704, which was provided by Google in connection with its production for


       142
           We expect to call SA Cox and Forensic Examiner Peterson to establish the
authenticity of GX 047. Specifically, we anticipate that the sum and substance of their testimony
is that SA Cox seized 1B76, and Forensic Examiner Peterson later forensically examined 1B76
and located a number of emails, including GX 047.
       143
             We expect to authenticate GX 068 in the manner set forth above in Footnote 138.
       144
          The body of the email is signed “Yoany Vaillant Fajardo” and attached to the email is
a resume for Vaillant that lists the aforementioned telephone number that Vaillant told SA Chase
was his.

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kris@jetflicks.com, shows that kristoph@jetflicks.com was registered to “Kristopher Dallmann,”

the recovery email for the account was kristopher.dallmann@gmail.com, and an alternate email

for the account was kris@jetflicks.com.145

       Fifth, the evidence proves that doug@jetflicks.com belonged to Courson. Consider, for

instance, GX 058.146 The email is from doug@jetflicks.com and is signed by “Doug.” We will

elicit testimony that the display name for the email was “Douglas Courson,” and that there was

nobody else named Douglas Courson who worked at Jetflicks. Similarly, in GX 127, Courson

exchanges texts with Jaurequi in which Courson states his email address is doug@jetflicks.com.

       Sixth, we will establish that prjreply@gepard.net is Huber’s email address by eliciting

testimony from SA Chase that Huber identified that email address as his during an interview.

We also will point out that GX 058 is addressed to “Peter.” Moreover, we will elicit testimony

from Forensic Examiner Peterson and SA Chase that Huber also controlled

phuber@jetflicks.com based on the display name (i.e., “Peter Huber”) and the fact Huber was the

only “Peter” who worked at Jetflicks.

       B.        Exhibits Relating to Roles and Membership in the Conspiracy

       To prove the conspiracy count, we must show that a conspiracy existed, and may do so

through direct or circumstantial evidence. United States v. Capers, 61 F.3d 1100, 1107 (4th Cir.

1995). A trier of fact is given substantial latitude in its effort to determine whether a person is

guilty of participation in a conspiracy. United States v. Heater, 63 F.3d 311, 323 (4th Cir. 1995).

Moreover, the trier of fact may infer the agreement necessary for a conspiracy conviction


       145
           At trial, we will mark GX 701, which is the Google return for
kristopher.dallmann@gmail.com, and 703, which is the Google return for kris@jetflicks.com,
but not seek to admit either.
       146
             We expect to authenticate GX 025 in the manner set forth above in Footnote 142.



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through the totality of circumstances shown by the government. United States v. Bell, 954 F.2d

232, 236 (4th Cir. 1992).

       Below we summarize the exhibits that we are seeking to admit that will establish roles

and membership in the charged conspiracy. This summary addresses the relevance and

authenticity of the exhibits, as well as hearsay issues.

                 1.     Text Messages Obtained from an Apple Tower (1B76)

       We seek to admit GX 004D, 005, 006, 007, 012, 013, 015, 019, 022, 024, 025, 028, 029,

031, 034, 035, 036, 037, 038, 040, 041, 042, 044, and 911, which are text messages dated

between May 27, 2013, and September 14, 2014, that were obtained from an Apple Tower with

RAID seized from Dallmann’s residence. (This is the device that the FBI designated as

1B76.147) These exhibits are relevant because they demonstrate the roles played by different

defendants during the conspiracy, demonstrate certain defendants’ membership in the

conspiracy, and/or demonstrate intimate relationships between co-conspirators.148 The exhibits

are particularly described as follows:

 Exhibit            Date                                  Description149
 004D          July 18, 2013    Garcia states to Dallmann “don’t get frustrated with me baby,”
                                indicating that Garcia and Dallmann have an intimate
                                relationship.




       147
             At trial, we will mark GX 205 but not seek to admit it.
       148
           The exhibits discussed herein may be relevant for other reasons and may illustrate
other roles than the ones discussed below, but in the interest of brevity, we have not identified all
the reasons certain exhibits are relevant.
       149
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 005       Aug. 11, 2013   Dallmann states Garcia does not have another source of income
                           other than Jetflicks, demonstrating, among other things,
                           Dallmann and Garcia’s membership in the conspiracy. This
                           exhibit also indicates that Dallmann and Garcia are involved in an
                           intimate relationship.

 006       Aug. 19, 2013   Garcia asks another person to add a show that had aired that day,
                           demonstrating Garcia’s role managing content requests.

 007       Aug. 20, 2013   Garcia is informed that all shows on Garcia’s list have been
                           uploaded, demonstrating Garcia’s role managing content
                           requests.

 012       Oct. 16, 2013   Dallmann informs Garcia about a Facebook post stating that
                           Jetflicks is “THE best streaming TV provider in the world,”
                           demonstrating Dallmann and Garcia’s membership in the
                           conspiracy.

 013       Nov. 18, 2013   Dallmann informs Garcia about a huge Sickbeard update causing
                           shows not to launch properly, which is partly Huber and
                           Courson’s fault, demonstrating Dallmann’s role managing co-
                           conspirators and Courson and Huber’s roles obtaining content.

 015       Jan. 20, 2014   Courson informs Garcia that he will see if Huber can work
                           without Courson for a while so Courson can meet Garcia,
                           demonstrating, among other things, collaborative work between
                           Courson and Huber. This exhibit also indicates that Courson and
                           Garcia are involved in a personal relationship.

 019       Apr. 26, 2014   Courson and Garcia discuss having sex and Garcia suggests
                           Courson could have sex with Dallmann and Garcia,
                           demonstrating that Courson, Garcia, and Dallmann have an
                           intimate, personal relationship.

 022       May 29, 2014    Garcia asks whether Courson has obtained shows requested by
                           subscribers and Courson provides a status update, demonstrating
                           Garcia’s role of managing content requests and Courson’s role
                           obtaining content.

 024       June 10, 2014   Garcia asks whether Courson has obtained certain shows and
                           Courson provides a status update, demonstrating Garcia’s role of
                           managing content requests and Courson’s role obtaining content.




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 025       June 18, 2014   Garcia asks whether Courson has obtained certain shows,
                           Courson provides a status update, and Courson indicates he needs
                           instruction from Dallmann, demonstrating Garcia’s role of
                           managing content requests, Courson’s role obtaining content, and
                           Dallmann’s role instructing co-conspirators.

 028       June 21, 2014   Garcia requests that Courson add a show then indicates that
                           Dallmann is doing it, demonstrating Garcia’s role managing
                           content requests and Dallmann and Courson’s roles obtaining
                           content.

 029       June 23, 2014   Garcia requests that Courson address issues with content and
                           Courson indicates that he used to perform Garcia’s job,
                           demonstrating Garcia’s role managing content requests and
                           Courson’s role obtaining content and former role managing
                           content requests.

 031       July 3, 2014    Dallmann tells Garcia that Jetflicks pays for everything in their
                           lives, indicating, among other things, Dallmann and Garcia’s
                           membership in the conspiracy. This exhibit also demonstrates that
                           Dallmann and Garcia are involved in a personal relationship.

 034       July 23, 2014   Garcia and Courson discuss whether they have the most recent
                           episode of a television show, demonstrating Garcia’s role
                           managing content requests and Courson’s role obtaining content.

 035       Aug. 7, 2014    Garcia asks whether Courson has obtained certain content and
                           Courson provides a status update, demonstrating Garcia’s role of
                           managing content requests and Courson’s role obtaining content.

 036       Aug. 14, 2014   Courson tells Garcia that he has tried to fix a problem with the
                           server but has requested that Huber assist him, demonstrating
                           Courson and Huber’s roles in providing technical support
                           regarding the Jetflicks servers.

 037       Aug. 14, 2014   Courson informs Garcia that he has requested episodes of certain
                           shows, but needs Huber’s help regarding a problem with loading
                           a show, indicating Courson and Huber’s roles in obtaining
                           content.

 038       Aug. 26, 2014   Garcia indicates he left information on Courson’s desk,
                           demonstrating collaborative work between Garcia and Courson.
                           This exhibit also demonstrates that Courson and Garcia are
                           involved in a personal relationship.




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 040           Sept. 2, 2014    Garcia requests that Courson add a show and indicates he will
                                provide a list of show errors and Courson indicates they already
                                have the show, demonstrating Garcia’s role managing content
                                requests and Courson’s role obtaining content.

 041           Sept. 8, 2014    Courson informs Garcia that he is taking Huber off a project to
                                work on securing the Jetflicks files, indicating Courson’s role
                                managing the activities of co-conspirators and Huber’s role
                                developing security protocols.

 042           Sept. 10, 2014 Garcia advises Courson of a customer complaint, and Garcia
                              discusses how their lives revolve around Jetflicks, demonstrating
                              Garcia’s role managing customer requests and Courson and
                              Garcia’s membership in the conspiracy.

 044           Sept. 14, 2014 Garcia and Courson discuss a show episode that will not upload
                              properly and Courson indicates he will seek Huber’s help,
                              demonstrating Garcia’s role managing content requests and
                              Courson and Huber’s roles obtaining content.

 911           May 27, 2013     Garcia informs another person that a show episode is not playing
                                properly, indicating Garcia’s role advising of content errors.


       The Government’s evidence establishes the authenticity of these exhibits pursuant to

Rules 901(b)(1) and (b)(4). During the execution of the search warrant at Dallmann’s principal

residence on November 16, 2017, SA Cox seized an Apple Tower with RAID that had a serial

number ending in 120G. The FBI designated this device as 1B76, and it was imaged by the

CCIPS Cybercrime Lab. Forensic Examiner Peterson examined the image and located an Apple

iCloud archive from it under the username “jetflicks.” The archive would have been generated

as a result of a user backing up an Apple iPhone to the Apple Tower. The archive contained all

the text messages that are listed in the two spreadsheets that constitute GX 004.150 One




       150
             We will mark, but not introduce, GX 004 at trial.



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spreadsheet includes iMessages and the other includes SMS messages. All the text message

exhibits that are listed in the table above are excerpts of GX 004.

       As described above in Part III.A, our evidence demonstrates that the above exhibits are

messages sent to or from Garcia. The distinctive characteristics of the messages are more than

sufficient to authenticate them. Rule 901(b)(4) provides that evidence may be authenticated

based entirely on its “appearance, contents, substance, internal patterns, or other distinctive

characteristics of the item, taken together with all the circumstances.” The Fourth Circuit,

moreover, has approved repeatedly the admission of records under Rule 901(b)(4). For example,

in United States v. Vidacak, 553 F.3d 344 (4th Cir. 2009), the Fourth Circuit approved the

admission of military personnel records seized overseas based, in part, on the records’ internal

patterns and distinctive characteristics, id. at 350-51. Likewise, in United States v. Reed, 780

F.3d 260 (4th Cir. 2015), the Fourth Circuit held that the “the government proffered evidence

that the jury could use to attribute” a particular phone to a defendant, despite offering “no

testimony about how this phone was seized,” because there was evidence of “photos of [the

defendant] on the phone and text messages attributing the number to [the defendant], including

several that used . . . his first name.” Id. at 265-267; see also United States v. Fluker, 698 F.3d

988, 998-1000 (7th Cir. 2012) (finding messages properly authenticated in light of the email

addresses and content of the communications); United States v. Siddiqui, 235 F.3d 1318, 1322-

23 (11th Cir. 2000) (similar).

       Further, since the above exhibits are messages sent to or from Garcia, they constitute

party opponent and co-conspirator statements and are excluded from the hearsay rule. Fed. R.

Evid. 801(d)(2)(A) & (E). To admit evidence as a co-conspirator’s statement, a court must

conclude “(1) that there was a conspiracy involving the declarant and the party against whom




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admission of the evidence is sought and (2) that the statements at issue were made during the

course of and in furtherance of that conspiracy.” United States v. Blevins, 960 F.2d 1252, 1255

(4th Cir. 1992) (citing Bourjaily v. United States, 483 U.S. 171 (1987)). The district court must

find “‘the existence of and the [defendant's] participation in the conspiracy’ by a fair

preponderance of independent evidence.” United States v. Chindawongse, 771 F.2d 840, 844

(4th Cir. 1985) (quoting United States v. Scott, 730 F.2d 143, 148 (4th Cir. 1984)). Although

independent evidence is required, it may be supplemented by the hearsay statements. United

States v. Osiomwan, No. WDQ-12-0265, 2013 WL 2458459, at *8 (D. Md. May 22,

2013), aff’d, 593 F. App’x 194 (4th Cir. 2014). Statements or admissions by the defendant

against whom such out of court declarations are offered may constitute the additional

independent evidence required. United States v. Kelly, No. 98-13-1, 1998 WL 221040, at *1

(E.D. Pa. May 6, 1998); see also United States v. Sutton, 732 F.2d 1483, 1489 (10th Cir. 1984)

(concluding that defendant’s own statements on tape that he wanted a co-conspirator to prevent

individuals from going to the FBI, along with the co-conspirator’s statements agreeing to comply

with the request, constituted substantial independent evidence of conspiracy).

       Here, our evidence demonstrates that there was a conspiracy that began in approximately

2007. As noted above, the statements of the individual defendants, in conjunction with their co-

conspirators’ statements, provides substantial independent evidence that there was a conspiracy

and that these statements were made during the course of, and in furtherance of, this conspiracy.

Furthermore, we will introduce other independent evidence relating to the conspiracy from this

time frame such as GX 008 and 010 which are 2013 Jetflicks show lists and GX 018 and 030

which are 2014 printouts of Sick Beard downloads that demonstrate the existence of the

conspiracy at this time. These documents can be analogized to drug inventory lists found in a




                                                 57
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stash house that provide evidence of a drug conspiracy. See United States v. Vieira, 280 F.

App’x 26, 28 (2nd Cir. 2008) (summary order) (concluding that it was not plain error to admit

co-conspirator statements as non-hearsay when, among other things, the government presented

independent evidence of defendant’s involvement in the conspiracy including a drug ledger that

indicated an ongoing drug-related relationship between defendant and a co-conspirator). Here,

these lists show the inventory of pirated content obtained by the defendants during this time

frame.

         Finally, the text messages listed in the table above are admissible pursuant to Rule 403.

The evidence that demonstrates membership in the conspiracy and the roles that the defendants

played in the conspiracy is more probative than prejudicial as it explains how each defendant fit

into the operation of the conspiracy. See United States v. McMillan, 14 F.3d 948, 955 (4th Cir.

1994) (holding that evidence “elicited as part of the groundwork that the government needed to

lay to explain to the jury how [] individuals fit into the operation of [the] conspiracy . . . . helped

‘explain to the jury how the illegal relationship between participants in the crime developed’”

and thus the trial court did not abuse its discretion in allowing the evidence under Rule 403).

Furthermore, the evidence regarding the intimate relationships between certain co-conspirators is

also more probative than prejudicial because it speaks to a central issue in the case: whether the

co-conspirators were knowing participants in the scheme. See United States v.

Brockenborrough, 575 F.3d 726, 736-37 (D.C. Cir. 2009) (concluding evidence about intimate

relationship among co-conspirators was more probative than prejudicial when, among other

things, it addressed whether the defendant was a knowing participant in the fraud scheme or an

innocent real estate investor); see also United States v. Mateos, 623 F.3d 1350, 1365 (11th Cir.




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2010 (finding an intimate relationship among conspirators may be probative of knowing,

voluntary participation in a conspiracy).151

       Finally, the evidence that demonstrates who was sending and receiving the text messages

is clearly more probative than prejudicial. United States v. Hassan, 742 F.3d 104, 132 (4th Cir.

2014) (“relevant evidence should only be excluded under Rule 403 when there is

a genuine risk that the emotions of a jury will be excited to irrational behavior, and this risk is

disproportionate to the probative value of the offered evidence”) (internal quotations and citation

omitted). 152 For the foregoing reasons, we respectfully request that the Court admit GX 004D,

005, 006, 007, 012, 013, 015, 019, 022, 024, 025, 028, 029, 031, 034, 035, 036, 037, 038, 040,

041, 042, 044, and 911.

               2.      Emails Obtained from the Apple Tower with RAID

       We also seek to admit GX 014, 016, 020, 045, 046, 047, 048, 049, 050, 051, 057, 058,

059, 107, 115, 132, 145, and 1304 which are emails dated between January 7, 2014, and

November 21, 2016, that were obtained from 1B76. These exhibits are relevant because they

demonstrate the roles played by different defendants during the conspiracy.153 The exhibits are

particularly described as follows:




       151
          As noted above, we have offered to stipulate to the fact that Dallmann, Courson, and
Garcia had intimate relationships with each other; however, at present, none of these defendants
has agreed to such a stipulation.
       152
          As noted above, we have offered to stipulate to the fact that Dallmann, Courson, and
Garcia had intimate relationships with each other; however, at present, none of these defendants
has agreed to such a stipulation.
       153
           The exhibits discussed herein may be relevant for other reasons and may illustrate
other roles than the ones discussed below, but in the interest of brevity, we have not identified all
the reasons certain exhibits are relevant.



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 Exhibit      Date                                     Description154
 014     Jan. 7, 2014        Courson informs Dallmann that they have an episode of a show that
                             has not aired yet, demonstrating Courson’s role obtaining content
                             and Dallmann’s role managing co-conspirators.

 016         Jan. 22, 2014   Courson informs Dallmann of the status of problems related to
                             content and advises that Huber will have to determine why an
                             episode is missing, demonstrating Courson and Huber’s roles
                             obtaining content and Dallmann’s role managing co-conspirators.

 020         May 8, 2014     Courson informs Dallmann of the status of obtaining certain
                             episodes, demonstrating Courson’s role of obtaining content and
                             Dallmann’s role managing co-conspirators.

 045         Sept. 18, 2014 Courson informs Dallmann and Garcia about new shows added to
                            the system, demonstrating Courson’s role obtaining content.

 047         Dec. 4, 2014    Garcia asks about the status of updates for certain shows and
                             Courson responds, demonstrating Garcia’s role of managing
                             content and Courson’s role obtaining content.

 046         Oct. 30, 2014   Garcia sends Courson content requests and Courson responds with
                             updates, demonstrating Garcia’s role of managing content and
                             customer requests and Courson’s role obtaining content.

 048         Jan. 7, 2015    Dallmann and Courson discuss strategy for managing server loads
                             and Courson states he has discussed this with Huber, demonstrating
                             Dallmann, Courson, and Huber’s roles developing strategy
                             regarding how to store shows on servers.

 049         Jan. 23, 2015   Garcia sends Courson a request regarding a show and Courson
                             responds, demonstrating Garcia’s role of managing content
                             requests and Courson’s role obtaining content.

 050         Feb. 9, 2015    Courson informs Dallmann of the status of obtaining certain
                             episodes, demonstrating Courson’s role obtaining content.

 051         Feb. 12, 2015   Courson informs Garcia and Dallmann about the status of certain
                             show requests, demonstrating Courson’s role obtaining content.




       154
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 057       July 5, 2015     Courson informs Dallmann of a problem regarding obtaining
                            content, demonstrating Courson’s role obtaining content and
                            Dallmann’s role managing co-conspirators.

 058       Sept. 4, 2015    Courson informs Huber and Dallmann that he is having trouble
                            uploading shows that he believes is due to a change Huber made to
                            the system, demonstrating Courson and Huber’s roles obtaining
                            content and Dallmann’s role managing co-conspirators.

 059       Sept. 17, 2015 Courson informs Huber and Dallmann about a problem relating to a
                          particular show episode and asks Huber to fix it, demonstrating
                          Courson and Huber’s role obtaining content and Dallmann’s role
                          managing co-conspirators.

 107       Sept. 5, 2016    Dallmann emails Vaillant four Jetflicks application programming
                            interface (API) keys for SickRage and one API key for SABnzbd,
                            which are Jetflicks’ unique log-in credentials for SickRage and
                            SABnzbd, demonstrating Dallmann and Vaillant’s role acquiring
                            content for Jetflicks.

 115       Sept. 29, 2016 Dallmann emails Vaillant Jetflicks’ API credentials for PayPal,
                          giving him full access to Jetflicks’ PayPal account, demonstrating
                          Dallmann and Vaillant’s role regarding customer billing.

 132       Nov. 12, 2016    Dallmann emails Jaurequi and Vaillant a new design for the
                            Jetflicks mobi site, demonstrating Dallmann’s role designing
                            components of the Jetflicks website.

 145       Nov. 21, 2016    Dallmann emails Vaillant a list of tasks to complete including
                            making sure that jetflicks.com is working, fixing an overbilling
                            problem, repairing issues with seasons and episodes, and
                            developing video file security, and Vaillant responds,
                            demonstrating Dallmann’s role managing co-conspirators and
                            Vaillant’s role writing computer scripts and fixing technical
                            problems.

 1304      Jan. 17, 2015    Garcia asks about the status of updates for certain shows and
                            Courson responds, demonstrating Garcia’s role of managing
                            content and Courson’s role obtaining content.


        Like the text messages from 1B76 discussed above, we can establish the authenticity of

these exhibits pursuant to FRE 901(b)(1) and (b)(4). Again, SA Cox seized 1B76 during the

execution of the search warrant Dallmann’s principal residence on November 16, 2017. Forensic


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Examiner Peterson was provided this device designated as 1B76 for digital analysis. She

examined this device and extracted the emails discussed above from the device. As previously

explained, our evidence establishes that the emails were sent to or from the defendants by

highlighting their distinctive characteristics. For instance, some of the emails include a signature

with a co-conspirator’s name or the co-conspirator’s name in the email alias.155 Likewise some

of the defendants are addressed by name in the emails.156

       These emails constitute party opponent and co-conspirator statements and are excluded

from the hearsay rule. Fed. R. Evid. 801(d)(2)(A) & (E). As noted above, the statements of the

individual defendants, in conjunction with their co-conspirators’ statements provides substantial

independent evidence that there was a conspiracy and that these statements were made during the

course of, and in furtherance of, the conspiracy. Furthermore, the Government will introduce

other independent evidence relating to the conspiracy from during this time frame such as GX

018, 030, 056, 060, 061, 078, 102, and 103, which are printouts relating to the acquisition and/or

distribution of television shows from in and around the time of the aforementioned emails.

Moreover, again, these emails, which relate to the co-conspirators roles in the conspiracy, are

more probative than prejudicial and are thus admissible pursuant to Rule 403. For the foregoing

reasons, we respectfully request that the Court admit GX 014, 016, 020, 045, 046, 047, 048, 049,

050, 051, 057, 058, 059, 107, 115, 132, 145, and 1304.

                 3.     Texts Messages Obtained from Dallmann’s iPhone

       We seek to admit GX 065, 066, 067, 068, 077, 079, 081, 082, 083, 084, 086, 088, 090,

092, 093, 097, 098, 100, 112, 114, 117, 118, 122, 123, 124, 125, 139, 141, 144, 151, 1006, and



       155
             See, e.g., GX 014 – Courson Email to Dallmann (Jan. 7, 2014).
       156
             See, e.g., GX 058 – Courson Email to Huber and Dallmann (Sept. 4, 2015).


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1305, which are text messages dated between July 3, 2016 and July 11, 2017 that were extracted

from an iPhone belonging to Dallmann that the FBI designated as 1B65. These exhibits are

relevant because they demonstrate the roles played by different defendants during the

conspiracy, demonstrate certain defendants’ membership in the conspiracy, demonstrate intimate

relationships between co-conspirators, and/or demonstrate who sent and received these

messages.157 The exhibits are particularly described as follows:

 Exhibit      Date                                      Description158
 065     July 18, 2016        Dallmann informs Jaurequi that Courson is reviewing lists of
                              content in order to give Courson some work to do, demonstrating
                              Dallmann’s role managing co-conspirators and Courson’s role
                              managing content.

 066         July 28, 2016    Dallmann explains the process for acquiring shows, demonstrating
                              Dallmann’s role of managing co-conspirators and informing them
                              how Jetflicks operated.

 067         July 28, 2016    Dallmann explains what happens after a show is downloaded,
                              demonstrating Dallmann’s role of managing co-conspirators and
                              informing them how Jetflicks operated.

 068         July 29, 2016    Vaillant informs Dallmann that he has sent Dallmann his resume,
                              demonstrating Dallmann’s role of managing and hiring co-
                              conspirators.

 077         Aug. 5, 2016     Dallmann explains that he wants to show Vaillant how Jetflicks
                              works and requests Vaillant’s advice about how to improve the
                              process, demonstrating Dallmann and Vaillant’s roles in obtaining
                              content and developing strategy.




       157
           The exhibits discussed herein may be relevant for other reasons and may illustrate
other roles or relationships than the ones discussed below, but in the interest of brevity, we have
not identified all the reasons certain exhibits are relevant.
       158
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 079     Aug. 7, 2016    Dallmann informs Vaillant about how he wants to divide content
                         between the Jetflicks’ servers and that he wants to secure the
                         content, demonstrating Dallmann’s role in managing content and
                         developing security protocols.

 080     Aug. 8, 2016    Dallmann tells Vaillant he has an idea to improve the site which
                         involves writing a new database and that he wants to improve
                         security, demonstrating Dallmann’s role managing co-conspirators
                         and Vaillant’s role writing computer scripts.

 081     Aug. 9, 2016    Dallmann indicates he is setting up Vaillant’s work computer,
                         demonstrating Dallmann’s role managing co-conspirators.

 082     Aug. 9, 2016    Dallmann states how he wants the company to work and describes
                         the roles of co-conspirators, stating that Courson will check and
                         verify the content and Jaurequi can cover customer support,
                         demonstrating Dallmann’s role managing co-conspirators,
                         Courson’s role obtaining and managing content, and Jaurequi’s
                         role responding to customer requests.

 083     Aug. 9, 2016    Dallmann explains the different formats of shows available on
                         Jetflicks, demonstrating Dallmann’s role of managing co-
                         conspirators and informing them of how Jetflicks operated.

 084     Aug. 9, 2016    Dallmann explains to another individual how to fix improper
                         downloads of television episodes, noting that that “[a]nything with
                         ENCRYPTED before it, usually has an issue...,” demonstrating
                         Dallmann’s role managing and instructing co-conspirators.

 086     Aug. 12, 2016   Dallmann explains to Vaillant a problem with the computer scripts
                         and Vaillant looks at the problem, demonstrating Dallmann’s role
                         of managing co-conspirators and Vaillant’s role writing computer
                         scripts.

 087     Aug. 13, 2016   Dallmann and Jaurequi ask Courson for erotic pictures,
                         demonstrating that Dallmann, Jaurequi, and Courson are involved
                         in an intimate relationship.

 088     Aug. 14, 2016   Dallmann and Vaillant discuss removing Polo’s account but
                         Dallmann states he does not want to remove everything until they
                         are independent from Polo’s NZB server, demonstrating Dallmann
                         and Vaillant’s roles managing access to Jetflicks.




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 090     Aug. 15, 2016    Dallmann and Vaillant discuss setting a password for the
                          SickRage server to prevent Polo from removing content,
                          demonstrating Dallmann and Vaillant’s roles developing security
                          protocols.

 091     Aug. 15, 2016    Dallmann and Vaillant discuss Polo stealing their content,
                          demonstrating membership in the conspiracy.

 092     Aug. 22, 2016    Dallmann tells Vaillant to focus on programming instead of
                          adding shows and indicates that Dallmann can do the show
                          conversations, indicating Dallmann’s roles managing co-
                          conspirators and performing show conversions and Vaillant’s role
                          writing computer scripts.
 093     Aug. 22, 2016    Dallmann asks Vaillant to fix a problem with the computer scripts,
                          indicating Dallmann’s role managing co-conspirators and
                          Vaillant’s role writing computer scripts.

 097     Aug. 23, 2016    Dallmann informs Vaillant about problems with SickRage and
                          asks Vaillant to fix them, indicating Dallmann’s roles obtaining
                          content and managing co-conspirators and Vaillant’s roles
                          obtaining content and writing computer scripts.

 098     Aug. 24, 2016    Dallmann asks Vaillant for help securing the content and tells
                          Vaillant he fixed a problem with SickRage, demonstrating
                          Dallmann’s role managing co-conspirators and Dallmann and
                          Vaillant’s roles developing security protocols.

 099     Aug. 25, 2016    Dallmann and Vaillant discuss figuring out a problem with
                          SickRage, demonstrating their roles fixing technical problems
                          arising with acquiring content.

 100     Aug. 25, 2016    Dallmann and Vaillant discuss fixing a problem with SickRage,
                          demonstrating their roles fixing technical problems arising with
                          acquiring content.

 108     Sept. 11, 2016   Vaillant discusses purchasing a vehicle from Dallmann and
                          Jaurequi and provides his full name and address, indicating that
                          the person that Dallmann is texting is Vaillant.

 111     Sept. 21, 2016   Dallmann tells Courson that he has been working on show
                          updates, demonstrating Dallmann’s role managing content. This
                          exhibit also demonstrates that Dallmann, Courson, and Jaurequi
                          are involved in an intimate relationship.




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 112     Sept. 21, 2016   Vaillant assures Dallmann that he can solve the problem that
                          occurs when SickRage downloads, converts, and uploads a
                          television episode to Jetflicks but it will not launch for a
                          subscriber because there is a special character in the filename, and
                          states, “[Y]ou have the best programmer, lol”, demonstrating
                          Vaillant’s role writing computer scripts and Dallmann’s role
                          managing co-conspirators.

 114     Sept. 21, 2016   Dallmann tells Vaillant that he wants a way to track shows for
                          SickRage, demonstrating Dallmann’s role managing the co-
                          conspirators and Vaillant’s role developing computer scripts.

 117     Oct. 4, 2016     Dallmann and Vaillant discuss adding shows and managing the
                          servers, demonstrating Dallmann and Vaillant’s roles managing
                          the content.

 118     Oct. 4, 2016     Vaillant informs Dallmann he cannot find a certain show on
                          SickRage and Dallmann instructs Vaillant on how to locate it,
                          demonstrating Dallmann and Vaillant’s roles obtaining the
                          content.

 122     Oct. 12, 2016    Dallmann tells Vaillant that SickRage is constantly running and
                          tells Vaillant there is a problem with the show naming process,
                          demonstrating Dallmann’s role managing co-conspirators and
                          Vaillant’s role writing computer scripts to fix technical problems.

 123     Oct. 13, 2016    Dallmann asks Vaillant what he is working on and Vaillant
                          indicates he is fixing a computer script, demonstrating Dallmann’s
                          role managing co-conspirators and Vaillant’s role writing
                          computer scripts.

 124     Oct. 13 to 14,   Dallmann asks Vaillant if SickRage is working and to add The
         2016             Walking Dead back to Jetflicks, which Vaillant does,
                          demonstrating Dallmann’s role managing co-conspirators and
                          Vaillant’s role acquiring content.

 125     Oct. 24, 2016    An individual discusses, among other things, that Dallmann sent
                          him an offer to work at Jetflicks, demonstrating Dallmann’s role
                          managing and hiring co-conspirators.

 139     Nov. 16, 2016    Dallmann asks Vaillant to fix a problem with SickRage and
                          Jetflicks scripts where SickRage does not automatically download
                          another version of a television episode after the episode fails to
                          download, demonstrating Vaillant’s role writing computer scripts
                          and Dallmann’s role managing co-conspirators.



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 141     Nov. 16, 2016   Dallmann tells Vaillant that he is going to go to Wells Fargo the
                         next day to convince them to approve a merchant account for
                         Jetflicks, showing up in professional business attire with a
                         $200,000 car and lying that Jetflicks already has a merchant
                         processor; Dallmann states that he makes $750,000 from Jetflicks
                         and knows “what’s necessary to get past ... systems so we can
                         thrive and run a business...”, demonstrating Dallmann’s role
                         managing and supervising the conspiracy.

 144     Nov. 20, 2016   Dallmann tells Vaillant that before Jetflicks had problems with
                         PayPal, they were making $20,000-$30,000/month and now it is
                         less than $10,000/month; he states, “[Y]ou know the reasons why
                         things went the way they did [a]nd you decided to stick with us
                         through those issues... you can’t throw that in my face at all”,
                         demonstrating Dallmann’s role managing the conspiracy.

 151     Dec. 30, 2016   Dallmann and Villarino discuss setting up domain names for
                         Jetflicks, demonstrating Dallmann’s role managing domain names.

 169     Jul. 11, 2017   Dallmann discusses having sex with Courson while Jaurequi is
                         present and indicates that Jaurequi is his husband, demonstrating
                         an intimate relationship between Dallmann, Jaurequi, and
                         Courson.

 173     Nov. 10, 2017   Dallmann and Courson discuss having sex, indicating an intimate
                         relationship between Dallmann and Courson.

 188     Jul. 17, 2016   Dallmann informs Jaurequi that he has contacted someone about a
                         potential job as a web application developer, demonstrating
                         Dallmann’s role managing and hiring co-conspirators.

 1006    Aug. 14, 2016   Dallmann and Vaillant discuss a video file security system,
                         demonstrating their roles in developing security protocols.

 1009    Oct. 10, 2016   Dallmann asks Vaillant to determine why subscribers are using an
                         old login script developed by Huber, demonstrating Dallmann’s
                         role managing co-conspirators and Vaillant and Huber’s roles
                         writing computer scripts.

 1305    Aug. 9, 2016    Dallmann states that Jaurequi’s main job is to convert shows from
                         DVD that they cannot download, demonstrating Jaurequi’s role in
                         obtaining content.




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       Our evidence establishes the authenticity of these exhibits pursuant to Rules 901(b)(1)

and (b)(4). SA Cox seized an Apple iPhone that the FBI designated as 1B65 during the

execution of the search warrant at Dallmann’s principal residence on November 16, 2017.

Digital Forensic Examiner John Kern extracted data from 1B65 and Digital Forensic Examiner

Dan Ogden received the extracted data, processed it, and identified the text messages set forth

above. Furthermore, as discussed earlier in this brief, our evidence demonstrates that Dallmann

sent or received these communications.

       Like the other text messages discussed above, these messages are excluded from the

hearsay rule because they constitute party opponent and co-conspirator statements. Fed. R. Evid.

801(d)(2)(A) & (E). Again, the statements of the individual defendants, in conjunction with their

co-conspirators’ statements, provides substantial independent evidence that there was a

conspiracy and that these statements were made during the course of, and in furtherance of, the

conspiracy. Furthermore, we will introduce other independent evidence relating to the

conspiracy during this time frame such as GX 78, 102 and 103, which are download lists.

Finally, these exhibits that illustrate the roles individuals played in the conspiracy, membership

in the conspiracy, intimate relationships between the co-conspirators, and who sent and received

the text messages on this device are more probative than prejudicial and are thus admissible

pursuant to Rule 403. As such, we respectfully request that the Court admit GX 065, 066, 067,

068, 077, 079, 081, 082, 083, 084, 086, 088, 090, 092, 093, 097, 098, 100, 112, 114, 117, 118,

122, 123, 124, 125, 139, 141, 144, 151, 1006, and 1305.

               4.      Notes and Text Messages Obtained from Jaurequi’s iPhone

       We seek to admit GX 116, 121, 149, 152, 154, 156, 166, 190, and 1108. These exhibits

are notes and text messages dated between September 30, 2016, and April 28, 2017, that were




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extracted from an iPhone belonging to Jaurequi that the FBI designated as 1B87. These exhibits

are also relevant because they demonstrate the roles played by Jaurequi during the conspiracy,

his membership in the conspiracy, his intimate relationships with co-conspirators, and that

Jaurequi sent, received, and drafted the content on this device.159 The exhibits are particularly

described as follows:

 Exhibit      Date                                      Description160
 116     Sept. 30, 2016       This document contains canned responses drafted by Jaurequi to
                              send to subscribers regarding various issues, demonstrating
                              Jaurequi’s role managing customer support.

 121         Oct. 8, 2016     This document contains Jaurequi’s notes, including which
                              television shows and episodes are missing, demonstrating
                              Jaurequi’s role in managing content.

 149         Dec. 22, 2016    This document contains Jaurequi’s notes, including which
                              television shows and episodes are missing and canned responses
                              drafted by Jaurequi to send to subscribers, demonstrating
                              Jaurequi’s role managing customer support and content.

 152         Dec. 30, 2016    Jaurequi complains about all of the responses he needs to send to
                              subscribers, demonstrating Jaurequi’s role managing customer
                              support.

 154         Dec. 30, 2016    Jaurequi states that his company offers all primetime TV, major
                              cable network shows, and Netflix stuff, demonstrating Jaurequi’s
                              membership in the conspiracy.

 156         Jan. 24, 2017    Jaurequi states that he works for his boyfriend as director of
                              programming/operations at a company like Netflix but better,
                              demonstrating Jaurequi’s roles in the conspiracy and intimate
                              relationship with Dallmann.




       159
           The exhibits discussed herein may be relevant for other reasons and may illustrate
other roles than the ones discussed below, but in the interest of brevity, we have not identified all
the reasons certain exhibits are relevant.
       160
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 166       Apr. 28, 2017      Jaurequi states that he is in charge of customer support, managing
                              Jetflicks content, as well as programming, billing and generally
                              everything, demonstrating Jaurequi’s multiple roles in the
                              conspiracy.

 190       May 4, 2017        Jaurequi states that all of the pictures on his phone are selfies and
                              then sends three selfies, demonstrating that Jaurequi is the
                              individual who sent, received, and drafted the content on this
                              device.

 1108      Oct. 27, 2016      Jaurequi and Courson discuss viewing explicit photographs of
                              Courson amid a conversation about the conspiracy.


        Our evidence establishes the authenticity of these exhibits pursuant to Rules 901(b)(1)

and (b)(4). SA Cox seized an Apple iPhone that the FBI designated as 1B87 during the

execution of the search warrant at Dallmann’s principal residence on November 16, 2017. Kern

extracted data from 1B87 and Ogden received the 2extracted data, processed it, and identified the

items set forth above. Furthermore, as discussed earlier in this brief, our evidence establishes

these items were created by Jaurequi.

        Like the other text messages discussed above, these text messages are excluded from the

hearsay rule because they constitute party opponent and co-conspirator statements. Fed. R. Evid.

801(d)(2)(A) & (E). Again, the statements of the individual defendants, in conjunction with their

co-conspirators’ statements, provides substantial independent evidence that there was a

conspiracy and that these statements were made during the course of, and in furtherance of, the

conspiracy. Furthermore, the Government will introduce other independent evidence relating to

the conspiracy during this time frame such as GX 78, 102 and 103 which are download lists from

this time frame. Finally, these exhibits which illustrate, among other things, the roles individuals

played in the conspiracy, the intimate relationships between co-conspirators, and the individual

who sent, received, and drafted the content on the device are more probative than prejudicial and




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are thus admissible pursuant to Rule 403. As such, we respectfully request that the Court admit

GX 116, 121, 149, 152, 154, 156, 166, 190, and 1108.

               5.      Emails and Chats Provided by Google

       GX 069, 131, 160, 161, 162, 163, 167, 702, 704, and 919 are emails, excerpts from

Google chats, and other information obtained from Google dated between July 30, 2016, and

May 12, 2017. These exhibits are relevant because they demonstrate the roles played by

different defendants during the conspiracy and/or who sent and received the communications

associated with this email account. 161 The exhibits are particularly described as follows:

 Exhibit          Date                                  Description162
 069         July 30, 2016      Vaillant sends Dallmann his resume, demonstrating Dallmann’s
                                role managing and hiring co-conspirators.


 133         Nov. 12, 2016      Vaillant sends Dallmann a list of missing shows, demonstrating
                                Dallmann and Vaillant’s roles managing content.


 160         Feb. 18, 2017      Dallmann discusses with Villarino options to secure the Jetflicks
                                content, demonstrating Dallmann’s role developing security
                                protocols.


 161         Mar. 12, 2017      Dallmann discusses with Villarino identifying a problem with
                                programming and billing errors that Dallmann believes will
                                generate more revenue, demonstrating Dallmann’s role fixing
                                problems related to the company.




       161
           The exhibits discussed herein may be relevant for other reasons and may illustrate
other roles than the ones discussed below, but in the interest of brevity, we have not identified all
the reasons certain exhibits are relevant.
       162
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 162         Mar. 13, 2017      Dallmann sends an email to BMW to prevent repossession of a
                                car, linking the email addresses kristopher.dallmann@gmail.com
                                and kristoper.dallmann@icloud and a phone number belonging
                                to Dallmann. Moreover, Dallmann provides, among other
                                things, a screenshot from his PayPal account that indicated the
                                account had over $6,500 in funds but “account access [was]
                                limited.” Dallmann falsely claims that PayPal’s hold “was
                                placed on 10-24-16 to cover any disputed charges made by our
                                customers . . . because the payment processor is the one liable
                                for all monies exchanged.”

 163         Apr. 3, 2017       Dallmann asks Villarino what salary Villarino will need to
                                become a full-time employee, demonstrating Dallmann’s role
                                managing coconspirators.

 167         May 5, 2017        Dallmann discusses with Villarino options to secure the Jetflicks
                                content, demonstrating Dallmann’s role developing security
                                protocols.
 919         May 12, 2017       Dallmann communicates with Villarino about purchasing
                                equipment that will improve operations, demonstrating
                                Dallmann’s role as a manager of the conspiracy.


       The authenticity of these records is established, in part, by Rule 902(11) of the Federal

Rules of Evidence. Under Rule 902(11), an original or a copy of a domestic record is self-

authenticating and requires no extrinsic evidence of authenticity if it meets the requirements of

Rule 803(6), and is accompanied “by a certification of the custodian or another qualified person

that complies with a federal statute or a rule prescribed by the Supreme Court.” Rule 803(6), in

turn, provides that business records are admissible if they are accompanied by a certification of

their custodian or other qualified person that satisfies three requirements: (a) that the records

were “made at or near the time by – or from information transmitted by – someone with

knowledge; (2) that they were “kept in the course of a regularly conducted activity of business;”

and (3) that “making the record was a regular practice of that activity.”

       The FBI obtained these exhibits during its investigation, and we provided these records to

the defense during discovery. Google, moreover, provided certifications of business records,



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which have been provided to defense counsel and are marked as GX 707 and 708. Because those

certificates comply with Rules 803(6) and 902(11), the records to which they relate are prima

facie authentic. See United States v. Hassan, 742 F.3d 104, 133 n.25 (4th Cir. 2014) (rejecting as

“entirely unpersuasive” the contention that Facebook and Google certifications were

insufficient). Furthermore, as discussed above, the Government’s evidence establishes that the

email addresses kristopher.dallmann@gmail.com and kristoph@jetflicks.com were registered to

Kristopher Dallmann. See Fed. R. Evid 901(b)(1) and (b)(4).

       These exhibits are excluded from the hearsay rule because they constitute party opponent

and co-conspirator statements. Fed. R. Evid. 801(d)(2)(A) & (E). Independent evidence

including the statements of the individual defendants, in conjunction with their co-conspirators’

statements, along with GX 78, 102, and 103, which are downloads lists, indicate that there was a

conspiracy and that these statements were made during the course of, and in furtherance of, the

conspiracy. Moreover, the content of these documents demonstrating the co-conspirators’ roles

in the conspiracy and the identity of the individual who sent or received the messages, is more

probative than prejudicial and thus these exhibits are admissible pursuant to Rule 403. As such,

we respectfully request that the Court admit GX 069, 131, 160, 161, 162, 163, 167, 702, 704, and

919.

               6.     Hard Copy Document Obtained from Dallmann’s Secondary Residence

       GX 1301 is a hard copy of an email dated April 22, 2014 that was seized from

Dallmann’s secondary residence during the execution of a search warrant on November 16,

2017. We seek to admit this exhibit, too.




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       GX 1301 is relevant because it discusses Dallmann’s role in the conspiracy developing

marketing ideas for Jetflicks and shows that Dallmann knew that Jetflicks had subscribers

outside of Nevada.163

       In addition, this document is authentic. SA Neal Umphress seized this document during

the execution of the search warrant, and the FBI designated this document, along with some

other documents, as 1B52 Part 15. Special Agent Umphress has reviewed the documents

contained in 1B52 Part 15 and confirmed that this document is included with those documents.

       Moreover, like the other emails discussed above, this email is excluded from the hearsay

rule because it constitutes a party opponent and co-conspirator statement. Fed. R. Evid.

801(d)(2)(A) & (E). Independent evidence including the statements of the individual defendants,

in conjunction with their co-conspirators’ statements, along with GX 8 and 10, which are 2013

Jetflicks show lists, and GX 18, which is a 2014 download list, proves that there was a

conspiracy and that these statements were made during the course of, and in furtherance of, the

conspiracy. Further, the fact that these show lists and download lists were stored at Dallmann’s

residences means that they qualify as adopted statements and thus are not hearsay under rule

801(d)(2)(B). See United States v. Merritt, 145 F.3d 1327, *1 (4th Cir. 1998) (per curiam) (“[A]

document found in a defendant’s possession may be admissible as an ‘adoptive admission’ under

Fed. R. Evid. 801(d)(2)(B).”); see also United States v. Pulido-Jacobo, 377 F.3d 1124, 1132

(10th Cir. 2004) (finding a receipt for a speaker constituted an adoptive admission because the

defendant kept the receipt for over two months after purchasing the speaker and law enforcement

found speakers in the trunk of the defendant’s car that matched those described in the receipt);



       163
           The exhibits discussed herein may be relevant for other reasons and may illustrate
other roles than the ones discussed below, but in the interest of brevity, we have not identified all
the reasons certain exhibits are relevant.

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United States v. Paulino, 13 F.3d 20, 24 (1st Cir. 1994) (“[S]o long as the surrounding

circumstances tie the possessor and the document together in some meaningful way, the

possessor may be found to have adopted the writing and embraced its contents.”).

       Finally, the content of this document demonstrates one of Dallmann’s roles in the

conspiracy, and thus is more probative than prejudicial. As such, we respectfully request that the

Court admit GX 1301.

       C.      Exhibits Relating to the Operation of the Conspiracy

       Below we summarize the exhibits that we seek to admit that will establish the existence

and operation of the charged conspiracy.164 This summary addresses the relevance and

authenticity of the exhibits, as well as hearsay issues. We do not provide an analysis pursuant to

Rule 403 of the Federal Rules of Evidence for each of the exhibits discussed below. This is

because none of the below exhibits is unfairly prejudicial. Rather, each exhibit is probative of

how the operation of the conspiracy worked, and not prejudicial except to the extent that it shows

the defendants’ guilt. United States v. Tillmon, 954 F.3d 628, 643 (4th Cir.), cert. denied, 140 S.

Ct. 91, 205 L. Ed. 2d 83 (2019) (stating that “damage to a defendant’s case is not a basis for

excluding probative evidence” under Rule 403 because “[e]vidence that is highly probative

invariably will be prejudicial to the defense.” ((internal quotation marks and citation omitted)).

               1.      Jetflicks Show / Download Lists

       We seek to admit GX 008, 010, 018, 027, 030, 056, 060, 061, 078, 102, 103, 171, 310,

310A, 318, and 319. These exhibits are lists of television series offered through Jetflicks and

episodes downloaded by the Jetflicks co-conspirators for that purpose.



       164
          The exhibits discussed herein may be relevant for other reasons and may illustrate
operations of the conspiracy other than the ones discussed below, but in the interest of brevity,
we have not identified all the reasons certain exhibits are relevant.

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       On November 16, 2017, FBI agents seized GX 008, 010, 060, 061, 078, 102, 103, 171,

and 310 from Dallmann’s primary residence, and GX 18, 27, 30, 56, 318, and 319 from

Dallmann’s secondary residence.

 Exhibit      Date                                         Description165
 008     Sept. 5, 2013        List of television series offered on Jetflicks, printed from
                              jetflicks.mobi.

 010         Sept. 24, 2013   Partial osCommerce printout for Jetflicks listing data for business
                              including 4,318 television show seasons and indicating millions of
                              views for the 20-best-viewed television shows and seasons.

 018         Apr. 7, 2014     Sick Beard backlog printout indicating search for 71,011 television
                              episodes and the downloading of 424 episodes.

 027         June 19, 2014    Sick Beard partial show list indicating search for thousands of
                              television episodes.

 030         June 27, 2014    Sick Beard show list indicating search for 74,657 television
                              episodes and the downloading of 6 episodes.

 056         April 27, 2015 Sick Beard partial show list indicating search for thousands of
                            television episodes/.

 060         Oct. 19, 2015    List of television series offered on Jetflicks, printed from
                              jetflicks.mobi.

 061         Oct. 19, 2015    SickRage show list indicating search for 58,169 television
                              episodes, the downloading of 3,000 episodes, and the “snatching”
                              (partial downloading) of 2,210 episodes.

 078         Aug. 5, 2016     SickRage show list indicating search for 56,077 television
                              episodes, the downloading of 6,617 episodes, and the “snatching”
                              of 2456 episodes.

 102         Aug. 25, 2016    SickRage show list indicating search for 548 television episodes,
                              the downloading of 6 episodes, and the “snatching” of 154 episodes

 103         Aug. 26, 2016    First page of SickRage show list listing television episodes.


       165
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 171         Oct. 1, 2017     SickRage show list indicating search for 130,642 television
                              episodes, the downloading of 22,491 episodes, and the “snatching”
                              of 181 episodes.

 310         Nov. 16, 2017    Jetflicks SickRage database listing 1,641 television series (with
                              show ids through 1,755) and 143,248 television episodes (with
                              episode ids through 155,094) as well as a history of tens of
                              thousands of downloads from pirate sites.

 318         Undated          List of filenames for pirated television episodes with the note
                              “System should convert tonite.”

 319         undated          List of filenames for pirated television episodes with the note “Are
                              these in the system? If not, redownload.”


       All of these exhibits are authentic pursuant to Rules 901(b)(1) and (b)(4) of the Federal

Rules of Evidence.

                        a.     GX 008, 010, 060, 061, 078, 102, 103, and 171. On November

16, 2017, SA Cox seized GX 008, 010, 060, 061, 078, 102, 103, and 171 from Dallmann’s

primary residence. SA Poston and SA Chase reviewed the exhibits and determined that they are

lists of television episodes Jetflicks downloaded and tried to download through Sick Rage at

different points in the conspiracy as well as lists of television series available on Jetflicks

through jetflicks.mobi in various years. Subsequently, several copyright owners reviewed these

exhibits and identified numerous television series and episodes listed on these printouts to which

they own the copyright and confirmed that Jetflicks did not have authorization to reproduce,

distribute, or stream those works.

                        b.     GX 310 and 310A. On November 16, 2017, SA Cox seized an

Apple tower computer with a RAID from Dallmann’s primary residence, and the FBI

subsequently designated this device 1B76.166 Forensic examiners at the Cybercrime Lab imaged


       166
             A RAID is an array of multiple independent hard drives.


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this device and other seized devices. Subsequently, Forensic Examiner Joe Varani examined the

image of 1B76, found a Jetflicks database and exported it to Microsoft Excel. That export is GX

310, and GX 310A is an excerpt of GX 310. SA Poston examined GX 310 and determined that

it is the Jetflicks SickRage database. The database shows tens of thousands of downloads of

infringing television episodes from specific pirate sites in 2016 and 2017 as well as a list of

Jetflicks’ library of television series and television episodes.

                       c.      GX 018, 027, 030, 056, 318, and 319. On November 16, 2017,

SA Neal Umphress seized GX 018, 027, 030, 056, 318, and 319 from Dallmann’s secondary

residence. SA Poston and SA Chase reviewed the exhibits and determined that they are lists of

television episodes that Jetflicks downloaded and tried to download through Sick Beard at

different points in the conspiracy as well as lists of specific filenames of pirated television

episodes. Subsequently, several copyright owners reviewed these exhibits and identified

numerous copyrighted television series and episodes that they own are on these printouts and

confirmed that Jetflicks did not have authorization to reproduce, distribute, or stream those

works.

         None of the exhibits listed above constitutes inadmissible hearsay. GX 008, 010, 018,

027, 030, 056, 060, 061, 078, 102, 103, 171, 310, 318, 319, and 405 are computer-generated

output. Output generated by a computer is not hearsay because it is not a statement. BMG

Rights Mgmt. (US) LLC v. Cox Comm'ns, Inc., 881 F.3d 293, 313 (4th Cir. 2018) (copyright

infringement notices generated by a computer are not “statements” and thus not hearsay); United

States v. Channon, 881 F.3d 806, 810-11 (10th Cir. 2018) (spreadsheets reflecting point-of-sale

data were machine-generated records falling outside of the hearsay rule); United States v.

Washington, 498 F.3d 225, 230-31 (4th Cir. 2007) (printed result of computer-based test was not




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the statement of a person and thus would not be excluded as hearsay); United States v. Hamilton,

413 F.3d 1138, 1142-43 (10th Cir. 2005) (computer-generated header information was not

hearsay as “there was neither a ‘statement’ nor a ‘declarant’ involved here within the meaning of

Rule 801”). And, even if some of these exhibits also reflect or incorporate some information

originally inputted by the user, the exhibits remain admissible. In the case of information

inputted by non-defendants, the government does not offer the inputted information for its truth

and, in the case of information inputted by co-conspirators, the government offers it as a

statement of a party opponent and/or as a statement in furtherance of the conspiracy. Fed. R.

Evid. 802(d)(2)(A) & (E). Further, the fact that these show lists and download lists were stored

at Dallmann’s residences means that they qualify as adopted statements and thus are not hearsay

under rule 801(d)(2)(B). See United States v. Merritt, 145 F.3d 1327, *1 (4th Cir. 1998) (per

curiam) (“[A] document found in a defendant’s possession may be admissible as an ‘adoptive

admission’ under Fed. R. Evid. 801(d)(2)(B).”); see also United States v. Pulido-Jacobo, 377

F.3d 1124, 1132 (10th Cir. 2004) (finding a receipt for a speaker constituted an adoptive

admission because the defendant kept the receipt for over two months after purchasing the

speaker and law enforcement found speakers in the trunk of the defendant’s car that matched

those described in the receipt); United States v. Paulino, 13 F.3d 20, 24 (1st Cir. 1994) (“[S]o

long as the surrounding circumstances tie the possessor and the document together in some

meaningful way, the possessor may be found to have adopted the writing and embraced its

contents.”).

               2.      Jetflicks NZB Log-In Credentials

       We seek to admit GX 54, which consists of notes from the “Notes” application on

Dallmann’s iPhone. This exhibit consists of a note created in February 2015 and last modified in




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November 2016 with the title “SickRage Servers,” listing log-in information for various NZB

services Jetflicks used to obtain pirated television episodes. The second note was created in

February 2015 and last modified in November 2015 with the title “SickRage Servers” and listing

similar log-information for various NZB servers.

       GX 54 is authentic pursuant to Rule 901(b)(1) and (b)(4). On November 16, 2017, SA

Cox seized an Apple iPhone from Dallmann’s principal residence, which the FBI later

designated as 1B65. Forensic Examiner John Kern extracted data from the phone and Forensic

Examiner Dan Ogden processed that data. GX 54 was identified, as a result. SA Poston and

Chase determined that Jetflicks was using many of the sites listed in GX 54 to search for and

download pirated television episodes, and these sites are referenced in numerous other exhibits.

See GX 143, 174, 176, 178, 308A, 309A, 314, 310, 317, 414C, 420, 1503, 1504, and 1510.

       GX 54 does not constitute inadmissible hearsay either. This is because it consists of

statements of a party opponent and/or statements in furtherance of the conspiracy. Fed. R. Evid.

802(d)(2)(A) & (E).

                3.      Undercover Screenshots

       We seek to admit GX 501, 507, 508, and 512, which are screenshots of Jetflicks taken by

SA Chase, who acted as an undercover agent in the case.

 Exhibit                                     Description167
 501     Screenshot of Jetflicks from April 24, 2017 stating that the service has 37,245 users
         and 183,285 episodes

 507         Screenshot of Jetflicks showing television series in alphabetical order, including the
             WarnerMedia show, 2 Broke Girls




       167
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 508       Screenshots of Jetflicks, showing the WarnerMedia/HBO show, Game of Thrones

 512       Screenshots of Jetflicks, showing the ViacomCBS show, Ray Donovan


       These exhibits are authentic. FBI SA Chase opened an undercover operation into

Jetflicks, subscribed to the service, and in 2016 and 2017 streamed and downloaded numerous

television episodes from Jetflicks. He recorded his activity on Jetflicks, and the screenshots

within GX 501, 507, 508, and 512 are taken from those recordings. These screenshots thus are

authentic. See Fed. R. Evid. 901(b)(1); Melo v. Zumper, Inc., 439 F. Supp. 3d 683, 695 (Novak,

J.) (E.D. Va. 2020) (holding that witness with personal knowledge can authenticate screenshots).

       These exhibits do not contain inadmissible hearsay. The information displayed within

GX 501 constitutes statements of a party opponent and/or as statements in furtherance of the

conspiracy. Fed. R. Evid. 802(d)(2)(A) & (E). Moreover, GX 507, 508, and 512 just depict

images and text found on jetflicks.mobi and so they are not statements at all. Fed. R. Evid. 801

(defining “hearsay” as a “statement” and defining “statement” as an “assertion”); see also

Marten Transport, Ltd. v. Plattform Advertising, Inc., 184 F. Supp. 3d 1006, 1010 (D. Kan.

2016); Abu-Lughod v. Calis, No. CV 13-2792, 2015 WL 12746198, at *3 (C.D. Cal. May 20,

2015); Perfect 10, Inc. v. Cybernet Ventures, Inc. 213 F. Supp. 2d 1146, 1155 (C.D. Cal. 2002).

In addition, even if these exhibits contained statements, the statements would still be admissible

as statements of a party opponent and/or as statements in furtherance of the conspiracy. Fed. R.

Evid. 802(d)(2)(A) & (E).




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                  4.      Undercover Recordings of Jetflicks and Downloads

        We seek to admit GX 502, 503, 503A, 504, 505, 505A, 505B, 509, 510A, 510B, 511,

511A, 513, and 514, which are videos taken by SA Chase, who acted as an undercover agent in

the case.168

 Exhibit                                   Description169
 502     Undercover recording of Jetflicks

 503           Undercover recording of Jetflicks

 503A          Clip of undercover streaming of Game of Thrones

 504           Undercover recording of Jetflicks

 505           Undercover recording of Jetflicks

 505A          Clip of undercover streaming of NCIS: Los Angeles

 505B          Clip of undercover recording of Ray Donovan episodes

 509           Clip of undercover streaming of “Blood Washed Away” and “Memory of Tomorrow”

 510A          Undercover download of “Blood Washed Away”

 510B          Undercover download of “Memory of Tomorrow”

 511           Clip of undercover streaming of “Paradise”

 511A          Undercover download of “Paradise”

 513           Clip of undercover recording of Jetflicks



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           Because the video clips are in an electronic format, we have provided copies to the
defense but not the Court. It is our intention to play these clips at a pretrial hearing, if such a
hearing is needed. If the Court would like to review the clips prior to a pretrial hearing, then we
will need to seek leave of the Court to file electronic exhibits through the Clerk’s Office.
Accordingly, we hereby move for such leave.
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           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 514       Clip of undercover streaming of Law & Order: Special Victims Unit


       As noted above, SA Chase opened an undercover operation into Jetflicks, subscribed to

the service, and in 2016 and 2017 streamed and downloaded numerous television episodes from

Jetflicks. He recorded some of this activity, and GX 502, 503, 503A, 504, 505, 505A, 505B,

509, 510A, 510B, 511, 511A, 513, and 514 are those screen captures and downloads.

Subsequently, several copyright owners reviewed the exhibits and identified television series and

episodes to which they own the copyright, and they confirmed that Jetflicks did not have

authorization to reproduce, distribute, or stream those works. These exhibits, accordingly, are

authentic. See Fed. R. Evid. 901(b)(1); Melo, 439 F. Supp. 3d at 695.

       These exhibits show images and text found on jetflicks.mobi on different dates, and thus

are not statements that fall within the hearsay rule. Fed. R. Evid. 801; United States v.

Lizarraga-Tirado, 789 F.3d 1107, 1109 (9th Cir. 2015) (photograph, video, or sketch is not

hearsay because it is not a statement and makes no assertion); see also Marten Transport, Ltd.,

184 F. Supp. 3d at 1010; Abu-Lughod, 2015 WL 12746198, at *3; Perfect 10, Inc., 213 F. Supp.

2d at 1155. In addition, even if any of these exhibits contained statements by the defendants, the

statements would still be admissible as statements of a party opponent and/or as statements in

furtherance of the conspiracy. Fed. R. Evid. 802(d)(2)(A) & (E).

               5.      Jetflicks’ Use of Piracy Tools to Obtain Television Episodes

       We seek to admit GX 172, 174, 176, 301 to 306, 307A, 308, 308A, 308B, 309, 309A,

309B, 310, 310A, 314A, 315, 316A, 316B, 317A, 321, 321A to 321E, and 918.




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 Exhibit                                 Description170
 172     Photo of SABnzbd on Dallmann iPhone

 174          Web bookmarks on Dallmann iPhone

 176          Web bookmarks on Jaurequi iPhone

 301          Screenshot of SickRage installed on 1B76

 302          Screenshot of Sick Beard installed on 1B76

 303          Screenshot of SABnzbd installed on 1B76

 304          Screenshot of SABnzbd downloads on 1B76

 305          Screenshot of uTorrent installed on 1B76

 306          Screenshot of uTorrent torrent file downloads on 1B76

 307A         Excerpt of GX 307,171 list of uTorrent torrent file downloads on 1B76

 308          SickRage configuration file from 1B76

 308A         SickRage provider ranking from configuration file

 308B         Metadata for GX 308

 309          SickRage backup configuration file dated June 9, 2016 from 1B76

 309A         SickRage provider ranking backup configuration file dated June 9, 2016

 309B         Metadata for GX 309

 310          Jetflicks SickRage database

 310A         Excerpt of GX 310, Jetflicks SickRage database

 314A         Excerpt from GX 314, SickRage logs


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           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.
        171
              At trial, we will mark GX 307 but not seek to admit it.



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 315          SABnzbd configuration file

 316A         Excerpt from GX 316, SABnzbd history file

 316B         Metadata for GX 316

 317A         Excerpt from GX 317,172 SABnzbd logs

 321          altHuB screenshot

 321A         NZBgeek screenshot

 321B         RARBG screenshot

 321C         NzbNdx screenshot

 321D         NZBFinder screenshot

 321E         Binsearch screenshot

 918          Note found on Dallmann’s iPhone that states the static IP provided by CenturyLink is
              67.77.106.136.


        These exhibits are authentic and do not constitute inadmissible hearsay for the following

reasons.

                         a.       GX 172, 174, and 918. As noted above, SA Cox seized 1B65

from Dallmann’s principal residence, Forensic Examiner Kern extracted data from the phone,

and Forensic Examiner Ogden processed that data. These steps resulted in the identification of

GX 172, 174, and 918. The former is a photo from November 3, 2017, of SABnzbd being used

to download various television episodes, and this exhibit matches up with other exhibits. For

example, one episode listed in the photo already downloaded by SABnzbd is

“Arrow.S03E21.1080p.HDTV.X264-DIMENSION.” That exact file name is listed in GX 310 as



        172
              At trial, we will mark GX 317037 but not seek to admit it.



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downloaded by Jetflicks on December 25, 2016. Similarly, GX 174 shows bookmarks on

Dallmann’s phone for uTorrent, The Pirate Bay, Sky Torrents, and TorrentLeech, and these

pirate sites show up in numerous other exhibits. See GX 054, 066, 305, 306, 307A, 308, 308A,

309, 309A, and 314A. GX 918 is a note found on Dallmann’s iPhone that states the static IP

provided by CenturyLink is 67.77.106.136. Accordingly, GX 172, 174, and 918 are authentic

pursuant to Fed. R. Evid. 901(b)(1) and (b)(4). Further, GX 172 consists of a photo and thus is

not a statement within the rules against hearsay. Fed. R. Evid. 801; Lizarraga-Tirado, 789 F.3d

at 1109; Marten Transport, Ltd., 184 F. Supp. 3d at 1010; Abu-Lughod, 2015 WL 12746198, at

*3; Perfect 10, Inc., 213 F. Supp. 2d at 1155. And, GX 174 and GX 918 are statements of a

party opponent and/or as statements in furtherance of the conspiracy. Fed. R. Evid. 802(d)(2)(A)

& (E).

                      b.       GX 176. On November 16, 2017, SA Cox seized an Apple iPhone

from Dallmann’s principal residence, which the FBI later designated as 1B87. Forensic

Examiner Kern extracted data from the phone and Forensic Examiner Ogden processed that data.

These steps resulted in the identification of GX 176, which is a set of bookmarks on 1B87 for

The Pirate Bay, Sick Beard, SickRage, SABnzbd, NZBgeek, Sky Torrents, and other sites. As

discussed above, these piracy tools and sites show up in numerous other exhibits as well, and are

authentic. Fed. R. Evid. 901(b)(1) and (b)(4). Moreover, GX 176 is not hearsay because it

contains statements of a party opponent and/or statements in furtherance of the conspiracy. Fed.

R. Evid. 802(d)(2)(A) & (E).

                      c.       GX 301 to 306. As noted above, FBI SA Cox seized 1B76 and the

Cybercrime Lab imaged it. Subsequently, Forensic Examiner Thomas Song made a copy of the

image. SA Poston reviewed the original image and the copy of the image, and took screenshots




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of some of the software and files installed on 1B76. GX 301 to 306 are those screenshots and

they are authentic. See Fed. R. Evid. 901(b)(1); Melo, 439 F. Supp. 3d at 695. These exhibits,

moreover, do not constitute statements. Fed. R. Evid. 801; Marten Transport, Ltd., 184 F. Supp.

3d at 1010; Abu-Lughod, 2015 WL 12746198, at *3; Perfect 10, Inc., 213 F. Supp. 2d at 1155.

In addition, even if any of these exhibits did contain statements by non-defendants, we will not

offer those statements for their truth.

                       d.      GX 307A, 308, 308A, 308B, 309, 309A, 309B, 310, 310A, 314A,

315, 316A, 316B, 317A. As noted above, FBI SA Cox seized 1B76 and the Cybercrime Lab

imaged it. Forensic Examiner Varani examined the image and located numerous piracy tools

and records of the use of those tools. Subsequently, SA Poston examined the items that Forensic

Examiner Varani located and determined that Jetflicks installed and used the tools to search for,

download, process, upload, and make available infringing television episodes from specific

torrent and NZB sites. In fact, one can even trace specific infringing television episodes through

the whole process. For example, on November 16, 2017, about five hours before agents

executed search warrants on Jetflicks, co-conspirators used SickRage to search for season 4,

episode 8 of Broad City, using a subscription to Usenet service provider TweakNews, SickRage

found a copy of the episode at the pirate site altHUB from the release group “TBS” and

downloaded it using SABnzb, and the episode was then further processed, organized, and

uploaded. See GX 310, 314, 316, and 317. Subsequently, literally minutes before FBI agents

arrived at the house, co-conspirators searched for season 15, episode 9 of Pawn Stars, and

SickRage found a copy at the pirate site RARBG from the release group “KILLERS” and

downloaded it using uTorrent. The episode then was further processed and made available to be

uploaded. GX 307, 310, and 313. The exhibits, accordingly, are all authentic. See Fed. R. Evid.




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901(b)(1) and (b)(4). Moreover, these exhibits are not hearsay because they are computer-

generated output. And, even if some of these exhibits also reflect or incorporate some

information originally inputted by the user, the exhibits remain admissible. BMG Rights Mgmt.

(US) LLC, 881 F.3d at 313; Channon, 881 F.3d at 810-11; Washington, 498 F.3d at 230-31;

Hamilton, 413 F.3d at 1142-43.

                        e.     GX 321 and 321A to 321E. Based on his review of the items

found on 1B76, SA Poston identified the pirate sites on which Jetflicks focused its efforts to

obtain infringing television episodes including altHUB and RARBG. He then visited the sites or,

if he was not able to access them, did other research on the sites. SA Poston took screenshots of

some of these sites. GX 321 and 321A to 321 E are those screenshots and they are authentic.

See Fed. R. Evid. 901(b)(1); Melo, 439 F.Supp.3d at 695. These exhibits, moreover, do not

constitute statements. Fed. R. Evid. 801; Marten Transport, Ltd., 184 F. Supp. 3d at 1010; Abu-

Lughod, 2015 WL 12746198, at *3; Perfect 10, Inc., 213 F. Supp. 2d at 1155. In addition, even

if any of these exhibits did contain statements by non-defendants, we will not offer those

statements for their truth.

        D.      Exhibits Establishing Willfulness

        Summarized below are the exhibits we seek to admit to prove that the defendants acted

willfully.173

                1.      Cease-and-Desist Letters

        We seek to admit GX 1, which is a July 22, 2011 cease-and-desist letter from HBO, and

GX 2, which is a November 16, 2012 cease-and-desist letter from the MPAA. The facts



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           The exhibits discussed herein may be relevant for other reasons and may illustrate
aspects of the conspiracy other than willfulness, but in the interest of brevity, we have not
identified all the reasons certain exhibits are relevant.

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establishing the authenticity of each of these exhibits were provided to the defense during the

discovery process. In sum, the FBI seized GX 1 from Dallmann’s principal home during the

execution of search warrants, and GX 2 was personally served on Dallmann by an individual

hired by the MPAA. These exhibits, accordingly, are authentic pursuant to Rule 901(b)(1).

       GX 1 and 2 do not constitute hearsay because we are not offering the letters for the truth

of the matters asserted. Rather, we are offering these exhibits simply to show that Dallmann and

any co-conspirator with whom he discussed the letters were on notice that they were unlawfully

streaming copyrighted television shows. See United States v. Rodriguez-Lopez, 565 F.3d 312,

314–15 (6th Cir. 2009) (“If the statements were questions or commands, they could not—absent

some indication that the statements were actually code for something else—be offered for their

truth because they would not be assertive speech at all. They would not assert a proposition that

could be true or false.”); see also United States v. White, 639 F.3d 331, 337 (7th Cir. 2011) (“[A]

command is not hearsay because it is not an assertion of fact.”); United States v. Shepherd, 739

F.2d 510, 514 (10th Cir. 1984) (“An order or instruction, is, by its nature, neither true nor false

and thus cannot be offered for its truth.”).

       Cease-and-desist letters demanding that Jetflicks stop infringing on copyrighted material

constitute a clear basis from which a jury reasonably could find that the defendants entered into

this criminal conspiracy knowingly and willfully. Therefore, as required by Rules 401(a) and

401(b), these facts have a tendency to make it more probable that the defendants acted willfully

and these exhibits are of consequence to the jury in determining the defendants’ guilt. For the

foregoing reasons, we ask the Court to admit GX 1 and 2.




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                2.     Messages Among Defendants About Immediate Availability of Shows

        We also seek to admit GX 34, 35, 40, 49, 97, and 1304, which are text message

exchanges between Garcia and Courson, as well as between Dallmann and Vaillant. These

exhibits discuss the conspirators’ efforts to download television episodes as soon as possible

after the copyright holder originally broadcast the episodes. The exhibits are described as

follows:

 Exhibit          Date                                Description174
 34           July 23, 2014   Garcia and Courson discuss obtaining a show from the night
                              before.

 35           Aug. 7, 2014    Garcia and Courson discuss obtaining a show available only three
                              hours earlier.

 40           Sept. 2, 2014   Garcia and Courson discuss a show they already acquired that will
                              air that night.

 1304          Jan. 7, 2015   Courson responds to a complaint that shows are not airing the next
                              day.

 49           Jan. 23, 2015   Garcia and Courson check Sick Beard every morning to obtain
                              recently aired shows.

 97           Aug. 23, 2016 Dallmann and Vaillant discuss the fact that the “airing tonight”
                            page is blank and that the SickRage daily search function is not
                            running.


        The facts establishing the authenticity of each of these exhibits were provided to the

defense during the discovery process. In sum, GX 34, 35, 40, 1304, and 49 were all recovered

from 1B76, and GX 97 was recovered from Dallmann’s Apple iPhone (1B65). The reports

provided to the defense establish that the text communications listed above were properly



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           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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extracted, and the messages are further authenticated by the fact that, at times, the defendants

identified themselves in the messages. Therefore, each exhibit is authentic pursuant to FRE

901(b)(1) and (b)(4).

       Each text message constitutes an opposing party’s statement and as such is not hearsay

pursuant to FRE 801(d)(2)(A). In addition, each statement was made by a co-conspirator during

and in furtherance of the conspiracy. Each statement was made by a charged co-conspirator

during the time period alleged in the indictment. Each statement is in furtherance of the

conspiracy because they pertain to quickly acquiring the shows that the conspirators then

unlawfully streamed to their subscribers. As a result, each text message constitutes a statement

by a co-conspirator and is therefore not hearsay pursuant to FRE 801(d)(2)(E).

       The messages are relevant under FRE 401 because downloading television episodes soon

after they had aired demonstrates that the co-conspirators did not work within the normal

commercial process for licensing the reproduction, distribution, and streaming of copyrighted

television shows with the permission of and payment to the copyright holders.

       In addition, this evidence is relevant to rebut the implausible claim of some defendants

that they reasonably believed their operation was lawful if they simply purchased from a local

retail store a DVD of the television show they were illegally streaming. The fact that these

defendants were discussing acquiring shows the same day or the next day after the show was

originally aired and long before the shows were commercially available on DVD, is relevant

evidence that these defendants did not really believe owning a single DVD allowed them to

stream the program to tens of thousands of paying subscribers. If, by chance, the jury did find

the defendants held this belief, and that such a belief was reasonable, these exhibits are powerful

evidence of the fact that the defendants did not actually purchase DVDs before streaming the




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programs to their subscribers. Therefore, as required by FRE 401(a) and (b), these facts have a

tendency to make it more probable that the defendants knowingly and willfully committed the

charged offenses and are of consequence to the jury in determining the defendants’ guilt.

        For the foregoing reasons, we respectfully ask the Court to admit GX 34, 35, 40, 49, 97

and 1304.

               3.       Evidence of Defendants’ Knowledge of Copyright Law

        We seek to admit GX 64A, 160, 1101, 1104, 1105, 1106, 1107, and 1108, which are

statements by defendants evidencing an understanding of copyright law. These exhibits are

described as follows:

 Exhibit #          Date                                Description175
 64A            July 9, 2016    Dallmann and Jaurequi discussed the fact that Garcia has
                                threatened to call the MPAA which would be a “problem” for
                                Dallmann.

 1101               Jan. 2008   Legal memorandum regarding legality of copying content from
                                DVDs.

 1104          Oct. 23, 2016    Courson told Jaurequi, “as I explained to kris before, since
                                Jetflicks is questionable with respect to it being a legal enterprise
                                (because no royalties are paid for the use of the material)…”

 1105 to       Oct. 25 to 27,   Dallmann, Courson, and Jaurequi discuss locating a legal memo
 1107              2016         to send to PayPal in order to convince PayPal that Jetflicks is not
                                engaging in copyright infringement.

 1108          Oct. 27, 2016    Jaurequi told Courson, “Kris has been obsessing over the thought
                                of wire fraud and fraud.”

 160           Mar. 13, 2017    Dallmann and Vaillant discussed preventing others from
                                stealing their content.




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           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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       The facts establishing the authenticity of each of these exhibits were provided to the

defense during the discovery process.    In sum, GX 64A, 1106, and 1107 were recovered from

Dallmann’s Apple iPhone (1B65) seized by the FBI during the execution of a search warrant,

whereas GX 1104, 1105, and 1108 were recovered from Jaurequi’s Apple iPhone (also seized

during the FBI’s search in November 2017 and designated by the FBI as 1B87). GX 160 is a

Google chat provided by Google, and the FBI found GX 1101 in Dallmann’s primary residence

in November 2017. The discovery provided to the defense establish that the items listed above

were properly extracted from the respective Apple iPhones, found within Dallmann’s Google

account, or seized by the FBI from Dallmann’s house. The communications, moreover, are

further authenticated by the fact that, at times, the defendants identified themselves in the

messages, and GX 1101 is further authenticated by the fact that the defendants discussed this

item over text. Therefore, each exhibit is authentic pursuant to FRE 901(b)(1) and (b)(4).

       GX 064A 1104 to 1108, and 160 constitute opposing parties’ statements and as such are

not hearsay under Rule 801(d)(2)(A). In addition, GX 64A and 1104 to 1108 were statements

made by a co-conspirator during and in furtherance of the conspiracy. These statements were

made by a charged coconspirator during the time period alleged in the indictment. GX 64A was

in furtherance of the conspiracy because Dallmann and Jaurequi were discussing how to address

a potential threat to the conspiracy, namely Garcia notifying the MPAA of the defendants’

ongoing criminal conduct. Similarly, GX 1104 was in furtherance of the conspiracy because

Courson and Jaurequi were discussing how they and Dallmann should address the fact that Polo

had stolen information from Jetflicks, ironically including material that Jetflicks had stolen from

the copyright holders. The loss of information used to run Jetflicks to a competing illegal




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streaming operation posed a challenge to the continued success of the conspiracy and as such the

conversation was in furtherance of the charged offense.

       As with all the hard copy records recovered from Dallmann’s residences, GX 1101

qualifies as an adopted statement by the defendants and thus is not hearsay under Rule

801(d)(2)(B). United States v. Merritt, 145 F.3d 1327, *1 (4th Cir. 1998) (per curiam) (“[A]

document found in a defendant’s possession may be admissible as an ‘adoptive admission’ under

Fed. R. Evid. 801(d)(2)(B).”); see also United States v. Pulido-Jacobo, 377 F.3d 1124, 1132

(10th Cir. 2004) (finding a receipt for a speaker constituted an adoptive admission because the

defendant kept the receipt for over two months after purchasing the speaker and law enforcement

found speakers in the trunk of the defendant’s car that matched those described in the receipt);

United States v. Paulino, 13 F.3d 20, 24 (1st Cir. 1994) (“[S]o long as the surrounding

circumstances tie the possessor and the document together in some meaningful way, the

possessor may be found to have adopted the writing and embraced its contents.”).176

       GX 64A, 160, 1104, and 1108 are relevant under Rule 401 because they demonstrate the

defendants’ knowledge of copyright law and the fact that Jetflicks was operating unlawfully.

Each of these statements are directly relevant to whether the defendants knowingly and willfully

violated the law. In addition to establishing knowledge, GX 1104 is offered for the truth of the

matter asserted, namely that Jetflicks paid no license fees to the copyright holders and that

Courson discussed that issue with Dallmann. Therefore, as required by FRE 401(a) and (b),

these facts have a tendency to make it more probable that the defendants acted with the requisite




       176
            If the Court were to disagree that the defendants adopted GX 1101, then we will seek
to use this document not for the truth of the matter but to prove that the defendants were on
notice that “ripping” DVDs and copying the content for commercial purposes violated U.S.
copyright law.


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mens rea and these communications are of consequence to the jury in determining the

defendants’ guilt.

        For the foregoing reasons, we ask the Court to admit GX 64A, 160, 1104, 1105, 1106,

1107, and 1108.

                4.     Messages Relating to PayPal’s Notice to Defendants of Potential
                       Copyright Violations

        We seek to admit GX 126 and 126A, which are communications from PayPal to

Dallmann in which PayPal informed Dallmann that PayPal had restricted the Jetflicks’ account

due to potential copyright violations. At the time PayPal froze the Jetflicks account it was the

only payment processing company used by Jetflicks to collect money from its subscribers.

PayPal was crucial to the operation of the conspiracy because it ensured money flowed from the

Jetflicks subscribers to the conspirators. When PayPal suspected it was unwittingly aiding a

criminal conspiracy, it limited the Jetflicks’ account and required that Dallmann establish that

Jetflicks was operating within the law.

        We also seek to admit GX 127 and 128, which are communications among the

defendants discussing PayPal’s decision to freeze the Jetflicks account and how the conspirators

should respond. Each exhibit is described as follows:

 Exhibit           Date                                  Description177
 126          Oct. 24, 2016   Email from PayPal to Dallmann in which PayPal informed
                              Dallmann that PayPal had restricted the Jetflicks account due to
                              potential copyright violations.

 126A         Oct. 27, 2016   Follow-up email from PayPal to Dallmann discussing the need for
                              Dallmann to show proof that he was operating Jetflicks in
                              accordance with the law.


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           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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 127        Oct. 28, 2016    Text message from Jaurequi to Corson in which Jaurequi stated, “I
                             am going to forward you the email PayPal sent…I don’t even
                             think Kris wants to respond to it.”

 128        Oct. 29, 2016    Dallmann and Jaurequi draft the following response to PayPal:
                             The email described Jetflicks as a business that provided “inflight
                             entertainment for the private and executive aviation industry.”

                             The email also stated, “if we provided PayPal with free access to
                             the copyrighted content on our website, we would be liable for
                             providing you with free access to view copyrighted material with
                             no royalties having been paid.”


       The facts establishing the authenticity of each of these exhibits were provided to the

defense during the discovery process.   In sum, GX 126 and 126A were communications derived

from a Google account belonging to Dallmann. GX 127 was recovered from Jaurequi’s Apple

iPhone, and GX 128 was found on Dallmann’s Apple iPhone. Therefore, each exhibit is

authentic pursuant to FRE 901(b)(1) and (b)(4).

       GX 126 and 126A are not hearsay because we are not offering the emails for the truth of

the matter asserted. Rather, we are offering these exhibits simply to show that Dallmann,

Jaurequi and Courson were on notice as to basic principles of copyright law and to explain the

defendants’ subsequent statements and reactions to the PayPal emails, including but not limited

to, the fact that shortly after receiving these emails Dallmann opened an account at Stripe and

claimed that Jetflicks was an aviation entertainment business.

       GX 127 and 128 constitute opposing parties’ statements and as such are not hearsay

under Rule 801(d)(2)(A). In addition, GX 127 and 128 were statements made by a co-

conspirator during and in furtherance of the conspiracy. Each of these statements were made by

a charged coconspirator during the time period alleged in the indictment. Each of these




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statements were in furtherance of the conspiracy because they addressed PayPal’s decision to

freeze the Jetflicks account and how the conspirators should respond.

         Government Exhibits 126 and 126A are relevant under Rule 401 because they prove

these defendants acted with knowledge of key principles of copyright law. GX 127 and 128 also

are relevant because they demonstrate a coordinated effort to deceive PayPal into believing that

Jetflicks is an aviation entertainment business and not an unlawful streaming conspiracy. In

GX 128 the conspirators refuse to give PayPal access to the jetflicks.mobi because doing so

would violate copyright law. This statement is highly relevant and highly probative of the

defendants’ knowledge and intent as well as their attempt to conceal the nature and existence of

the conspiracy. Each of these statements are directly relevant to whether the defendants

knowingly and willfully violated the law. Therefore, as required by Rules 401(a) and (b), these

facts have a tendency to make it more probable that the defendants acted with the requisite mens

rea and these communications are of consequence to the jury in determining the defendants’

guilt.

         For the foregoing reasons, we ask the Court to admit GX 126, 126A, 127, and 128.

                5.     Communications Regarding Efforts to Conceal the True Nature of
                       Jetflicks.mobi

         We seek to admit GX 406, 406A, 128, 131, 134, 135, 136, 137, 140, 142, 164, 179, 180,

and 181 at trial. These communications are statements by defendants (principally Dallmann) in

which the defendants sought to mislead PayPal and Stripe into believing Jetflicks was an aviation

entertainment business rather than an illegal streaming conspiracy. Employing a online payment

processing company such as PayPal or Stripe was necessary in order for Jetflicks to collect credit

card and debit card payments from their tens of thousands of subscribers over the internet. Yet,

PayPal and Stripe took steps to ensure their companies were not used to facilitate the transfer of


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proceeds from illegal conduct. Therefore, as the statements below clearly establish, the

defendants concealed the true nature of Jetflicks from PayPal and Stripe by falsely claiming to be

a aviation services business. These exhibits are described as follows:

 Exhibit             Date                                  Description178
 406                 2013         Letter from Jetflicks to PayPal in which Jetflicks is described
                                  as an aviation services business.

 406A                2013         Metadata associated with GX 406.

 128            Oct. 29, 2016     Email from Jetflicks to PayPal in which Dallmann and Jaurequi
                                  state “our company (Jetflicks) provides inflight entertainment
                                  for the private and executive aviation industry…”

 131             Nov. 6, 2016     Dallmann instructed Vaillant that all payments had to go
                                  through jetflicks.com.

 134            Nov. 9, 2016      Email exchange between Dallmann and Stripe, Inc. in which
                  through         Dallmann described Jetflicks as an aviation services company.
                Nov. 15, 2016     Dallmann forwarded this email exchange to Vaillant.

 135 to 137     Nov. 13, 2016     Emails between Dallmann and Valliant that depict graphics
                  through         used in the creation of a jetflicks.com website
                Nov. 14, 2016

 140            Nov. 16, 2016     Email between Dallmann and Vaillant in which Dallmann told
                                  Vaillant that Vaillant’s completion of jetflicks.com is the key
                                  to having PayPal and Stripe release money and to getting paid.

 142            Nov. 17, 2016     Email from Dallmann to Vaillant in which Dallmann told
                                  Vaillant what Dallmann had previously communicated to
                                  Stripe.

 164            Apr. 21, 2017     Dallmann wrote to a third party and acknowledged that
                                  jetflicks.com was a fake website and the aviation services
                                  business was a lie.

 179 to 181     Nov. 14 to 16,    Dallmann and Vaillant discuss the status of jetflicks.com and
                    2016          the need to get the site operational so that Stripe will process
                                  payments.

        178
           The exhibit descriptions are intended only to provide a partial summary of the exhibit
in order for the Court to properly rule on the Government’s motion. The full exhibits have been
provided to the Court and to defense counsel.

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          The facts establishing the authenticity of each of these exhibits were provided to the

defense during the discovery process. In sum, GX 406, 406A, 134, 135, 136 and 137 were

recovered from 1B76, whereas GX 128, 131, 140, 142 164, 179, 180, and 181 were recovered

from 1B65, Dallmann’s Apple iPhone. The reports provided to the defense clearly establish that

the communications listed above were properly extracted from 1B76 and 1B65. The

communications are further authenticated by the fact that at times the defendants identified

themselves in the messages. Therefore, each exhibit is authentic pursuant to FRE 901(b)(1) and

(b)(4).

          GX 406, 128, 131, 134, 135, 136, 137, 140, 142, 164, 179, 180, and 181 constitute

opposing parties’ statements and as such are not hearsay under Rule 801(d)(2)(A).179 In

addition, GX 406, 128, 131, 134, 135, 136, 137, 140, 142, 179, 180, and 181 were statements

made by a co-conspirator during and in furtherance of the conspiracy.180 Each of these

statements were made by a charged coconspirator during the time period alleged in the

indictment. Each of these statements were in furtherance of the conspiracy because they

addressed ongoing efforts to conceal the existence of the criminal conduct. GX 164, the email

from Dallmann to a third party in which Dallmann acknowledged that jetflicks.com was a fake




          179
           If the Court determines that GX 135 through 137, which are photographs or graphic
designs of aircraft, do not constitute statements under Rule 801(a), then we will tailor our
argument to the jury accordingly.
          180
            GX 406A does not constitute hearsay because it is computer-generated. United States
v. Channon, 881 F.3d 806, 811 (10th Cir. 2018) (spreadsheets reflecting point-of-sale data were
machine-generated records falling outside of the hearsay rule); United States v. Washington, 498
F.3d 225, 230-31 (4th Cir. 2007) (printed result of computer-based test was not the statement of
a person and thus would not be excluded as hearsay); United States v. Hamilton, 413 F.3d 1138,
1142-43 (10th Cir. 2005) (computer-generated header information was not hearsay as “there was
neither a ‘statement’ nor a ‘declarant’ involved here within the meaning of Rule 801”).


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 website and the aviation services business was a lie, is being offered only against Dallmann as a

 statement by a party opponent.

        The messages are relevant under FRE 401 because falsely representing Jetflicks as an

 aviation entertainment business to PayPal and Stripe is direct evidence of the defendants’ efforts

 to conceal the unlawful streaming conspiracy they conducted using jetflicks.mobi. These

 communications also prove that the Jetflicks.com was a non-functioning website tied to an

 essentially non-existent aviation entertainment business. The jury could reasonably infer the

 defendants lied to PayPal and Stripe because the defendants knew their operations were illegal.

 Therefore, as required by Rules 401(a) and 401(b), these facts have a tendency to make it more

 probable that the defendants acted with the requisite mens rea and these communications are of

 consequence to the jury in determining the defendants’ guilt.

        For the foregoing reasons, we ask the Court to admit GX 406, 406A, 128, 131, 134, 135,

 136, 137, 140, 142, 164, 179, 180, and 181.

                6.     Google Search History and Letter from MPAA to IPEC

        We seek to admit GX 62A, 62B, 62C, and 182 which is evidence that establishes

 Dallmann’s knowledge that Jetflicks constituted a criminal conspiracy as well as the legal

 jeopardy Dallmann and his co-conspirators faced by operating an illegal streaming business.181

 These exhibits are described as follows:

  Exhibit           Date                                Description182
  62A            Nov. 4, 2015     Dallmann’s use of Google to conduct searches about Jetflicks.


        181
           The exhibits relating to Dallmann’s Google searches are derived from GX 062, which
 we will mark but not admit at trial.
        182
            The exhibit descriptions are intended only to provide a partial summary of the exhibit
 in order for the Court to properly rule on the Government’s motion. The full exhibits have been
 provided to the Court and to defense counsel.

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  62B           Aug. 20, 2012 PDF of Aug. 20, 2012 MPAA letter to IPEC mentioning
                              Jetflicks on page 15

  62C           Aug. 20, 2012 Hard copy of MPAA letter to IPEC which is tagged on page 15
                              where it mentions Jetflicks.

  182            Oct. 27, 2016   Dallmann’s Google Search: Jetflicks/warrant/fraud/punishment


        The facts establishing the authenticity of each of these exhibits were provided to the

 defense during the discovery process.    In sum, GX 62A, 62B, and 182 are Dallmann’s Google

 search histories provided by Google. In addition, these exhibits are further authenticated by the

 fact that at times Dallmann searches words and phrases unique to him and his criminal

 conspiracy. For example, Dallmann’s search history includes key words “Kristopher Dallmann

 warrant,” “wire fraud punishment,” “wire fraud jetflicks,” and “fraud jetflicks.” Therefore, each

 exhibit is authentic pursuant to Rules 901(b)(4) and 902(11).

        GX 62C is a hard copy document recovered during the FBI’s search of Dallmann’s

 principal residence. The reports provided to the defense establish that the document was, in fact,

 seized. Therefore, each exhibit is authentic pursuant to FRE 901(b)(1).

        GX 62A and 182 reflect statements by Dallmann that are not hearsay pursuant to Rule

 801(d)(2)(A). In addition, GX 62B and 62C are not hearsay because we are not offering those

 documents for the truth of the matter asserted. Rather, we are offering these exhibits simply to

 show that Dallmann was on notice as to the illegality of the Jetflicks operation.

        Each of these exhibits are relevant under Rule 401 because they demonstrate the

 defendants’ consciousness of guilt and that they knowingly and willfully executed the charged

 conspiracy. Therefore, as required by Rules 401(a) and 401(b), these facts have a tendency to

 make it more probable that the defendants acted with the requisite mens rea and these

 communications are of consequence to the jury in determining the defendants’ guilt.



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        For the foregoing reasons, we respectfully request the Court to admit GX 62A, 62B, 62C,

 and 182.

        E.      Search Warrant Photographs and Sketches

        As explained above, the FBI searched two Las Vegas homes belonging to Dallmann in

 November 2017. The FBI took photographs and made sketches during these searches, and we

 seek to admit the following: GX 201A; 201B; 201F; 201H; 201J; 201L; 201N; 201O; 201R;

 201T; 201V; 201W to 201Z; 201AA; GX 202; GX 203A; 203C; 203E; 203G to 203K; 203M to

 203P; 203R to 203U; 203W; and GX 204.

        These photographs and sketches are relevant because they depict where the FBI located

 evidence, and at least SA Cox and SA Umphress, who were involved in the searches, will

 authenticate these exhibits. Consequently, the Court should deem GX 201A, 201B, 201F, 201H,

 201J, 201L, 201N, 201O, 201R, 201T, 201V, 201W to 201Z, 201AA, GX 202, GX 203A, 203C,

 203E, 203G to 203K, 203M to 203P, 203R to 203U, 203W, and GX 204 to be authentic.

 Further, these exhibits are not hearsay because they are not statements and make no assertions.

 See United States v. Lizarraga-Tirado, 789 F.3d 1107, 1109 (9th Cir. 2015). Moreover, we will

 seek to admit most or all of the photographs not to prove the “truth” of the photograph (whatever

 that would mean), but to help establish ownership and control of the items depicted within the

 photographs. And, as noted below, even if some of the photographs or videos contain

 statements, Rule 801(d)(2) applies given that the statements are admissions of a defendant or in

 furtherance of the conspiracy.

        For the foregoing reasons, we respectfully request the Court to admit GX 201A, 201B,

 201F, 201H, 201J, 201L, 201N, 201O, 201R, 201T, 201V, 201W to 201Z, 201AA, GX 202, GX

 203A, 203C, 203E, 203G to 203K, 203M to 203P, 203R to 203U, 203W, and GX 204.




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         F.       Copyright Registration Certificates

         We seek to admit GX 801 to 804, which are copyright certificates for television episodes

 that SA Chase streamed or downloaded while in this District. The certificates comply with Rule

 902(4) of the Federal Rules of Evidence and thus are self-authenticating.

         In addition, we seek to admit GX 805 to 808. GX 805 consists of 10 copyright

 certificates of television episodes that were available on Jetflicks to which NBCUniversal owns

 the copyrights, GX 806 consists of 10 copyrights of television episodes that were available on

 Jetflicks to which Netflix owns the copyrights, GX 807 consists of 10 copyrights of television

 episodes that were available on Jetflicks to which ViacomCBS owns the copyrights, and GX 806

 consists of 10 copyrights of television episodes that were available on Jetflicks to which

 WarnerMedia owns the copyrights. A representative from each company is expected to testify

 that the works named in the copyright certificates are just a sample of the works to which the

 company owns copyrights and to which it has exclusive rights, and the copyright certificates are

 kept in the companies’ business records.

         Each copyright certificate we have designated for admission is self-authenticating under the

 Federal Rules of Evidence. Included at the top of each certificate is a statement that the certificate

 has been “issued under the seal of the Copyright Office” and constitutes an “attest[ation] that

 registration has been made for the work” listed therein. Pursuant to Rule 902(4), a copy of an official

 record is self-authenticating if the copy is certified as correct by a person authorized to make the

 certification. Although the attestations on the certificates do not specifically state that the contents of

 the certificates are “correct,” 17 U.S.C. § 410 provides that such a certificate is “prima facie evidence

 of the validity . . . of the facts stated in the certificate,” and the plain import of the attestations is that

 the listed works were, in fact, registered by copyright claimants.




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         Nonetheless, even if a more formulistic view of 902(4) is taken, GX 801 to 808 can be

 deemed self-authenticating under other Federal Rules of Evidence. For instance, the certificates are

 self-authenticating pursuant to Rule 902(1) because they bear a seal of an agency of the United States

 and a signature purporting to be an attestation.

         With respect to Crawford, “[b]usiness and public records are generally admissible absent

 confrontation . . . because—having been created for the administration of an entity’s affairs and

 not for the purpose of establishing or proving some fact at trial—they are not testimonial.”

 Melendez-Diaz v. Massachusetts, 557 U.S. 305, 324 (2009); United States v. Williams, 662 F.

 App’x 366, 376 (6th Cir. 2016) (“the mere fact that a business record might foreseeably be

 relevant to a subsequent prosecution does not automatically transform the record into a

 ‘testimonial’ statement.”). GX 801 to 808 thus are admissible under Rules 803(8) and 807. See,

 e.g., Lance v. Freddie Records, Inc., 986 F.2d 1419, *3 (5th Cir. 1993) (per curiam); Classical

 Silk, Inc. v. Dolan Grp., Inc., No. CV1409224ABMRWX, 2016 WL 7638113, at *1 n.2 (C.D.

 Cal. Feb. 2, 2016).

         For the foregoing reasons, we respectfully request the Court to admit GX 801 to 808.

         G.      Financial Records

         At trial, we will introduce a series of financial records that will trace the proceeds of the

 defendants’ illegal streaming operation. First, we will introduce records from PayPal and Stripe,

 the payment processing companies that Dallmann used to collect the subscription fees from

 subscribers. As explained above, the PayPal and Stripe records contain, among other

 information, the identities of subscribers, the amount paid, the date paid, as well as debit or credit

 card data, including the address associated with the card. The PayPal and Stripe records also

 reflect the transfer of the subscribers’ payments into bank accounts controlled by Dallmann at

 Bank of America and Wells Fargo. PayPal records also show Dallmann made payments directly


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 from his Paypal account. Second, we will introduce records from Bank of America and Wells

 Fargo establishing that Dallmann distributed the proceeds of the charged crimes to other

 members of the conspiracy, used the proceeds to finance and perpetuate the unlawful scheme,

 pay his personal expenses and engage in the money laundering transactions charged in Counts

 Twelve through Fifteen of the Indictment.183

                1.      The Stripe Exhibits (account ending in 141TNmp)

         We seek to admit GX 407A, 407B, and 407C, which are financial records provided by

 Stripe that pertain to the Jetflicks account. In a previous filing, all defense counsel affirmatively

 stated they had no objection to the admission of the Stripe exhibits. (Dkt. No. 586.) These

 exhibits are described as follows:

  Exhibit         Date                                     Description
  407A         Nov. 3, 2016      Application that Dallmann submitted to Stripe in order to open
                                 an account for Jetflicks.


  407B         Nov. 6, 2016      Customer payments that Stripe processed for Jetflicks.
                    to
               Feb. 3, 2018

  407C         Nov. 19, 2016     Transfers of funds from Stripe to Jetflicks.
                     to
               Feb. 23, 2018


         GX 407A, 407B, and 407C are authentic and properly admitted as business records

 pursuant to Rules 902(11) and 803(6). A Stripe employee who is a custodian of records or is

 otherwise qualified as a result of their position with Stripe provided a declaration under penalty

 of perjury that these exhibits were records of Stripe’s regularly conducted business activity.




         183
           The exhibits discussed herein may be relevant for other reasons, but in the interest of
 brevity, we have not identified all the reasons certain exhibits are relevant.


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 Specifically, Stripe certified that these exhibits: (a) were made at or near the time of the

 occurrence of the matters set forth in the records, by, or from information transmitted by, a

 person with knowledge of those matters; (b) were kept in the course of the regularly conducted

 activity of the business; and, (c) the records were made as a regular practice of the business. See

 Fed. R. Evid. 803(6) & 902(11). Stripe’s certification is marked as GX 407D and has been

 provided to defense counsel.

        Therefore, we ask the Court to admit GX 407A, 407B, and 407C.

                2.      The Wells Fargo Exhibits (account ending in 6241)

        We seek to admit GX 409 and 410, which are financial records provided by Wells Fargo

 Bank that pertain to the Jetflicks’ account ending in 6241 opened by Dallmann. These exhibits

 are described as follows:

  Exhibit                Date                                     Description
  409                Oct. 31, 2016         Application submitted by Dallmann as the sole owner
                                           of Jetflicks for purposes of opening the account ending
                                           in 6241 at Wells Fargo.

  410          Oct. 2016 to Apr. 2017      Wells Fargo statements for account ending in 6241.

  412                Feb. 20, 2014         Wells Fargo’s FDIC Certificate


        As with the Stripe records, GX 409 and 410 are authentic and admissible as business

 records pursuant to Rules 902(11) and 803(6). A Wells Fargo employee who is a custodian of

 records or is otherwise qualified because of their position with Wells Fargo provided a

 declaration under penalty of perjury that these exhibits were records of Wells Fargo’s regularly

 conducted business activity. This certification, which is marked as GX 411, complies with Rule

 902(11) and has been provided to defense counsel.




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        In a previous filing, all defense counsel affirmatively stated they had no objection to the

 admission of the GX 409. (Dkt. No. 586.) However, they did object to GX 410, the bank

 statements, under FRE 402 and 403. The Wells Fargo bank statements are relevant under Rule

 401 because the proceeds of the fraud are transferred from Stripe into the Wells Fargo account

 and from there Dallmann used those funds to pay for expenses necessary to operate the

 conspiracy, including paying coconspirators as well as financing Jetflicks digital infrastructure.

 In addition, the Wells Fargo account is what Dallmann used to conduct the financial transactions

 that are charged as money laundering in Counts 12, 13 and 14. Tracing the proceeds of the

 unlawful streaming conspiracy and identifying financial transactions that were essential to

 perpetuate the conspiracy is relevant to proving the existence, scope and membership of the

 conspiracy. Therefore, as required by Rules 401(a) and (b), these facts have a tendency to make

 it more probable that the defendants knowingly and willfully committed the charged offenses

 and are of consequence to the jury in determining the defendants’ guilt. To date, the defense has

 not articulated any specific basis under Rule 403 to exclude the Wells Fargo bank statements.

        GX 412 is a certificate and supporting document from the Federal Deposit Insurance

 Corporation (FDIC) that Wells Fargo is a financial institution that is insured by the FDIC. This

 exhibit is authentic pursuant to Rule 902(11), too. An FDIC employee who is a custodian of

 records or is otherwise qualified by their position with the FDIC provided a declaration under

 penalty of perjury that this exhibit was a record of the FDIC’s regularly conducted business

 activity. The FDIC’s certification complies with Rule 902(11), is marked as GX 412A, and has

 been provided to defense counsel. All defense counsel have stated they have no objection to the

 admissibility of GX 412.

        For the foregoing reasons, we ask the Court to admit GX 409, 410 and 412.




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                3.      The PayPal Exhibits (Account Ending in 1360)

         We also seek to admit GX 413, 414A, 414B, and 414C, which are financial records

 provided by PayPal that pertain to the Jetflicks’ account. These exhibits are described as

 follows:

  Exhibit                 Date                                Description
  413                 Sept. 8, 2004    Subscriber information for the Jetflicks PayPal account
                            to         ending in 1360.
                      Oct. 24, 2016

  414                Apr. 2016 to      PayPal Transaction Log
                     Dec. 2018

  414A               June 2016 to      Customer Payments to PayPal
                     Aug. 2016

  414B               June 2016 to      Transfers from PayPal #1360 to BOA #4488
                     Aug. 2016

  414C               July 2016 to      Direct Payments from PayPal Acct #1360
                     Aug. 2016

         GX 413, 414A, 414B, and 414C are authentic pursuant Rule 902(11) and admissible as

 business records pursuant to Rule 803(6). A PayPal employee who is a custodian of records or is

 otherwise qualified as a result of their position with PayPal provided a declaration under penalty

 of perjury that these exhibits were records of PayPal’s regularly conducted business activity.

 The PayPal certificate complies with 902(11), is marked as GX 417, and has been provided to

 defense counsel.

         In a previous filing, all defense counsel affirmatively stated they had no objection to the

 admission of the PayPal financial records,184 but did object to GX 413, the subscriber




         184
            At the time of the defense’s objections, we had proposed admitting PayPal records
 covering a shorter time frame. Our revised exhibit list that is being filed in conjunction with this
 brief includes PayPal records that cover a more expansive time frame.

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 information, based on FRE 402 and 403. (Dkt. No. 586.) The subscriber information is relevant

 under Rule 401 because it is necessary to show who opened the PayPal account and therefore

 who controlled the funds that flowed through the PayPal account. To date, the defense has not

 articulated any specific basis under Rule 403 to exclude the PayPal subscriber information.

         For the foregoing reasons, we respectfully request that the Court admit GX 413, 414A,

 414B, and 414C.

                4.      The Bank of America Exhibits (account ending in 4488)

         We seek to admit GX 418 and 420, which are financial records provided by Bank of

 America that pertain to the Jetflicks account ending in 4488 opened by Dallmann. In a previous

 filing, all defense counsel affirmatively stated they had no objection to the admission of the Bank

 of America exhibits. (Dkt. No. 586.) These exhibits are described as follows:

  Exhibit            Date                                  Description
  418          May 23, 2017     Bank of America signature card dated May 23, 2007, signed by
                                Dallmann, in which he opened the account ending in 4488 in the
                                name of Rent-a-Geek.

  420          Aug. 2016 to     Bank of America account statements for Dallmann’s account
                Oct. 2016       ending in 4488 from August 2016 to October 2016, which
                                reflects deposits into the account from PayPal and how
                                Dallmann used those funds.

  421C        Dec. 31, 2019     Certificate and supporting document from the Federal Deposit
                                Insurance Corporation (FDIC) that Bank of America is a
                                financial institution that is insured by the FDIC.


         Government’s Exhibits 418 and 420 are authentic pursuant to Rule 902(11) and

 admissible as business records pursuant to FRE 803(6). A Bank of America employee who is a

 custodian of records or is otherwise qualified as a result of their position with Bank of America

 provided two declarations under penalty of perjury that these exhibits were records of Bank of

 America’s regularly conducted business activity. These certifications, which have been marked


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 as GX 421A and 421B, comply with Rule 902(11) and have been provided to defense counsel.

 Moreover, GX 421C is also authentic pursuant to Rule 902(11). The FDIC’s certification

 complies with Rule 902(11), is marked as GX 421D, and has been provided to defense counsel.

        For the foregoing reasons, we ask the Court to admit GX 418, 420 and 421C.

                5.     Communications Pertaining to Jetflicks’ Income

        We seek to admit GX 1208, 141, 144, 161 and 163, which are statements by Dallmann to

 other members of the conspiracy regarding how much money Jetflicks was making. The exhibits

 are described as follows:

  Exhibit         Date                                     Description
  1208        Sept. 15, 2016     Dallmann tells Vaillant Jetflicks makes $1000 per day, $750 on
                                 a bad day; they were making $1500 per day; July (2016) took in
                                 $27,072, and August (2016) $28,697, trending down in
                                 September.

  141         Nov. 17, 2016      Dallmann tells Vaillant they made 750,000 and are technically
                                 lying to Wells Fargo.

  144         Nov. 20, 2016      Dallmann tells Vaillant that before the issue with PayPal
                                 Jetflicks was making $20,000 to $30,000 per month.

  161         Mar. 12, 2017      Dallmann states that Jetflicks has 30,000 subscribers and makes
                                 $60,000 per month.

  163          Apr. 3, 2017      Dallmann states that Jetflicks made, $750,000 (2014), $500,000
                                 (2015) and then $350,000 (2016).


 The facts establishing the authenticity of each of these exhibits were provided to the defense

 during the discovery process. In sum, GX 1208, 141 and 144 were recovered from Dallmann’s

 Apple iPhone (1B65), which was seized during the FBI’s November 2017 searches. GX 161 and

 163 are chats that Google provided along with a Rule 902(11) certification, and the full




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 production of which has been marked as GX 159.185 The reports provided to the defense clearly

 establish that the exchanges listed above were properly extracted from the devices or provided by

 Google. The communications are further authenticated by the fact that at times the defendants

 identified themselves in the messages. Therefore, each exhibit is authentic pursuant to Rules

 901(b)(1) and (b)(4) and 902(14).

        Each text message constitutes an opposing party’s statement and as such is not hearsay

 pursuant to Rule 801(d)(2)(A). In addition, each statement was made by a coconspirator during

 and in furtherance of the conspiracy. Each statement was made by a charged coconspirator

 during the time period alleged in the indictment. Each statement is in furtherance of the

 conspiracy because the discussions about how much money Jetflicks was making were part of

 the decision-making process about how to execute the conspiracy going forward as well an

 important tool used by Dallmann to recruit and retain loyal co-conspirators. As a result, each

 text message constitutes a statement by a coconspirator and is therefore not hearsay pursuant to

 Rule 801(d)(2)(E).

        The messages are relevant under Rule 401 for the same reasons they were made in

 furtherance of the conspiracy. In short, communications among the co-conspirators (led by

 Dallmann) regarding how much money Jetflicks was making were part of the decision-making

 process about how to execute the conspiracy going forward as well an important tool used by

 Dallmann to recruit and retain loyal co-conspirators.

        For the foregoing reasons, the United States respectfully requests the Court admit GX

 1208, 141, 144, 161 and 163.




        185
              At trial, we will mark but not admit GX 159.



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 IV.    Exhibits Not Discussed Herein

        We have not discussed the following items, which are on our exhibit list: GX 003; 009;

 011; 017; 021; 023; 026; 032; 033; 039; 043; 052; 053; 055; 063; 064; 071 to 076; 085; 089;

 094; 095; 096; 101; 104 to 106; 109; 110; 113; 119; 120; 129; 130; 134A; 138; 138A; 138B;

 143; 146; 147; 148; 150; 153; 155; 158; 165; 168; 170; 175; 177; 178; 183 to 187; 191; 201C to

 201E; 201G; 201I; 201K; 201M; 201P; 201Q; 203B; 203C; 203F; 203L; 203Q; 203V; 208; 209

 to 2011; 307B; 310B to 310D; 311; 311A; 312; 312A; 313; 313A; 320; 401 to 405; 405A to

 405K; 408; 419; 422; 422A to 422D; 423 to 427; 506; 601; 602; 705; 706; 809 to 813; 901 to

 910; 912; 913; 915; 1001 to 1005; 1007; 1008; 1010; 1011; 1102; 1103; 1109; 1201 to 1207;

 1209 to 1217; 1302; 1303; 1306 to 1313; 1401; 1501 to 1510. These exhibits are included on the

 exhibit list for a variety of reasons. Some of these exhibits may be used to refresh recollection, as

 recorded recollections, or in a rebuttal case. Others reflect the original evidence upon which

 Rule 1006 summaries, excerpted exhibits, or demonstratives are based. Some of these exhibits,

 moreover, may be offered as demonstratives but not moved into evidence.

        We also may tender some of these exhibits to the Court pursuant to Rule 104(a) so that

 the Court may consider them in deciding whether the United States has made a prima facie case

 that related exhibits are authentic. In deciding whether the United States has made a prima facie

 case of authenticity, “the court is not bound by evidence rules, except those on privilege.” Rule

 104(a). “The Supreme Court held that a district court can consider ‘any evidence whatsoever,

 bound only by the rules of privilege,’ to make factual determinations under Rule 104.” Pierce, 62

 F.3d at 827 (quoting Bourjaily v. United States, 483 U.S. 171, 178 (1987)). Thus, in deciding

 whether evidence is prima facie authentic, for example, “the judge may consider . . . hearsay

 evidence which the jury could not consider.” Vinson, 606 F.2d at 153 (6th Cir. 1979); see also,




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 e.g., United States v. Kilpatrick, 2012 WL 3236727, at *5 (E.D. Mich. Aug. 7, 2012) (“This

 Court can consider the admissions made by Defendant . . . and his attorneys in other proceedings

 to determine whether the government has made a prima facie showing of authenticity.”)

                                          CONCLUSION

        The government respectfully requests that the Court exercise its discretion to admit, or

 conditionally admit, the exhibits identified and discussed herein.

                                               Respectfully submitted,

 Date: September 3, 2021                       Raj Parekh
                                               Acting United States Attorney

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 3, 2021, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system, which will send a notification of that electronic filing

 (NEF) of the foregoing to the attorneys for the defendants.



                                                             /s/
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